EXHIBIT U
                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN




SCOTT WEAVER, individually and
on behalf of all others similarly
situated,

             Plaintiff,
                v.
                                        Case No. 2:18-cv-1996-JPS
CHAMPION PETFOODS USA, INC.
and CHAMPION PETFOODS LP,


             Defendants.



                   Rebuttal Expert Report of Dominique M. Hanssens

                                 September 12, 2019
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I.     Qualifications

1.     I am a Distinguished Research Professor of Marketing at the UCLA Anderson School
of Management in Los Angeles, California, where I have served on the faculty since 1977. I
received my Licentiate from the University of Antwerp in Applied Economics and received
my M.S. and Ph.D. degrees in Management from Purdue University. At UCLA I have taught
a variety of marketing courses including Elements of Marketing, Marketing Strategy &
Planning, and Customer Information Strategy. I have received awards for distinguished
teaching in the MBA and Executive MBA programs, including the UCLA Anderson School’s
Neidorf “Decade” teaching award.
2.     My research focuses on strategic marketing problems, to which I apply expertise in
data-analytic methods, such as surveys, econometrics, and time-series analysis. My research
includes analysis of how consumers respond to alternative information disclosures. I am the
co-author of Market Response Models: Econometric and Time Series Analysis and various
book chapters. I have served as an area editor for Marketing Science and an associate editor
for Management Science and the Journal of Marketing Research. My papers have appeared
in the leading academic and professional journals in marketing, economics, and statistics.
Five of these articles have won Best Paper awards, in Marketing Science (1995, 2001, 2002),
Journal of Marketing Research (1999, 2007), and Journal of Marketing (2010), and ten were
award finalists.
3.     From 2005 to 2007, I served as the Executive Director of the Marketing Science
Institute in Cambridge, Massachusetts. The American Marketing Association awarded me
the Churchill Award (2007) and the Mahajan Award (2013) for Career Contributions to
Marketing Research and Marketing Strategy, respectively. The INFORMS Society for
Marketing Science elected me as a Fellow (2010) and awarded me the Buck Weaver Award
(2015) for lifetime contributions to the theory and practice of marketing.
4.     I have frequently consulted on marketing issues for companies in a variety of
industries such as automobile, consumer products, technology, information services, and
retail. These consulting assignments include the design and supervision of dozens of
consumer surveys in a variety of sectors. I am also a founding partner of MarketShare, a
global marketing analytics firm headquartered in Los Angeles. A copy of my curriculum
vitae, setting forth my professional experience and qualifications is attached as Appendix A.
5.     I have served as an expert witness or offered consulting services in matters relating to
factors impacting consumer behavior in a variety of product categories. Many of these


                                                                                          Page 1
matters involved allegations of false advertising and product misrepresentation by the
manufacturer of the product at issue in consumer class actions. I have also provided expert
testimony and consulted on a variety of issues relating to brands and branding, and general
marketing strategy. Much of my consulting and expert witness work involved analysis of
consumers’ preferences for product attributes where I analyzed and measured how consumers
react under different information conditions (such as the presence or absence of product or
service-specific disclosures). As part of my expert witness work, I also conducted consumer
surveys in multiple matters. A list of my testimony in the past four years is attached as
Appendix B.

II.      Summary of Allegations and Case Background

6.       Champion Petfoods USA Inc. and Champion Petfoods LP (collectively, “Champion”)
produce and sell a variety of dry foods, freeze-dried foods, and treats for dogs and cats under
two brand names: ACANA and ORIJEN.1
7.       Of specific interest in this matter are several marketing claims on the packaging of the
ACANA and ORIJEN branded dry and freeze-dried dog food products (“Products At Issue”
or “At-Issue Products”) that Plaintiff Mr. Scott Weaver (“Plaintiff” or “ Mr. Weaver”) alleges
are false or misleading.2 Specifically, the Plaintiff alleges that Champion’s marketing of the
At-Issue Products as “‘Biologically Appropriate’ foods that use ‘Fresh Regional Ingredients’
consisting only of meat, poultry, fish, and vegetables”3 is misleading due to “the presence
and/or risk of inclusion in their pet food of heavy metals, pentobarbital, toxins, Bisphenol A
(“BPA”), non-regional and non-fresh ingredients, and/or unnatural or other ingredients that
do not conform to [Champion’s] labels, packaging, advertising, and statements” and the
undisclosed risk of dogs developing Dilated Cardiomyopathy (“DCM”).4, 5 According to the


1
  “Our Foods,” Champion Petfoods, https://www.championpetfoods.com/our-foods/.
2
  Third Amended Class Action Complaint, Scott Weaver v. Champion Petfoods USA, Inc. and Champion
Petfoods LP, United States District Court for the Eastern District of Wisconsin, Case No. 2:18-cv-01996-JPS,
July 22, 2019 (“Third Amended Complaint”), ¶¶ 2–17.
3
  Third Amended Complaint, ¶ 71.
4
  Third Amended Complaint, ¶¶ 1, 10. At-Issue Products include 22 specific Champion products, sold under the
ACANA and ORIJEN brand names. See Third Amended Complaint, ¶ 26.
5
  Specific marketing claims highlighted by the Plaintiff as inconsistent with presence of heavy metals and toxins
include: “Virtually All Of The Nutrients In Acana Are Natural And Not Synthetic;” “Deemed fit for human
consumption;” “Never Outsourced;” “Biologically Appropriate;” “Fresh Regional Ingredients;” “Delivered
Daily;” “Trusted Regional Ingredients;” “Trusted by Pet Lovers Everywhere;” “Ingredients We Love;” “People
We Trust;” “Nourish as Nature Intended;” “Delivering Nutrients Naturally;” “Made with Fresh and Natural
Ingredients;” “Orijen pet foods ‘feature[] unmatched and unique inclusions of meat, naturally providing
everything your dog or cat needs to thrive;’” and “Orijen and Acana foods are ‘guaranteed’ to ‘keep your dog



                                                                                                          Page 2
Plaintiff, the “[n]on-disclosure and/or concealment of the risk and/or actual inclusion of
heavy metals, pentobarbital, ingredients cross-contaminated with horse meat, toxins, BPA,
non-regional and non-fresh ingredients, and/or unnatural or other ingredients that do not
conform to the labels, packaging, advertising, and statements in the Contaminated Dog Foods
coupled with the misrepresentations that the food is healthy, nutritious, superior quality,
natural, and/or unadulterated, and made with fresh and regional ingredients that were never
outsourced is intended to and does, in fact, cause consumers to purchase a product Plaintiff
and members of the Class would not have bought if the true quality and ingredients were
disclosed.”6
8.       Plaintiff seeks certification of a putative class of “[a]ll persons residing in the State of
Wisconsin who purchased Dog Food between July 1, 2014 and the present (the “Class
Period”),” except “persons or entities who purchased the Dog Food for business use or resale;
governmental entities; Defendants and its affiliates, subsidiaries, employees, current and
former officers, director, agents, and representatives; and members of this Court and its
staff.”7 Plaintiff claims that he “was injured when he paid the purchase price or a price
premium for the [At-Issue Products] that did not deliver what was promised,” and because
the At-Issue Products “have no or de minimis value based on the presence of the alleged
heavy metals, pentobarbital, toxins, BPA, and/or unnatural or other ingredients that do not
conform to the labels, packaging, advertising, and statements. 8 Plaintiff seeks damages
based on his claim that the alleged misrepresentations and omissions “caused the [At-Issue
Products] to be of diminished value.”9
9.       On August 13, 2019, Dr. Jon Krosnick (“Dr. Krosnick”) and Mr. Colin Weir (“Mr.
Weir”) submitted expert reports on behalf of Plaintiff in this matter (the “Krosnick Report”
and “Weir Report,” respectively).10


happy, healthy, and strong.’” Third Amended Complaint, ¶¶ 1, 10–12, 16, 79–96, 124. Plaintiff also alleges
“Defendants have represented that their DogStar Kitchens meet the European Union’s standard for pet food…
However, contrary to Defendant’s assertion, they do not meet the European Union standards for pet foods.”
Third Amended Complaint, ¶¶ 101–102.
6
  Third Amended Complaint, ¶ 126. See also ¶¶ 28, 70.
7
  Memorandum of Points and Authorities in Support of Plaintiff’s Motion for Class Certification, Scott Weaver
v. Champion Petfoods USA, Inc. and Champion Petfoods LP, United States District Court for the Eastern
District of Wisconsin, Case No. 2:18-cv-01996-JPS, August 15, 2019, pp. 8–9.
8
  Third Amended Complaint, ¶ 21–22. See also ¶¶ 112, 126.
9
  Declaration of Colin B. Weir, August 13, 2019 (“Weir Report”), ¶ 3.
10
   Expert Report of Dr. Jon A. Krosnick, August 13, 2019 (“Krosnick Report”); Weir Report. Note that the
Krosnick Report is divided into two parts, each describing a different survey. Krosnick Report, pp. 1, 336. For
clarity, where necessary, I will refer to Part 1 of the Krosnick Report as “Krosnick Report Part 1,” and to Part 2
of the Krosnick Report as “Krosnick Report Part 2.”



                                                                                                            Page 3
10.     The Krosnick Report describes the design, implementation, and analysis of two
consumer surveys. In one survey (“Diminution in Value Survey”), Dr. Krosnick attempted to
estimate the decrease in “value” of the At-Issue Products due to the disclosure of between
one and eight “corrective statements” (“Alleged Corrective Statements”) referring to heavy
metals, BPA, use of fresh and regional ingredients, and sourcing from third parties.11 In the
other survey (“Pentobarbital Survey”), he attempted to test the impact of two specific
messages about the alleged presence (or risk of presence) of pentobarbital in certain
Champion dog food products12 (“Alleged Pentobarbital Corrective Statements”) on
“evaluations of the quality and healthiness” of those products.13
11.     In his report, Mr. Weir describes his estimation of two types of damages: Diminution
in Value Damages and Illegal Sales Damages.14 Mr. Weir uses the “diminution in value
factor” generated by Dr. Krosnick’s Diminution in Value Survey as an input into his
proposed method of calculating his Diminution in Value Damages.15 Mr. Weir estimates his
Illegal Sales Damages for the At-Issue Products subject to the pentobarbital allegations by
simply assuming that the sales of these products should never have occurred. Mr. Weir uses
his estimate of all dollar sales of the relevant products when estimating Illegal Sales
Damages.16 The data generated by Dr. Krosnick’s Pentobarbital Survey therefore, is not used
as an input to Mr. Weir’s Illegal Sales Damages estimate.

III.    Assignment and Materials Relied Upon

12.     I was asked by counsel for Champion to review and evaluate Dr. Krosnick’s report
and survey instruments.17 I was also asked to describe generally the various factors that may
be considered by different consumers when deciding whether to purchase dry and freeze-
dried dog food products.


11
   Krosnick Report Part 1, ¶¶ 78–79.
12
   ORIJEN Regional Red, ACANA Appalachian Ranch, and ACANA Heritage Red Meat are the At-Issue
Products subject to the pentobarbital allegations.
13
   Krosnick Report Part 2, ¶ 47.
14
   Weir Report, ¶¶ 8–9.
15
   Weir Report, ¶ 4.
16
   Weir Report, ¶¶ 39–40.
17
   Counsel for Champion retained me as an expert witness in the class action case Kellie Loeb v. Champion
Petfoods USA Inc. and Champion Petfoods LP, United States District Court for the Eastern District of
Wisconsin, Case No. 18-494. I submitted two separate expert reports in that matter on December 7, 2018 and
January 11, 2019, respectively. Counsel for Champion also retained me as an expert witness in the class action
case Jennifer Reitman and Carol Shoaff v. Champion Petfoods USA, Inc. and Champion Petfoods LP, United
States District Court for the Central District of California, Western Division, Case No. 2:18-cv-01736-DOC-
JPR. I submitted an expert report in that matter on May 13, 2019.


                                                                                                        Page 4
13.        In carrying out my assignment, I relied on my experience and expertise as a marketing
professor, as well as academic literature, materials produced by the parties in this litigation,
deposition testimony, and other materials. Appendix C contains a list of materials I relied
upon in forming my opinions in this matter to date.
14.        I am being compensated at my standard billing rate of $900 per hour. Staff at
Cornerstone Research, a consultancy, worked under my direction and helped me prepare my
report. I receive compensation from Cornerstone Research based on its collected staff
billings for its support of me in this matter. Neither my compensation in this matter nor my
compensation from Cornerstone Research is in any way contingent or based on the content of
my opinion or the outcome of this or any other matter.
15.        I hold all of my opinions to a reasonable degree of professional and scientific
certainty. My work in this matter is ongoing. I reserve the right to revise or supplement my
opinions in light of any additional materials including data, documents, declarations of
experts, and deposition or other testimony, or if I am asked to perform further research or
analysis.

IV.        Summary of Opinions

16.        Dr. Krosnick failed to follow standard practices set forth by academics for conducting
surveys and experiments, including standards found in his own work in the field. My
analysis of Dr. Krosnick’s own survey data revealed critical flaws and errors that fatally
impact the validity and reliability of his results and conclusions from both of his surveys.
17.        I identified the following issues with respect to Dr. Krosnick’s Diminution in Value
Survey:
      a.        Dr. Krosnick’s analysis of the Diminution in Value Survey data abstracts away
                from the specific content of the Alleged Corrective Statements and instead
                focuses on the effect of the number of Alleged Corrective Statements
                respondents saw. His analysis does not attempt to, and cannot, measure the
                effect of any one specific corrective statement. Thus, Dr. Krosnick cannot
                isolate the alleged impact of any of the individual misrepresentations / omissions
                or any subset of the misrepresentations / omissions the Plaintiff alleges. This
                renders Dr. Krosnick’s Diminution in Value Survey unusable for assessing the
                impact of each of Plaintiff’s claims on the “value” of the At-Issue Products or
                on consumer perceptions of the quality and healthiness of the At-Issue Products.


                                                                                             Page 5
b.   Dr. Krosnick failed to sample from the relevant population of interest as his
     sample is based on the entire U.S. adult population, a population that is not
     representative of the actual or potential purchasers of the At-Issue Products, the
     actual or potential purchasers of any Champion products, or the putative class
     members. Therefore, the results of Dr. Krosnick’s Diminution in Value Survey
     cannot be extrapolated to the putative class members. Further, the results of Dr.
     Krosnick’s Diminution in Value Survey cannot be extrapolated to all At-Issue
     Products because Dr. Krosnick tested only two out of over seventy packages of
     At-Issue Products.
c.   Dr. Krosnick’s Diminution in Value Survey instrument is methodologically
     incorrect and unscientific because it lacks a proper control group.
d.   Dr. Krosnick’s Diminution in Value Survey cannot and does not estimate a
     change in market price due to the Alleged Corrective Statements, because:
                 i.   The Diminution in Value Survey does not take into account any
                      supply-side factors that are necessary to estimate a market
                      price, including competitors’ reactions, Champion’s responses
                      to competitors, Champion’s costs, and importantly,
                      Champion’s willingness to sell.
                ii.   The survey is based on a methodology, contingent valuation,
                      that is heavily debated in the academic community and that, at
                      best, generates willingness to pay estimates.
               iii.   Dr. Krosnick at best estimates the average decrease in
                      willingness to pay across respondents and ignores
                      heterogeneity across respondents.
               iv.    Dr. Krosnick’s estimation methodology—the so-called
                      “Lewbel-Watanabe Approach,” a methodology that is not
                      widely accepted in the academic community—is typically used
                      to estimate willingness-to-pay for a non-market good (or a
                      good that is not traded and that does not have a market price).
e.   Dr. Krosnick’s Alleged Corrective Statements use negative and potentially
     alarming language, and lack critical information about the level and likelihood
     of the presence of heavy metals and BPA in the dog food products respondents
     saw in the survey. As such, the statements do not provide information that is


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                adequately specific to the facts of this case or adequately “correct” the allegedly
                omitted information, leaving respondents to make their own assumptions about
                the missing information. In addition, Dr. Krosnick shows his Alleged
                Corrective Statements to respondents in isolation (i.e., separate from
                respondents’ review of the products’ packaging) and in a product evaluation
                setting without the proper context of competitors, thereby artificially increasing
                respondents’ attention to these statements. All of these flaws in Dr. Krosnick’s
                Diminution in Value Survey introduce potential biases and are likely to reduce
                respondents’ responses regarding their likelihood to purchase the products at
                any specified price.
      f.        Lastly, Dr. Krosnick used inappropriate and arbitrary price levels to generate his
                estimates of decrease in “value” in his Diminution in Value Survey. My
                analysis of Dr. Krosnick’s data shows that respondents ignored the prices they
                saw when indicating their purchase intentions.
18.        I identified the following issues with respect to Dr. Krosnick’s Pentobarbital Survey:
      a.        Dr. Krosnick’s Pentobarbital Survey does not attempt to estimate diminution in
                value. The survey provides no information about prices and does not ask any
                questions about purchasing behavior. As such, the survey is irrelevant to the
                estimation of damages because it is impossible to estimate a diminution of value
                (if any) related to Plaintiff’s pentobarbital allegations using Dr. Krosnick’s
                Pentobarbital Survey.
      b.        The results of Dr. Krosnick’s Pentobarbital Survey demonstrate that the Alleged
                Pentobarbital Corrective Statements had little to no impact on perceptions of the
                quality and healthiness of the At-Issue Products subject to the pentobarbital
                allegations for a large portion of respondents. These results are inconsistent
                with a presumption of uniform negative impact of such statements on purchase
                decisions for the At-Issue Products. Indeed, Dr. Krosnick’s own survey data
                demonstrate wide variation in consumer responses to the Alleged Pentobarbital
                Corrective Statements, suggesting different members of the putative class may
                react differently when exposed to the same information regarding pentobarbital.
      c.        Dr. Krosnick again failed to sample from the relevant population of interest. His
                sample in the Krosnick Pentobarbital Survey is based on the entire U.S. adult
                population, a population that is not representative of the actual or potential


                                                                                                 Page 7
                purchasers of the At-Issue Products, the actual or potential purchasers of any
                Champion products, or the putative class members. As a result, none of the
                results of Dr. Krosnick’s Pentobarbital Survey cannot be extrapolated to the
                putative class members.
      d.        Dr. Krosnick’s Alleged Pentobarbital Corrective Statements use negative and
                potentially alarming language, and do not include critical information about the
                level and likelihood of the presence of pentobarbital in the dog food products
                shown to respondents. As such, similar to his other survey, the statements in Dr.
                Krosnick’s Pentobarbital Survey do not provide information that is adequately
                specific to the facts of this case or adequately “correct” the allegedly omitted
                information, leaving respondents to make their own assumptions about the
                missing information. Dr. Krosnick also artificially increases respondents’
                attention to the Alleged Pentobarbital Corrective Statements due to his decision
                to show these statements in isolation (i.e., separate from respondents’ review of
                the products’ packaging) and in a product evaluation setting without the proper
                context of competitors. All of these flaws introduce potential biases that are
                likely to reduce respondents’ perceptions of the quality and healthiness of the
                products they saw in the survey.
19.        In addition, the following issues impact both of Dr. Krosnick’s surveys and call into
question the integrity of the data he collected as well as his analysis of the data:
      a.        Dr. Krosnick did not pre-test either of his survey instruments and did not
                perform any cognitive testing of his Alleged Corrective Statements or his
                Alleged Pentobarbital Corrective Statements to assess if respondents properly
                understood the information he provided in his surveys. He also failed to include
                basic quality control measures such as attention check questions to ensure data
                integrity.
      b.        Dr. Krosnick’s analysis contains multiple errors. In particular, he improperly
                used ordinary least squares regression with binary and ordinal dependent
                variables, created arbitrary indices without proper justification, and provided no
                support for the control variables he used in his analysis.
20.        Finally, academic research in the fields of marketing and consumer behavior
demonstrates that a variety of factors influence consumer purchase decisions and that
different consumers place different weights on different purchase factors. These findings


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suggest that, for a product such as dog food, the consumer purchase decision-making process
would involve a high level of diversity across consumers, a concept also referred to as
“heterogeneity.” As a result, Dr. Krosnick cannot reliably assume that the Alleged Corrective
Statements or the Alleged Pentobarbital Corrective Statements would influence the purchase
decisions of many or all putative class members in the same way. My analysis of the relevant
academic and trade literature, as well as testimony from the named Plaintiffs in this litigation
and related matters, shows that in order to determine reliably whether and how a specific
statement relating to the alleged misrepresentations would have influenced purchase
decisions for the products that are at issue, one would need to ask each individual member of
the putative class.

V.      Dr. Krosnick’s Diminution in Value Survey Is Fundamentally Flawed on
        Multiple Dimensions, Rendering Its Results Unreliable, and It Cannot Estimate
        a Change in Market Price

           A. Dr. Krosnick’s Diminution in Value Survey


21.     Dr. Krosnick designed and conducted a consumer survey to evaluate “[h]ow…
learning about the risk of the presence of certain heavy metals (lead, mercury, cadmium, and
arsenic) and non-natural substances (BPA) in the foods, learning that the foods were not
always made with fresh regional ingredients, and learning that the foods were sometimes
made with ingredients from third parties” would impact consumers’ perceptions of the quality
and healthiness of the At-Issue Products, as well as the economic value of the At-Issue
Products.18
22.     In his Diminution in Value Survey, Dr. Krosnick first showed respondents images and
text from all sides of the packaging of either ORIJEN Six Fish or ACANA Duck and Pear
Singles.19 Specifically, each respondent saw an image of one side of the package to which
they were assigned, and then a written list of the words that were depicted on that side of the
package.20 This process of first showing an image of a side of the package and then a list of
the text in the image was repeated for all four sides of the packaging of the products.21




18
   Krosnick Report Part 1, ¶ 47.
19
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶¶ 8–9 and Appendix B, pp. 223–249.
20
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 9 and Appendix B, pp. 223–227.
21
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 10 and Appendix B, pp. 223–249.



                                                                                                    Page 9
23.     Dr. Krosnick then showed respondents “between zero and eight pieces of additional
information,” that were intended to “correct alleged misinformation on the Champion
packaging.”22
24.     In order to evaluate Plaintiff’s claims that the At-Issue Products include potentially
harmful levels of arsenic, mercury, lead, cadmium, and/or BPA,23 Dr. Krosnick used the
following Alleged Corrective Statements that were provided to him by Plaintiff’s counsel:

        Laboratory testing has shown there is a risk that this food may contain arsenic.
        The Environmental Protection Agency has said, “Arsenic has been linked to a
        number of cancers. These include cancer of the bladder, lungs, skin, kidney,
        nasal passages, liver, and prostate.”24

        Laboratory testing has shown there is a risk that this food may contain
        mercury. The World Health Organization has said that in humans, “Mercury
        may have toxic effects on the nervous, digestive and immune systems, and on
        lungs, kidneys, skin and eyes.”25

        Laboratory testing has shown there is a risk that this food may contain lead.
        The Food & Drug Administration has said, “Lead is poisonous to humans and
        can affect people of any age or health status.”26

        Laboratory testing has shown there is a risk that this food may contain
        cadmium. A federal public health agency of the U.S. Department of Health
        and Human Services, has found, “Kidney and bone effects have also been
        observed in laboratory animals ingesting cadmium. Anemia, liver disease, and
        nerve or brain damage have been observed in animals eating or drinking
        cadmium.”27

        Laboratory testing has shown there is a risk that this food may contain BPA.
        The Food & Drug Administration has said, “BPA is an industrial chemical
        used to make polycarbonate, a hard, clear plastic, which is used in many
        consumer products.”28




22
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 10. These statements were provided
to Dr. Krosnick by Plaintiff’s counsel.
23
   Third Amended Complaint, ¶ 6.
24
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 10 and Appendix B, p. 199.
25
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 10 and Appendix B, p. 198.
26
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 10 and Appendix B, p. 198.
27
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 10 and Appendix B, p. 198.
28
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 10 and Appendix B, p. 199.



                                                                                                    Page 10
25.     In order to evaluate Plaintiff’s claims that Champion misrepresented the At-Issue
Products as “‘Biologically Appropriate’ foods that use ‘Fresh Regional Ingredients’
consisting only of meat, poultry, fish, and vegetables,”29 Dr. Krosnick used the following
Alleged Corrective Statements that again were provided to him by Plaintiff’s counsel:30

        The manufacturer of this food has stated that it may include ingredients that
        are not are delivered to them fresh but have been frozen before they are used
        to make the dog food.31

        The manufacturer of this food has stated that it may include ingredients that
        are sourced outside the region where it is manufactured. This may include not
        only other regions within the United States but also other regions
        internationally.32

        The manufacturer of this food has stated that it uses third parties to process
        and manufacture protein meals and tallows used in its dog foods.33


26.     Dr. Krosnick then asked respondents whether they would purchase the product they
have seen at a specific price point.34

        If you were buying dog food today, and the 13 pound bag of dog food you just
        saw is available at a price of $55.99, would you buy it, or would you not buy
        it?35


27.     According to Dr. Krosnick, he used five price points for each product including the
manufacturer’s suggested retail price (“MSRP”) for that product and prices “about 10 percent
below, about 5 percent below, about 5 percent above, and about 10 percent above” the MSRP




29
   Third Amended Complaint, ¶ 71.
30
   Note that Dr. Krosnick did not test the alleged impact of the phrase “biologically appropriate” or any other
affirmative statement Champion made on the packages. Additionally, Dr. Krosnick did not test the alleged
impact of Plaintiff’s claims that the At-Issue Products do not meet European Union Standards, or the alleged
risk that the At-Issue Products are associated with DCM. Dr. Krosnick’s Diminution in Value Survey therefore
provides no information on consumer reactions relating to any of these allegations.
31
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 10 and Appendix B, p. 199.
32
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 10 and Appendix B, p. 199.
33
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 10 and Appendix B, p. 199.
34
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶¶ 11–15 and Appendix B, pp. 199–
201.
35
   Two possible responses Dr. Krosnick provided to his respondents for this question were: “Would buy it” and
“Would not buy it.” See Krosnick Report Part 1, Appendix B, pp. 251–253.



                                                                                                        Page 11
for that product.36 Dr. Krosnick randomly assigned those respondents who received the
product purchase question to the price points they saw.
28.     Then, Dr. Krosnick posed questions to respondents about the “quality” of the dog
food they saw, and whether they thought the dog food they saw was “healthy.”37
Subsequently, Dr. Krosnick asked up to 58 additional questions “about [respondents’]
experiences owning dogs as well as some questions about their own lifestyle and
demographics.”38 These questions ranged from questions such as “how well has your dog
understood what you said to it?” to questions about whether the respondent has purchased
organic food in the past month and to questions about the respondent’s age, gender,
education, and household income.39
29.     Dr. Krosnick then analyzed, using ordinary least square regression, whether the
number of Alleged Corrective Statements a respondent saw could predict the respondent’s
response to the purchase question (i.e., whether it could predict if the respondent would
choose to purchase (or not purchase) the product they were provided information about at the
specified price level).40 After finding a negative and statistically significant relationship
between the number of Alleged Corrective Statements and whether the respondents would
choose to purchase (or not purchase) the product they saw (i.e., respondents were less likely
to indicate they would buy the product the more Alleged Corrective Statements that they
saw), Dr. Krosnick then used what he referred to as the “Lewbel-Watanabe estimation
approach”—based on two distinct papers, one by Arthur Lewbel (2000) and one by Masahide
Watanabe (2010)41—to estimate “the impact of the number of corrective statements on the
value attached to the product.”42 According to Dr. Krosnick’s estimates, exposure to one
Alleged Corrective Statement would “decrease the value” of the relevant At-Issue Product by
10.7% of the respective product’s MSRP, whereas exposure to seven or eight Alleged


36
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 14.
37
   Krosnick Report Part 1, Appendix B, pp. 253–254.
38
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 16 and Appendix B, pp. 254–288.
Some questions were not posed to all respondents. For example, respondents who indicated that they did not
currently own a dog were not asked the questions about dog ownership. The majority of these questions do not
appear anywhere in Dr. Krosnick’s analysis, while some are used for constructing control variables.
39
   Krosnick Report Part 1, Appendix B, pp. 254–288.
40
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 32.
41
   Lewbel, A. (2000), “Semiparametric Qualitative Response Model Estimation with Unknown
Heteroscedasticity or Instrumental Variables,” Journal of Econometrics, 97, 1, 145–177; Watanabe, M. (2010),
“Nonparametric Estimation of Mean Willingness to Pay from Discrete Response Valuation Data,” American
Journal of Agricultural Economics, 92, 4, 1114–1135.
42
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶¶ 34–36.



                                                                                                     Page 12
Corrective Statements would lead to a “[d]ecrease in the [v]alue” of the relevant At-Issue
Product by 54.8% or 59.6%, respectively, of the particular product’s MSRP.43
30.     Mr. Weir used the “Percent Decrease in Value” associated with including seven or
eight Alleged Corrective Statements estimated by Dr. Krosnick as an input to his proposed
approach for calculating Diminution in Value Damages.44
31.     As I explain below, there are multiple fatal flaws with Dr. Krosnick’s Diminution in
Value Survey that render it unreliable and demonstrate that the data generated by Dr.
Krosnick’s Diminution in Value Survey cannot support a conclusion that disclosure of the
Alleged Corrective Statements “decreased the value of the [At-Issue Products] by measurable
amounts,” or that such disclosures “decreased the perceived quality and healthiness of the
[At-Issue Products].”45 Accordingly, Mr. Weir’s estimate of Diminution in Value Damages,
which relies on the results of Dr. Krosnick’s Diminution in Value Survey for crucial inputs,
cannot provide reliable estimates of damages to the putative class members. In the following
sections, I address these flaws in turn.

            B. Dr. Krosnick’s Diminution in Value Survey Design Is Not Equipped to
               Measure Diminution in “Value” Alleged by Plaintiff

                 1.       Dr. Krosnick Conflates the Number of Alleged Corrective
                          Statements with the Content of Alleged Corrective Statements and
                          His Survey Lacks a Proper Control Group


32.     Dr. Krosnick’s conclusions from the Diminution in Value Survey do not relate to the
specific content of the alleged misrepresentations and omissions (e.g., that the At-Issue
Products allegedly contained heavy metals and BPA), and instead are based on the number of
the Alleged Corrective Statements Dr. Krosnick uses in his survey.46 For example, Dr.
Krosnick’s conclusions regarding the impact of viewing four Alleged Corrective Statements
does not depend on which four statements were viewed. In other words, Dr. Krosnick’s
survey does not measure the impact of information about the alleged presence or risk of


43
   Krosnick Report Part 1, ¶ 79.
44
   Weir Report, ¶¶ 35–37. Specifically, Mr. Weir suggests multiplying Dr. Krosnick’s percent decrease in value
estimates corresponding to inclusion of seven or eight Alleged Corrective Statements on the product’s
packaging, with his own estimate of total sales volume of the At-Issue Products.
45
   Krosnick Report Part 1, ¶ 78.
46
   The Alleged Corrective Statements were provided to Dr. Krosnick by Plaintiff’s counsel. Krosnick Report
Part 1, Technical Report Survey Methods and Results, ¶ 10. Deposition of Dr. Jon A. Krosnick, May 8, 2019
(“Krosnick May 8, 2019 Deposition”), p. 20:10-14.



                                                                                                       Page 13
presence of certain contaminants and other misrepresentations about the product ingredients
on the market price of the At-Issue Products.47, 48 Thus, Dr. Krosnick’s analysis fails to
provide a relevant measure of the claimed harm in this matter.
33.      By analyzing the number of Alleged Corrective Statements, Dr. Krosnick implicitly
assumes that respondents react to each of the Alleged Corrective Statements in the same way
and in the same magnitude. This means that in Dr. Krosnick’s analysis, the effect of seeing,
for example, an Alleged Corrective Statement about arsenic and an Alleged Corrective
Statement about using third parties to process and manufacture protein meals would be
identical. This also means that Dr. Krosnick’s analysis forces the effect of seeing four
Alleged Corrective Statements to be the same regardless of which four Alleged Corrective
Statements a respondent saw. In fact, Dr. Krosnick testified that the “diminution of value” he
estimated for a given number of Alleged Corrective Statements did not depend in any way on
which specific statement(s) the person saw and that there was no “significant difference”
between the effects of any of the eight different Alleged Corrective Statements that he used.49
34.      Even assuming that the relevant measure of the alleged impact could be determined
by analyzing the number of pieces of information that properly relate to the allegations, Dr.



47
   This is also true in the event that the Court dismisses any of the alleged misrepresentations such as the Court’s
order in this matter dismissing the heavy metals claims. That is, Dr. Krosnick’s Diminution in Value Survey
fails to provide a relevant measure of the claimed harm in this matter regardless of how many and which of the
Plaintiff’s claims are accepted by the Court. Additionally, without the heavy metals allegations, any respondent
who viewed an Alleged Corrective Statement regarding heavy metals would need to be removed from the
analysis. This is because it would be impossible to separate the influence on respondents of the heavy metals
Alleged Corrective Statements from the remaining Alleged Corrective Statements. I understand that the Court
dismissed Plaintiff’s allegations related to the presence of heavy metals in Champion products under the
Wisconsin Deceptive Trade Practices Act. “In sum, [Plaintiff] states that Defendants market their products as
being of premium quality. They did so knowing that their assertions were false because of the presence of
contaminants, or the risk of the presence of contaminants. This was to the detriment of consumers, who would
not have purchased the products at a price premium (or at all) if they had known about the contaminants. The
Court continues to believe, as it did in Loeb II, that this theory is not viable with respect to any of the naturally
occurring substances allegedly present in the products….All pet (and human) foods contain at least some tiny
amount of heavy metals. Plaintiff…insists that the mere presence of heavy metals defeats Defendants’ quality
claims. If this were true, the results would be preposterous. No one would sell foodstuffs in
Wisconsin….Plaintiff may not proceed on Count One [violation of the Wisconsin Deceptive Trade Practices
Act] with respect to heavy metals, but his claim will survive as to BPA, pentobarbital, and the alleged use of
non-regional and non-fresh ingredients.” Order on Motion to Dismiss Plaintiff’s Second Amended Complaint,
Scott Weaver v. Champion Petfoods USA, Inc. and Champion Petfoods LP, United States District Court for the
Eastern District of Wisconsin, Case No. 2:18-cv-1996-JPS, July 1, 2019, pp. 6–7, 15. Emphasis in original.
48
   I discuss in detail further below that Dr. Krosnick’s Diminution in Value Survey cannot measure market price,
and due to a large number of flaws in survey design and model estimation, Dr. Krosnick’s Diminution in Value
Survey results are unreliable.
49
   “Q. Okay. Did you do anything to determine, of the eight, which had the most impact when they only saw
one statement? A. Yes. Q. And where do I see the results of that? A. There – I saw no significant difference
in the impact of the statements, so there is no analysis reported here in this report on that matter.” Krosnick
May 8, 2019 Deposition, pp. 65:15–67:19.



                                                                                                            Page 14
Krosnick’s Diminution in Value Survey still fails to generate reliable results due to its lack of
a proper control group.50 Therefore, Dr. Krosnick’s Diminution in Value Survey is based on
an unscientific methodology and it is fundamentally flawed.
35.      A properly designed survey experiment compares a control group to a treatment
group.51 According to Diamond (2011), in a survey experiment,

         [R]espondents are assigned randomly to one of two conditions. For example,
         respondents assigned to the experimental condition view an allegedly
         deceptive commercial, and respondents assigned to the control condition either
         view a commercial that does not contain the allegedly deceptive material or do
         not view any commercial.52


36.      In the context of Dr. Krosnick’s study, this would imply that the treatment group (or
experimental condition) would include all respondents who viewed one or more of the
Alleged Corrective Statements, and the control group (or control condition) would include all
respondents who did not view any Alleged Corrective Statements (simulating what happened
in the real world or what the Plaintiff is challenging). Dr. Krosnick did not follow this
standard approach to designing an experiment. He has no proper baseline, representing the
real world experiences of consumers, to compare with his but-for world of consumers seeing
the Alleged Corrective Statements. Table 1 below shows the share of respondents who saw
zero to eight Alleged Corrective Statements. It is striking that only 23 people out of 6,728
respondents, or 0.34% of Dr. Krosnick’s total sample, saw zero Alleged Corrective
Statements.53 Thus, it is not possible to conduct any proper statistical analysis of Dr.


50
   Dr. Krosnick claims that: “propositions were tested by randomly assigning respondents to read one of 256
combinations of corrective statements about a dog food. For each of 8 corrective statements, half of the
respondents were the control group, meaning that they did not see that statement, and the other half of the
respondents were the treatment group, meaning that they did see the corrective statement.” Krosnick Report
Part 1, ¶ 66. This approach does not constitute using a control group because Dr. Krosnick uses respondents
who saw other Alleged Corrective Statements as a control, which is inappropriate. Respondents who saw any
Alleged Corrective Statements cannot be used as a control because they may be influenced by the Alleged
Corrective Statements that they did see. I note that, in his deposition, Dr. Krosnick stated that “there isn’t really
a control group” because “it’s not the design.” Krosnick May 8, 2019 Deposition, p. 97: 8–11. Dr. Krosnick
could have assigned a ninth of his sample to receive zero corrective statements. This would have allowed for a
comparison of each Alleged Corrective Statement or a combination of all or some of the Alleged Corrective
Statements to a control group who saw zero Alleged Corrective Statements.
51
   Diamond, S. S. (2011), “Reference Guide on Survey Research,” in Reference Manual on Scientific Evidence,
Washington, D.C.: The National Academies Press, 359–424 (“Diamond (2011)”) at p. 398; see also Barabas, J.
and J. Jerit (2010), “Are Survey Experiments Externally Valid?” American Political Science Review, 104, 2,
226–242.
52
   Diamond (2011), p. 398.
53
   Furthermore, there is only one respondent who reported that they ever purchased ACANA or ORIJEN dog
food products and saw zero Alleged Corrective Statements, and none who saw all eight Alleged Corrective



                                                                                                             Page 15
Krosnick’s Diminution in Value Survey data due to the limited sample size of the control
group.
                                                 Table 1
                       Distribution of Number of Alleged Corrective Statements that
                      Respondents of Dr. Krosnick’s Diminution in Value Survey Saw

                  Number of                                           Number of Respondents
              Alleged Corrective  Number of   Percent of              Who Purchased ACANA or
                  Statements     Respondents Respondents                 ORIJEN Dog Food
                        0                     23         0.34%                      1
                        1                    227         3.37%                     17
                        2                    716        10.64%                     43
                        3                  1,467        21.80%                     85
                        4                  1,864        27.71%                     97
                        5                  1,466        21.79%                     96
                        6                    732        10.88%                     52
                        7                    210         3.12%                     14
                        8                     23         0.34%                      0

              Source: Krosnick Backup Materials


37.      That Dr. Krosnick conducted the analysis in this manner, and the lack of statistically
significant differences between the statements in terms of how they affect “value,” per his
deposition testimony, demonstrates that Dr. Krosnick’s results are not driven by the content
of the Alleged Corrective Statements he provided to his respondents. Instead, as I discuss
below, his results are likely a design artifact from forcing respondents to click through
multiple negative (and in some cases extremely negative) statements about a product that the
vast majority of Dr. Krosnick’s respondents either have not previously purchased or would
never consider purchasing.54




Statements. According to Gerber and Green (2012), “When the potential outcomes have different variances,
invest additional observations to the experimental condition with greater variance.… In practice, however,
researchers seldom know in advance which group is likely to have more variance and therefore place equal
numbers of subjects in each condition.” See Gerber, A. S. and D. P. Green (2012), Field Experiments: Design,
Analysis, and Interpretation, New York, NY: W. W. Norton & Company, Inc., 58–59. Dr. Krosnick’s
treatment-control distribution is what we would expect to see if one were to assign a 50% probability of
receiving each treatment. This means that the probability of receiving zero Alleged Corrective Statements (or
eight) is the same as getting heads on eight consecutive coin flips, which corresponds to a 0.39% probability (or
0.58 = 0.39%). This is almost exactly the outcome observed in Dr. Krosnick’s Diminution in Value Survey data,
with about 0.34% of respondents who saw zero or all eight of the Alleged Corrective Statements. As Table 1
shows, the large majority of the respondents saw between 3 and 5 Alleged Corrective Statements—this is
equivalent to getting between 3 and 5 heads out of eight coin flips.
54
   As I discuss in more detail below, Dr. Krosnick’s Alleged Corrective Statements regarding the heavy metal
and BPA content of the At-Issue Products (in particular) include descriptors that would be evaluated negatively
by the consumers about any product, let alone a food product. These descriptors include being linked to cancer,
nerve or brain damage, and descriptors such as “toxic,” “poisonous,” and “industrial chemical.” Krosnick
Report Part 1, Technical Report Survey Methods and Results, ¶ 10; Appendix B, pp. 198–199.



                                                                                                         Page 16
                  2.       Dr. Krosnick’s Measure of “Value” Does Not Relate to and Cannot
                           Approximate Market Prices


38.      Dr. Krosnick estimated a measure of percent decrease in “value” where his concept of
“value” corresponds to an average willingness to pay across his respondents.55 Dr. Krosnick
is generally ambiguous about the definition of “value” he claims to have estimated and
provides a definition of willingness to pay during his deposition that is not consistent with
how that term is defined and used in the fields of economics and marketing.56 With respect to
his “value” concept, Dr. Krosnick testified in his deposition that:

              [I]f I walk into a store and I purchase a candy bar for $3, you’ve
              observed that I was willing to pay $3 for that candy bar, and that $3 is
              what we call a lower-bound estimate of the value of the candy bar to
              the individual. In other words, if -- if I gave up that much, it’s worth
              at least that much to me. It may have been worth 3.50. If it --they
              had charged 3.50, I might have relieved that.57

Per this description, the “value” concept Dr. Krosnick tries to estimate is therefore nothing
more than the maximum price an individual would be willing to pay when deciding whether
to purchase a product—which is the precise definition of willingness to pay in academic
literature.58 If the product price is less than this maximum amount, the individual would
purchase the product, if not they would not buy.
39.      The literature Dr. Krosnick bases his analysis upon further confirms that his analysis
is designed to arrive at a willingness to pay measure.59 In fact, the Watanabe paper that


55
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 34; Krosnick May 8, 2019
Deposition, pp. 13:20–14:6.
56
   According to Dr. Krosnick, “Willingness to pay is – is revealed in behavior when consumers engage in
transactions. So by going to a store and purchasing a candy bar for $3, the individual reveals a willingness to
pay of $3, which provide a lower-bound estimate of the economic value of the good to the individual. The value
could be higher than that willingness to pay that was revealed in that particular transaction at that particular
price, but we know that it is at least that much, by definition, because the individual revealed a willingness to
pay of [sic] that amount.” Krosnick May 8, 2019 Deposition, pp. 13:20–14:6.
57
   Krosnick May 8, 2019 Deposition, pp. 10:23–11:6.
58
   For example, Greg Mankiw’s Principles of Microeconomics explains this clearly: “Each buyer’s maximum
[price that he would pay] is called his willingness to pay, and it measures how much that buyer values the good.
Each buyer would be eager to buy the album at a price less than his willingness to pay, and he would refuse to
buy the album at a price greater than his willingness to pay. At a price equal to his willingness to pay, the buyer
would be indifferent about buying the good: If the price is exactly the same as the value he places on the album,
he would be equally happy buying it or keeping his money.” Mankiw, N. G. (2008), Principles of
Microeconomics, Mason, OH: South-Western Cengage Learning, p. 138. Allenby, G. M., et al. (2014),
“Economic Valuation of Product Features,” Quantitative Marketing and Economics, 12, 421–456, at p. 430.
59
   Watanabe, M. (2010), “Nonparametric Estimation of Mean Willingness to Pay from Discrete Response
Valuation Data,” American Journal of Agricultural Economics, 92, 4, 1114–1135; Lewbel, A. (2000),
“Semiparametric Qualitative Response Model Estimation with Unknown Heteroscedasticity or Instrumental
Variables,” Journal of Econometrics, 97, 1, 145–177. Watanabe (2010) “develops a nonparametric method to



                                                                                                           Page 17
serves as the basis for Dr. Krosnick’s estimation approach includes the phrase “Mean
Willingness to Pay” in its title, and the first sentence of the paper’s abstract states that: “This
article develops a nonparametric method to consistently estimate mean willingness to pay
(WTP) in various discrete response valuation methods.”60
40.     Both academic literature and leading industry practitioners make a clear distinction
between willingness to pay and market prices.61 Academic findings show that neither
individual willingness to pay nor average willingness to pay defines the price at which a
product is sold in the marketplace and that willingness to pay estimates typically overstate the
actual changes to market prices. For example, Hausman (2012) finds that:

        When hypothetical questions are asked about willingness to pay, the results
        tend to be upward-biased. This fact is well-known. For example, Jamieson
        and Bass (1989) studied people’s stated intentions to purchase new products,
        and found that such measures were overstated.62


41.     In addition, Dr. Krosnick’s method, when executed properly, at best may estimate an
average willingness to pay across respondents. Dr. Krosnick testified to this, and it is stated
throughout the Technical Appendix related to Dr. Krosnick’s Diminution in Value Survey.63
Furthermore, the Watanabe paper Dr. Krosnick heavily relies upon for his methodology also
clearly indicates that the procedure is intended to estimate an average willingness to pay.64




consistently estimate mean willingness to pay in various discrete response valuation methods.” Lewbel (2000)
offers a general method for estimating certain types of choice models, one application of which is estimating
willingness to pay (see pp. 149–150). Dr. Krosnick describes his method as the Lewbel-Watanabe approach,
citing these two papers. Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 34. Dr.
Krosnick also explained in deposition that his methodology is “derived from a method originally proposed by an
economist named Turnbull… [and that] the logic of the Turnbull method… is to provide the average willingness
to pay, or the average value of the good for the sample of respondents…” Krosnick May 8, 2019 Deposition,
pp.115:9–10, 117:21–24.
60
   Watanabe, M. (2010), “Nonparametric Estimation of Mean Willingness to Pay from Discrete Response
Valuation Data,” American Journal of Agricultural Economics, 92, 4, 1114–1135 at p. 1114.
61
   See, e.g., Allenby, G. M., et al. (2014), “Valuation of Patented Product Features,” The Journal of Law and
Economics, 57, 3, 629–663 at p. 652; Allenby, G. M., et al. (2014), “Economic Valuation of Product Features,”
Quantitative Marketing and Economics, 12, 421–456 at pp. 424, 449; Allenby, G., et al. (2013), “Using
Conjoint Analysis to Determine the Market Value of Product Features,” Proceedings of the Sawtooth Software
Conference, 341–355 at p. 342; Orme, B. K. (2014), Getting Started with Conjoint Analysis: Strategies for
Product Design and Pricing Research, Manhattan Beach, CA: Research Publishers, 88–92.
62
   Hausman, J. (2012), “Contingent Valuation: From Dubious to Hopeless,” Journal of Economic
Perspectives, 26, 4, 43–56 at p. 44.
63
   Krosnick May 8, 2019 Deposition, p. 112:14–17; “This expression is the basis for nonparametric estimation
of mean value.” See Krosnick Report Part 1, Appendix E, p. 328.
64
   See ¶ 39 above; Watanabe, M. (2010), “Nonparametric Estimation of Mean Willingness to Pay from Discrete
Response Valuation Data,” American Journal of Agricultural Economics, 92, 4, 1114–1135 at p. 1114.



                                                                                                      Page 18
42.     Basic economics holds that the market equilibrium price for a product is the price at
which the demand curve and the supply curve intersect.65 In other words, one must estimate a
but-for demand curve and a but-for supply curve in order to estimate a but-for market price.
Dr. Krosnick’s Diminution in Value Survey is not equipped to incorporate any supply-side
factors, and during his deposition on May 8, 2019, Dr. Krosnick admitted that his analysis did
not consider the cost of producing Champion products or any other supply-side factors.66 It is
incorrect to ignore the supply-side factors that would be different in the but-for world than
they were in the actual world. Any changes to the actual product (i.e., a but-for product with
different disclosures and statements) could be associated with different marketing,
production, or other choices.67 Additionally, the response of competitors to this but-for
product must be accounted for along with Champion’s response to this response. All of these
factors impact the ultimate quantity of the but-for product supplied in the but-for world, and
more generally, the supply curve (or willingness to sell) for Champion. None of these factors
are considered, analyzed, or estimated by Dr. Krosnick.
43.     In addition, Dr. Krosnick’s methodology appears to be a form of contingent
valuation.68 In describing a standard contingent valuation study, Dr. W. Michael Hanemann
states that:

        [M]ost major contingent valuation studies have used closed ended questions
        like “If it cost $x, would you be willing to pay this amount?” or “If it cost $x,
        would you vote for this?” Different people are confronted with different
        dollar amounts. Plotting the proportion of “yes” responses against the dollar
        amount traces out the cumulative distribution function of willingness-to pay.69



65
   As stated in all elementary economics textbooks, market price is determined at the point where market
demand equals market supply. See, e.g., Varian, H. R. (1992), “Competitive Markets,” in Microeconomic
Analysis, New York, NY: W. W. Norton & Company, Inc., 215–232 at p. 219; Mas-Colell, A., et al. (1995),
“Competitive Markets,” in Microeconomic Theory, New York, NY: Oxford University Press, Inc., 311–349 at p.
320; Goolsbee, A., et al. (2013), “Supply and Demand,” in Microeconomics, New York, NY: Worth Publishers,
13–59 at p. 25.
66
   Krosnick May 8, 2019 Deposition, pp. 112:22–114:14.
67
   Note that Dr. Krosnick does not present a but-for product in his survey. He presents the actual product and
then “additional information” about it. This is not how additional disclosures would be communicated in the
but-for world. Therefore, Dr. Krosnick’s survey does not yield a valid estimate of the demand for a but-for
product because no but-for product is presented to the survey respondents. Krosnick Report Part 1, Technical
Report Survey Methods and Results, ¶ 10.
68
   Specifically, Dr. Krosnick’s methodology appears to be a dichotomous choice contingent valuation.
Hanemann, M., J. Loomis, and B. Kanninen (1991), “Statistical Efficiency of Double-Bounded Dichotomous
Choice Contingent Valuation,” American Journal of Agricultural Economics, 73, 4, 1255–1263 at p. 1255.
69
   Hanemann, W. M. (1994), “Valuing the Environment through Contingent Valuation,” Journal of Economic
Perspectives, 8, 4, 19–43 at p. 23.



                                                                                                      Page 19
44.     This is of course what Dr. Krosnick does in his Diminution in Value Survey: “After
reading the corrective statements, respondents who indicated they had ever owned a dog were
asked whether they would buy the product at a specified price.”70 It should also be noted that
Dr. Krosnick refers to his estimation method as the “Lewbel-Watanabe Approach”71 and that
the abstract of Watanabe (2010) states that the method described in the paper is “applicable to
single-bounded and double-bounded contingent valuation.”72 In sum, it seems clear that Dr.
Krosnick’s method is a variation on contingent valuation.
45.     It is also worth noting that the validity of contingent valuation is heavily debated in
the academic community, even with respect to its capability to properly measure actual
average willingness to pay. One of the most well-known criticisms of contingent valuation
comes from a 2012 peer-reviewed article by Dr. Jerry Hausman (“Dr. Hausman”) entitled
“Contingent Valuation: From Dubious to Hopeless.”73 In the article, Dr. Hausman states
that:

        Indeed, I believe that respondents to contingent valuation surveys are often not
        responding out of stable or well-defined preferences, but are essentially
        inventing their answers on the fly, in a way which makes the resulting data
        useless for serious analysis.74


Johnston (2006) is similarly critical of the contingent valuation methodology stating that,
“most research finds significant divergence between stated and actual behaviors” solicited in
contingent valuation survey settings.75
46.     In conclusion, even if Dr. Krosnick’s Diminution in Value Survey and analysis were
properly designed and implemented—which they are not—his methodology cannot and does

70
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 11.
71
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 34.
72
   Watanabe, M. (2010), “Nonparametric Estimation of Mean Willingness to Pay from Discrete Response
Valuation Data,” American Journal of Agricultural Economics, 92, 4, 1114–1135. Dr. Krosnick testified that
his method was a “between-subject experiment” while also comparing his method to a “simplified” version of a
conjoint analysis. Krosnick May 8, 2019 Deposition, pp. 99:23–102:5. A “between-subject experiment” is
simply an experiment where “each individual is exposed to only one treatment,” in contrast to a “within-subject”
experiment where “each individual is exposed to more than one of the treatments being tested.” Charness, G.,
Gneezy, U. and Kuhn, M. A. (2012), “Experimental Methods: Between-Subject and Within-Subject
Design,” Journal of Economic Behavior & Organization, 81, 1, 1–8. Thus, Dr. Krosnick’s testimony that his
technique is a “between-subject experiment” provides very little information about the method he is using.
73
   Hausman, J. (2012), “Contingent Valuation: From Dubious to Hopeless,” Journal of Economic
Perspectives, 26, 4, 43–56.
74
   Hausman, J. (2012), “Contingent Valuation: From Dubious to Hopeless,” Journal of Economic
Perspectives, 26, 4, 43–56, at p. 43.
75
   Johnston, R. J. (2006), “Is Hypothetical Bias Universal? Validating Contingent Valuation Responses Using a
Binding Public Referendum,” Journal of Environmental Economics and Management, 52, 1, 469–481 at p. 469.



                                                                                                        Page 20
not estimate a change in market prices of At-Issue Products associated with the alleged
impact of information about the presence, or risk of presence, of heavy metals, BPA, and
information about the freshness and sourcing of ingredients. Because Dr. Krosnick does not
estimate an impact on market prices, his estimate is not connected to Plaintiff’s theory of
damages.76 Furthermore, there are serious questions in the academic community regarding
the validity of any average willingness to pay measure that Dr. Krosnick’s methodology can
generate.

                3.       Dr. Krosnick Did Not Survey the Relevant Population


47.     One of the fundamental requirements in proper survey design is the identification of
an appropriate universe or population. Dr. Krosnick frames his report as following a series of
questions listed by Diamond (2011) “that should be asked about any survey evidence that is
submitted for a court’s consideration.”77 Three of these questions regard the survey
population.78 In particular, when addressing the question “Was an Appropriate Universe or
Population Identified?” Diamond (2011) states that:

        The definition of the relevant population is crucial because there may be
        systematic differences in the responses of members of the population and
        nonmembers. For example, consumers who are prospective purchasers may
        know more about the product category than consumers who are not
        considering making a purchase.79


However, when attempting to address this question, Dr. Krosnick explains that: “[f]or this
survey, the population is all adults living in the United States, age 18 and older.80
48.     Dr. Krosnick’s Diminution in Value Survey violates Diamond (2011)’s requirements.
The population selected by Dr. Krosnick is irrelevant because it is inconsistent with the
putative class definition, which includes the following individuals:


76
   “As a result of Defendants' conduct, Plaintiff and the Class have suffered actual damages in that they
purchased Contaminated Dog Foods that were worth less than the price they paid…” Third Amended
Complaint, ¶ 175.
77
   Krosnick Report Part 1, ¶ 46 citing Diamond (2011).
78
   The questions are “Was an Appropriate Universe or Population Identified?” “Did the Sampling Frame
Approximate the Population?” and “Does the Sample Approximate the Relevant Characteristics of the
Population? What Is the Evidence That Nonresponse Did Not Bias the Results of the Survey?” Krosnick Report
Part 1, ¶¶ 52–54; Krosnick Report Part 2, ¶¶ 52–54; Diamond (2011), pp. 376–385.
79
   Diamond (2011), p. 377.
80
   Krosnick Report Part 1, ¶ 52; Krosnick May 8, 2019 Deposition, pp. 14:15–18:20.



                                                                                                  Page 21
        “All persons residing in the State of Wisconsin who purchased Dog Food
        between July 1, 2014 and the present (the “Class Period”)” except “persons or
        entities who purchased the Dog Food for business use or resale; governmental
        entities; Defendants and its affiliates, subsidiaries, employees, current and
        former officers, director, agents, and representatives; and members of this
        Court and its staff.”81


49.     In his deposition on May 8, 2019, Dr. Krosnick testified that he chose American
adults as the relevant population based on what he claims are U.S. Federal Trade
Commission’s (“FTC”) “standards and issue guidelines.”82 Dr. Krosnick claimed that there
are specifically two populations of interest per these FTC guidelines (which he did not at all
reference anywhere in his report): (i) all consumers in the country (in reference to what Dr.
Krosnick claims is the reasonable consumer standard), and (ii) consumers who are “in the
target market” for the product of interest.83
50.     Dr. Krosnick does not provide support for the idea that American adults are
representative of putative class members (or even the “target market” for Champion). On the
contrary, there are many reasons to expect that the two groups would differ. For example, as
Dr. Krosnick’s sample demonstrates, not all American adults own a pet dog or have
purchased dog food before. Not all American adults who own dogs would have purchased or
would necessarily be interested in purchasing At-Issue Products, which are typically priced at
a higher price bracket and are built upon a philosophy of a protein heavy diet for dogs. Thus,
without having conducted any analysis or testing to compare the members of his target
population (American adults) to members of the putative class, Dr. Krosnick cannot simply
mention some vague FTC guidelines that he did not once cite in his report to justify his
violation of the first rule of best survey practices.84 Dr. Krosnick admitted in his May 8, 2019
deposition that he did not compare members of the putative class to American adults.85
51.     There is evidence in the record that suggests that members of the putative class may
exhibit different preferences and behaviors compared to other consumers. For example,



81
   Memorandum of Points and Authorities in Support of Plaintiff’s Motion for Class Certification, Scott Weaver
v. Champion Petfoods USA, Inc. and Champion Petfoods LP, United States District Court for the Eastern
District of Wisconsin, Case No. 2:18-cv-01996-JPS, August 15, 2019, pp. 8–9. According to the Complaint, the
alleged Contaminated Dog Foods only include ACANA and ORIJEN dog food products. See Third Amended
Complaint, ¶ 26.
82
   Krosnick May 8, 2019 Deposition, pp. 14:19–16:3.
83
   Krosnick May 8, 2019 Deposition, pp. 14:19–16:3.
84
   Diamond (2011), p. 377.
85
   Krosnick May 8, 2019 Deposition, p. 36:3–12.



                                                                                                      Page 22
according to a January 2017 U.S. Dog Pet Food Survey commissioned by Champion (“U.S.
Dog Pet Food Survey”), a specific subset of consumers referenced as “informed consumers”
tended to consider brands like ACANA and ORIJEN.86 These consumers represented only
18% of the overall survey sample in the U.S. Dog Pet Food Survey study.87 According to this
survey regarding informed consumers,

        Not only are they more likely to be aware of specialty store-exclusive brands
        like Acana and Orijen, they also tend to know more about each brand.
        They’re also more likely to consider specialty brands like Acana and Orijen,
        as well.88


52.     Furthermore, the U.S. Dog Pet Food Survey study found that these consumers
shopped differently than other consumers—for example, they are more likely to talk to store
staff and to take staff recommendations into account when deciding which brand of dog food
to purchase.89 They are also likely to spend more money on dog food products and likely to
be more concerned about certain aspects of the food like the amount of meat content.90
53.     Given the potential and significant differences between the putative class members
and the American adult population, it is important for Dr. Krosnick’s Diminution in Value
Survey sample to include a large enough and representative group of regular purchasers of
At-Issue Products. However, Dr. Krosnick’s population contains very few respondents who
ever purchased ACANA or ORIJEN dog food products.91 Table 2 below shows the share of
these respondents in Dr. Krosnick’s Diminution in Value Survey sample.




86
   The “informed consumer” is defined in the U.S. Dog Pet Food Survey based on the response to three
questions in the survey. See “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017,
CPF0145434–5538, at 536.
87
   “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 438.
88
   “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 438.
89
   “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 439.
90
   “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 440.
91
   Dr. Krosnick’s Diminution in Value Survey included the following questions for respondents who saw
ACANA Duck and Pear Singles or ORIJEN Six Fish:
     - “The dog food you looked at is called [‘Acana Duck and Pear Singles’ / ‘Orijen Six Fish’]. Did you
         ever buy that type of dog food, or did you never buy it?”
     - “Did you ever buy dog food that had the word [‘Acana’ / ‘Orijen’] written on the package, or did you
         never do that?”
     - “Did you ever buy dog food that had the word [‘Acana’ / ‘Orijen’] written on the package after July 1,
         2013, or did you never do that?”
Krosnick Report Part 1, Appendix B, pp. 202–203, 255–257. Based on these questions, it is not possible for Dr.
Krosnick to identify regular purchasers of ACANA and/or ORIJEN products.


                                                                                                       Page 23
                                               Table 2
                     Summary of Dr. Krosnick’s Diminution in Value Survey Sample92

                                                                 Number of                 Percent of
                  Survey Respondents                            Respondents              Survey Sample


All                                                                  6,728                     100%


Who Ever Purchased Any Dog Food                                      5,522                      82%


Who Purchased Any Dog Food
                                                                     3,930                      58%
After July 1, 2013


Who Ever Purchased Any ACANA or ORIJEN Dog Food                        405                       6%


Who Purchased Any ACANA or ORIJEN Dog Food
                                                                       276                       4%
After July 1, 2013

Who Ever Purchased ACANA or ORIJEN Dog Food
                                                                       206                       3%
Seen in Krosnick’s Survey
Who Purchased ACANA or ORIJEN Dog Food
Seen in Krosnick’s Survey                                              144                       2%
After July 1, 2013
Who Ever Purchased Any ACANA or ORIJEN Dog Food
                                                                         11                      0%
and Was a Resident of Wisconsin

Source: Krosnick Backup Materials


54.      Table 2 shows that only 58% of Dr. Krosnick’s Diminution in Value Survey sample
purchased dog food after July 1, 2013.93 The vast majority of respondents in Dr. Krosnick’s
Diminution in Value Survey sample have never purchased ACANA or ORIJEN dog food
products—only 6% of Dr. Krosnick’s sample claimed to have ever purchased ACANA or
ORIJEN dog food products. An even larger share of respondents have not ever purchased
ACANA or ORIJEN during the putative class period—only 4% of Dr. Krosnick’s


92
   Respondents were considered to have ever purchased ACANA or ORIJEN dog food if they indicated that they
have ever purchased the product they were shown in the survey (based on variable SPEC_BUY in Krosnick’s
survey data) or if they indicated that they had purchased a dog food product with “Acana” or “Orijen” on the
package (based on variables ACANA_BUY and ORIJEN_BUY in Krosnick’s survey data). I understand that
Plaintiffs are now seeking to certify a class that covers the period from July 1, 2014 to the present. In his
Diminution in Value Survey, Dr. Krosnick asked respondents if they had purchased dog food after July 1, 2013.
Results for these questions thus represent an upper bound on the number of respondents who purchased dog
food during the proposed putative class period. See Krosnick Report Part 1, Appendix B, pp. 202–203;
Memorandum of Points and Authorities in Support of Plaintiff’s Motion for Class Certification, Scott Weaver v.
Champion Petfoods USA, Inc. and Champion Petfoods LP, United States District Court for the Eastern District
of Wisconsin, Case No. 2:18-cv-01996-JPS, August 15, 2019, pp. 8–9.
93
   See footnote 92 above.



                                                                                                      Page 24
Diminution in Value Survey sample claimed to have purchased ACANA or ORIJEN dog
food products after July 1, 2013.94 Finally, the last row of Table 2 shows that less than 1% of
Dr. Krosnick’s Diminution in Value Survey sample reported that they have purchased
ACANA or ORIJEN products and that they live in the state of Wisconsin, i.e., less than one
percent of the sample could possibly be considered part of the putative class.
55.        A further indication of Dr. Krosnick’s failure to survey the relevant population is the
simple fact that the majority of respondents in his sample did not report that they would
purchase the ACANA Duck and Pear Singles or the ORIJEN Six Fish they saw, even in the
absence of any Alleged Corrective Statements.
56.        Table 3 below shows the share of respondents in Dr. Krosnick’s Diminution in Value
Survey sample who reported that they would purchase the ACANA Duck and Pear Singles or
ORIJEN Six Fish in the survey.
                                                 Table 3
      Share of Respondents in Dr. Krosnick’s Diminution in Value Survey Sample Who Would Purchase
                            ACANA Duck and Pear Singles or ORIJEN Six Fish

                                            Number of                       Percent of
                                         Respondents Who    Number of    Respondents Who
             Survey Respondents           Would Purchase   Respondents    Would Purchase

            All                                 673           5,808             12%

            Who Saw Zero Alleged
                                                 4              20              20%
            Corrective Statements

            Source: Krosnick Backup Materials


According to Table 3, 12% of the 5,808 respondents who were asked whether they would
purchase the dog food they saw said that they would. Of these, 20 respondents saw the
products without any corrective statements and only a total of 4 respondents indicated that
they would purchase ACANA Duck and Pear Singles or ORIJEN Six Fish. If Dr. Krosnick
were surveying regular ACANA and ORIJEN dog food purchasers, and providing them with
just the real world packaging of these products and prices that presumably resemble what
someone would normally pay for these products, one would expect that a higher proportion
would indicate that they would buy the product they saw. Given that only a fraction of Dr.
Krosnick’s Diminution in Value Survey sample indicated that they would buy these products
when they were just provided with packaging and pricing information suggests that the
preferences of the individuals in Dr. Krosnick’s Diminution in Value Survey sample


94
     See footnote 92 above.


                                                                                             Page 25
significantly diverge from the preferences of putative class members. Thus, Dr. Krosnick’s
selection of a population that significantly differs from the population of interest fatally
compromises the validity of his Diminution in Value Survey.95 As Diamond (2011) aptly
explains, “a survey that provides information about a wholly irrelevant population is itself
irrelevant.”96

                 4.       The Results of Dr. Krosnick’s Diminution in Value Survey
                          Analysis Cannot Be Generalized Across Different At-Issue
                          Products


57.     Dr. Krosnick’s Diminution in Value Survey only includes packages from two
products—ORIJEN Six Fish and ACANA Duck and Pear Singles—out of the over seventy
Champion dog food packages sold in the market.97 In determining which products to use in
his Diminution in Value Survey, Dr. Krosnick claims he analyzed the bags of sixty-eight of
the seventy-two Champion products sold to determine “what percentage of the packages
contained each element” (“each element” being certain wording, content, or imagery on the
product packaging).98 However, many of these elements are overly broad or trivial. For
example, Dr. Krosnick states that 100% of bags contain a “[s]tatement about vista / outdoors /
landscape.”99 He also states that 100% of bags contain the “[t]otal weight of food in
package” and “[c]ustomer care information.”100 None of these elements, or their appearance
on multiple product bags, supports the idea that ORIJEN Six Fish or ACANA Duck and Pear
Singles are comparable to all Champion products.


95
   Dr. Krosnick testified that his population of interest was the “all consumers in the country” as well as the
subpopulations of consumers “who have been the target/potential market for the good.” Krosnick May 8, 2019
Deposition, pp. 15:4–16:3. Dr. Krosnick did not provide any information on the percent of his sample that
meets the subpopulation he described as “the target/potential market for the good.” Table 2 and Table 3 above
show that only a very small fraction of Dr. Krosnick’s sample has ever purchased or would consider purchasing
ACANA or ORIJEN products.
96
   Diamond (2011), p. 377. It is worth noting that conducting any meaningful sensitivity analysis using a subset
of Dr. Krosnick’s sample that more closely resembles putative class members is not possible for two main
reasons. First, regardless of survey sample size and respondent characteristics, the degree of bias due to the
design flaws in Krosnick’s Diminution in Value Survey would make any sensitivity analysis stemming from the
survey data entirely unreliable. Second, if one were to look at a subset of Dr. Krosnick’s Diminution in Value
Survey sample that more closely resembles putative class members (e.g., respondents who claimed to have
purchased ACANA and/or ORIJEN dog food products), there would only be one respondent in the control
group (i.e., one respondent who saw zero Alleged Corrective Statements) and no respondents who saw all eight
Alleged Corrective Statements (see Table 1). It is simply not feasible to conduct a proper statistical analysis
with one respondent in the control group.
97
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶¶ 3–4.
98
   Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶¶ 5–6.
99
   Krosnick Report Part 1, Technical Report Survey Methods and Results, p. 38.
100
    Krosnick Report Part 1, Technical Report Survey Methods and Results, pp. 38–39.



                                                                                                        Page 26
58.     In addition, Dr. Krosnick’s analysis compares packaging of all products to each other
rather than comparing packaging of ORIJEN Six Fish and ACANA Duck and Pear Singles to
packaging of all other products. This means that his “element analysis” does not say
anything about the comparability of his chosen products to the full set of At-Issue Products.
Therefore, Dr. Krosnick’s analysis does not offer support for “generalizing the findings of
[his] experiment across packages,” as he claims.101
59.     According to the information I have reviewed, the assertion that the label claims were
consistent across the At-Issue Products is factually incorrect; and in fact, there is evidence in
the record that not all putative class members would have been uniformly and consistently
exposed to the challenged statements on product packaging.102 Indeed, the named Plaintiff in
this matter and the named Plaintiffs in similar cases in other courts demonstrate substantial
variation in terms of (i) which labels on the At-Issue Products impacted their purchasing
decisions and (ii) their interpretation of these labels.103
60.     For example, Mr. Weaver testified that, to him, “fresh sourced product” implied there
were no heavy metals, even naturally occurring ones, in the Defendant’s dog food.104 Ms.
Lisa Slawsby (a named plaintiff in another matter and a purchaser of Champion dog food) did
not remember reading the phrase “fit for human consumption” on the label of the At-Issue
Products.105 Ms. Carol Shoaff (a named plaintiff in another matter and a purchaser of
Champion dog food) could not remember whether “minimally processed” appeared on the
label of the At-issue Products, whereas Ms. Jennifer Reitman (a named plaintiff in another
matter and a purchaser of Champion dog food) reported this label claim as being particularly



101
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 6.
102
    For example, the claim that the products were marketed as being made with ingredients fit for human
consumption were not made on any of the ORIJEN At-Issue Products (with the exception of ORIJEN Tundra)
manufactured in the NorthStar kitchen (e.g., in 2015). Declaration of Chinedu Ogbonna, Kellie Loeb v.
Champion Petfoods USA Inc. and Champion Petfoods LP, United States District Court for the Eastern District
of Wisconsin, Case No. 18-494, December 7, 2018 (“Ogbonna Declaration”), ¶ 41. The claim was added to
ORIJEN At-Issue Products made at the DogStar kitchen starting in mid-2016, and then gradually removed
beginning in January 2018. Ogbonna Declaration, ¶¶ 42–43.
103
    This is not surprising. According to the results of the U.S. Dog Pet Food Survey, 41 percent of the 1,001
respondents do not rely on the information on packaging. “Brand Finance U.S. Dog Pet Food Survey,” Brand
Finance, January 13, 2017, CPF0145434–5538, at 459. Furthermore, the study found that demographic groups
who are most likely to purchase Champion products, respondents making above $60,000 per year and
respondents who shop at specialty stores, are even less likely to rely on information on packaging. “Brand
Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 459.
104
    Deposition of Scott Weaver, June 19, 2019 (“Weaver Deposition”), pp. 87:25–88:20.
105
    Deposition of Lisa Slawsby, January 25, 2019 (“Slawsby Deposition”), pp. 143:19–144:8; Second Amended
Class Action Complaint, Lisa Slawsby v. Champion Petfoods USA, Inc. and Champion Petfoods LP, United
States District Court, District of Massachusetts, Case No. 1:18-cv-10701-GAO, July 10, 2018.



                                                                                                      Page 27
important to her purchasing decision.106 Ms. Reitman and Ms. Shoaff both reported
interpreting “Biologically Appropriate” as implying something along the lines of “healthy,”
but not according to any formal definition.107 On the other hand, Ms. Slawsby researched the
term “Biologically Appropriate” and found a website from an Australian company
(biologicallyappropriate.com), which provided certain criteria for “Biologically Appropriate.”
She interpreted the label on the At-Issue Products as meaning the dog food met these
criteria.108 Ms. Kellie Loeb (a named plaintiff in another matter and a purchaser of Champion
dog food) testified that she “didn’t really look at the contents” of the ORIJEN dog food when
she first purchased the Senior and Original diets for her dogs.109 She also admitted that she
did not recall seeing the statement “that’s why ORIJEN features fresh, raw, or dehydrated
ingredients from minimally processed poultry, fish, and eggs that are deemed fit for human
consumption prior to inclusion in our foods” or “Orijen is the fullest expression of our
biologically appropriate and fresh regional ingredients commitment.”110
61.      Furthermore, very few respondents in Dr. Krosnick’s Diminution in Value Survey
claimed to have ever purchased either ORIJEN Six Fish or ACANA Duck and Pear Singles.
Of his 6,728 Diminution in Value Survey respondents, 405 respondents reported having ever
purchased a dog food product with either “ORIJEN” or “ACANA” written on the package.111



106
    Deposition of Jennifer Reitman, January 4, 2019 (“Reitman Deposition”), p. 112:12–25; Deposition of Carol
Shoaff, January 3, 2019 (“Shoaff Deposition”), p. 148:18–23; Third Amended Class Action Complaint, Jennifer
Reitman, Carol Shoaff, and Erin Grant et al v. Champion Petfoods USA, Inc. and Champion Petfoods LP,
United States District Court for the Central District of California Western Division, Case No. 2:18-cv-01736-
DOC-JPR, May 25, 2019. See also Deposition of Kellie Loeb, September 25, 2018, (“Loeb Deposition”), pp.
84:20–86:5, 95:22–96:4. Note that Ms. Kellie Loeb is also a named plaintiff in a similar matter and a purchaser
of Champion dog food. Kellie Loeb v. Champion Petfoods USA Inc. and Champion Petfoods LP, United States
District Court for the Eastern District of Wisconsin, Case No. 18-494, March 28, 2018. This case was dismissed
by the Court. See Order on Defendants Motion to Dismiss, Kellie Loeb v. Champion Petfoods USA Inc. and
Champion Petfoods LP, United States District Court for the Eastern District of Wisconsin, Case No. 18-CV-
494-JPS, June 7, 2018; Order on Summary Judgment, Kellie Loeb v. Champion Petfoods USA Inc. and
Champion Petfoods LP, United States District Court for the Eastern District of Wisconsin, Case No. 18-CV-
494-JPS, February 6, 2019.
107
    Ms. Reitman understood “biologically appropriate” to mean “to mirror the way dogs have evolved, that the
composition of it, same thing, same interpretation, that the recipe formulation, the balance between protein and
vegetables and fats and carbohydrates are put together or composed in a way that is appropriate for dogs and
their digestive system, their metabolic system, and so forth.” Reitman Deposition, p. 110:3–15. Ms. Shoaff said
“biologically appropriate “means that it’s considered healthy for the dog, specifically, biologically appropriate,
like it’s edible. It’s considered a good food. It has beneficial properties. Shoaff Deposition, pp. 138:24–139:2.
108
    Slawsby Deposition, pp. 10:22–13:11.
109
    Ms. Loeb testified that her purchases of Champion dry dog food products were limited to ORIJEN Original
and ORIJEN Senior for her puppy Newfoundland and for her 12-year old Australian Shepherd, respectively.
Loeb Deposition, pp. 28:21–29:7. Ms. Loeb did not purchase any ACANA dry dog food products, and testified
that she did not perform any research about ACANA products. Loeb Deposition, pp. 29:23–24, 123:22–23.
110
    Loeb Deposition, pp. 84:20–86:5, 95:22–96:4.
111
    See Table 2 above.



                                                                                                          Page 28
Of those 405, only 206 (or 3% of all respondents) indicated that they had previously
purchased either of the products they saw.112 At most 144 of those respondents (or 2% of all
respondents) purchased either of the products during the proposed class period.113
62.     Dr. Krosnick testified that he could not recall the methodology he used to select the
two products he tested, but that he might have selected them randomly among a set of eight
products that looked similar.114 Therefore, even assuming Dr. Krosnick’s Diminution in
Value Survey results were reliable (which they are not), extrapolating these results to all of
the At-Issue Products—without proper support for why the particular Champion products Dr.
Krosnick tested are representative of all At-Issue Products—is speculative at best.

                 5.      Price Levels in Dr. Krosnick’s Diminution in Value Survey Are
                         Arbitrary and Appear to Have No or Limited Impact on
                         Respondents’ Purchase Decisions


63.     In Dr. Krosnick’s Diminution in Value Survey, each respondent was asked whether
they would purchase the ACANA Duck and Pear Singles or ORIJEN Six Fish product that
they saw. Dr. Krosnick randomly assigned each respondent to a specific price level
corresponding either to the MSRP for the product, or “prices about 10 percent below, about 5
percent below, about 5 percent above, and about 10 percent above” the MSRP.115
64.     Dr. Krosnick did not provide any explanation or support for choosing these specific
price levels beyond his deposition testimony that he “consulted with an expert in pet food”
who told him that consumers “almost always” pay MSRP.116
65.     Regardless, results of Dr. Krosnick’s Diminution in Value Survey demonstrate that
the price levels used in the Diminution in Value Survey are not material to the respondents’
purchase decisions. In other words, respondents were not more likely to say they would
purchase the product when the price was lower.117 This goes against basic tenets of




112
    See Table 2 above.
113
    See Table 2 above. In his Diminution in Value Survey, Dr. Krosnick asked respondents if they had
purchased dog food after July 1, 2013. As such, the number presented here for respondents who purchased
ACANA or ORIJEN dog food during the putative class period represents an upper bound
114
    Krosnick May 8, 2019 Deposition, pp. 122:24–123:2.
115
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 14 and footnote 5 citing
CPF2117043–7045 for the MSRPs.
116
    Krosnick May 8, 2019 Deposition, pp. 80:11–81:23. Dr. Krosnick could not remember the name or
affiliation of this expert he consulted. Krosnick May 8, 2019 Deposition, pp. 80:11–83:14.
117
    See Table 4 below.



                                                                                                    Page 29
economics and consumer behavior, and implies that the Diminution in Value Survey data
underlying Dr. Krosnick’s estimates are not reliable.
66.      As I discussed above, Dr. Krosnick’s methodology appears to be a form of contingent
valuation.118 One of the most basic recommended tests for examining the quality of
contingent valuation data is to check that the randomly assigned price is negatively related to
the respondent’s choice. For example, Dr. Richard T. Carson (“Dr. Carson”), an expert on
contingent valuation with whom Dr. Krosnick has co-authored academic research several
times in the past,119 discusses this test as follows:

         The simplest test corresponds to a well-known economic maxim: the higher
         the cost, the lower the demand. In the binary discrete choice format, this can
         be easily tested by observing whether the percentage favoring the project falls
         as the randomly assigned cost of the project increases. This price sensitivity
         test has rarely failed in empirical applications.120


67.      Table 4 below shows the percent of the respondents who indicated that they would
purchase the dog food they saw at each of the price levels in Dr. Krosnick’s Diminution in
Value Survey. This table indicates that respondents were no more likely to buy the ACANA
Duck and Pear Singles or ORIJEN Six Fish at the lower price levels than at the higher price
levels. For example, of those respondents who were assigned to see the labels of the ORIJEN
Six Fish, 11.7% of respondents who were provided with the price of $47.99 (the lowest price
level assigned to the ORIJEN Six Fish diet in Dr. Krosnick’s Diminution in Value Survey)
indicated that they would purchase the product. Similarly, 11.7% of the respondents who
were provided with the price of $58.99 (the highest price level assigned to ORIJEN Six Fish
diet in Dr. Krosnick’s Diminution in Value Survey) indicated that they would purchase the
product. Thus, the data generated by Dr. Krosnick’s Diminution in Value Survey fails the
simplest data validity test advanced in the academic literature.




118
    See Section V.B.2 above.
119
    Krosnick, J. A., et al. (2002), “The Impact of ‘No Opinion’ Response Options on Data Quality: Non-Attitude
Reduction or an Invitation to Satisfice?” Public Opinion Quarterly, 66, 3, 371–403.
120
    Carson, R. T. (2000), “Contingent Valuation: A Users Guide,” Environmental Science & Technology, 34, 8,
1413–1418 at p. 1415. Similarly, in an article titled, “An Introduction to Contingent Valuation Using Stata,” the
authors state that, “[a]n important aspect to check when using contingent valuation data is that individuals
should be sensible to the bid amount, that is to say, we expect that as the bid amount goes up the proportion of
individuals that give a positive answer goes down.” See Lopez-Feldman, A. (2012), “Introduction to Contingent
Valuation Using Stata,” Munich Personal RePEc Archive, MPRA Paper No. 41018, 1–16. It is worth noting
that Stata is the software used by Dr. Krosnick to analyze his own survey data.


                                                                                                         Page 30
                                                 Table 4
      Share of Respondents in Dr. Krosnick’s Diminution in Value Survey Sample Who Would Purchase
                       ACANA Duck and Pear Singles or ORIJEN Six Fish by Price

                                    Number of                                        Percent of          Average Number of
          MSRP in                Respondents Who              Number of           Respondents Who        Alleged Corrective
      Krosnick's Survey           Would Purchase             Respondents           Would Purchase         Statements Seen
ACANA Duck and Pear Singles
           $37.99                          83                     573                     14.5%                  4.0
           $39.99                          70                     589                     11.9%                  4.0
           $41.99                          73                     588                     12.4%                  4.0
           $43.99                          68                     570                     11.9%                  4.0
           $45.99                          61                     588                     10.4%                  3.9
      All ACANA                           355                   2,908                     12.2%                  4.0
ORIJEN Six Fish
           $47.99                          72                     614                     11.7%                  4.0
           $50.99                          45                     555                      8.1%                  3.9
           $53.49                          69                     594                     11.6%                  4.1
           $55.99                          66                     575                     11.5%                  4.0
           $58.99                          66                     562                     11.7%                  4.0
      All ORIJEN                          318                   2,900                     11.0%                  4.0
Source: Krosnick Backup Materials; Krosnick Report Part 1, Technical Report Survey Me hods and Results




68.        As a second step in analyzing the relationship between price and whether respondents
indicated that they would purchase the product at the specific price level they were provided
with (and again as recommended in an introductory guide on contingent valuation), I
performed a basic regression analysis.121 Again, one would expect to see that as prices
increase, fewer respondents would report that they would purchase the dog food they were
shown.122
69.        In the real world, one would expect price to be a strong predictor of whether an
individual purchases a product. Therefore, one would expect that Dr. Krosnick’s price
variable would have a statistically significant and negative relationship with the purchasing
decision—i.e., one would expect that respondents would be less likely to purchase a
particular product when the associated price is higher.
70.        Table 5 below shows the results of my analysis, where I re-estimated Dr. Krosnick’s
ordinary least squares regression model with the addition of an explanatory variable for the
price respondents saw. The first column of estimates is from the Krosnick Report Part 1 and
the second column of estimates is from a model with the same specification as Dr. Krosnick’s



121
    Lopez-Feldman, A. (2012), “Introduction to Contingent Valuation Using Stata,” Munich Personal RePEc
Archive, MPRA Paper No. 41018, 1–16.
122
    It should be noted that Dr. Krosnick did not include the price that respondents saw as an explanatory variable
in his ordinary least squares regressions where the outcome is a binary variable for whether the respondent
reported that they would purchase the dog food they saw. Krosnick Report Part 1, Technical Report Survey
Methods and Results, ¶ 32.


                                                                                                                       Page 31
but with an additional variable for the price that the respondents were provided with. The
estimated coefficient on price is -0.001 with a p-value of 0.606 (and therefore not statistically
significant). This result suggests that there is no relationship between the price respondents
saw and whether respondents reported that they would or would not purchase the ACANA
Duck and Pear Singles or the ORIJEN Six Fish diet they saw in the Diminution in Value
Survey.
71.     This finding is inconsistent with the academic literature which show that price
changes typically result in significant changes in demand for the product. For example, the
sensitivity of consumer demand for a brand to a change in price, or elasticity, is over 20 times
higher in magnitude than advertising elasticities (i.e., the sensitivity of consumer demand for
a product to changes in the advertising level).123
72.     As an additional test of Dr. Krosnick’s Diminution in Value Survey data reliability, I
examined whether respondents with higher incomes were more likely to report that they
would be willing to pay for the product they see—this is another data quality test
recommended in the literature on contingent valuation.124 In the context of Dr. Krosnick’s
Diminution in Value Survey, this test is based on the expectation that the higher the income
of the respondents, the higher their willingness to pay would be for the dog food products
they were shown in the Diminution in Value Survey. To analyze this, as recommended in
academic research using contingent valuation methods, I tested whether the income of a
respondent predicts whether a respondent reported that they would purchase the dog food.125
I used the same model specification as Dr. Krosnick, but included the income of respondents
as a control variable.
73.     Table 5 below shows the results of my analysis. The third column of estimates is
from a model with the same specification as Dr. Krosnick’s but with an additional variable
for the income of the respondent. The estimated coefficient on income is -0.006 with a p-
value of 0.431 (and therefore not statistically significant). This result suggests that there is no
relationship between the respondent’s income and whether the respondent reported that they



123
    Hanssens, D. M., ed. (2015), Empirical Generalizations about Marketing Impact, Cambridge, MA:
Marketing Science Institute; Hanssens, D. M. and K. H. Pauwels (2016), “Demonstrating the Value of
Marketing,” Journal of Marketing: AMA/MSI Special Issue, 80, 173–190 at Table 3 and p. 180.
124
    Cawley, J. (2008), “Contingent Valuation Analysis of Willingness to Pay to Reduce Childhood Obesity,”
Economics & Human Biology, 6, 2, 281–292 at p. 287; Arrow, K., et al. (1993), “Report of the NOAA Panel on
Contingent Valuation,” Federal Register, 58, 10, 4601–4614 at p. 4613.
125
    Cawley, J. (2008), “Contingent Valuation Analysis of Willingness to Pay to Reduce Childhood Obesity,”
Economics & Human Biology, 6, 2, 281–292 at p. 287.


                                                                                                   Page 32
would or would not purchase the ACANA Duck and Pear Singles or the ORIJEN Six Fish
product they saw in the Diminution in Value Survey. Again, this indicates that Dr.
Krosnick’s Diminution in Value Survey data are unreliable.
                                                  Table 5
                   Sensitivities Analysis on Dr. Krosnick’s Diminution in Value Survey
           Ordinary Least Squares Regression with the Inclusion of Price and Income Variables126

                                                                          Dr. Krosnick's         Dr. Krosnick's
                                                    Dr. Krosnick's       Specification Plus    Specification Plus
                     Variable                       Specification          Price Control        Income Control
 Number of Alleged Corrective Statements
   Coefficient                                          -0.017                  -0.017                -0.017
   p-value                                               0.000                   0.000                 0.001
 Price
   Coefficient                                                                  -0.001
   p-value                                                                       0.606
 Income
    Coefficient                                                                                       -0.006
    p-value                                                                                            0.431
 R-squared                                               0.083                  0.083                  0.080

 Source: Krosnick Backup Materials


74.       In conclusion, the simple fact that respondents ignored the prices they saw in the
Diminution in Value Survey when indicating their purchase intention suggests that Dr.
Krosnick’s analysis cannot be used to reliably calculate even an average willingness-to-pay
measure for At-Issue Products with and without the Alleged Corrective Statements, and
certainly cannot measure a change in market price for the At-Issue Products that can be
linked to Plaintiff’s theory of damages.

              C. Dr. Krosnick’s Alleged Corrective Statements Are Vague, Lacking
                 Context, and Leading, Rendering the Diminution in Value Survey
                 Responses Susceptible to a Host of Cognitive Biases


75.       In addition to the fatal issues I have discussed so far, there are two fundamental
problems with the design of the Alleged Corrective Statements that Dr. Krosnick uses in his
Diminution in Value Survey: (1) the contents and wording of these Alleged Corrective
Statements are vague, lacking the proper context, and likely to generate cognitive biases, and


126
   I performed the sensitivity analysis using price as a control variable by including the variable “price” (results
hold when including the variable “price_cond” instead of the variable “price”); note that the results also hold
without the variable for the “Number of Alleged Corrective Statements” and without any of Dr. Krosnick’s
controls. I performed the sensitivity analysis using income as a control variable by including the discrete
variable for income brackets that can take the values of 1, 2, 3 or 4 and is generated using the variables “inc_1,”
“inc_2,” and “inc_3” (results hold without including the control variables used by Dr. Krosnick’s and when
using separate dummy variables for each income bracket).


                                                                                                               Page 33
(2) the manner in which Dr. Krosnick’s Alleged Corrective Statements are presented to
respondents is likely to generate multiple cognitive biases for the Diminution in Value
Survey respondents, resulting in unreliable responses.

                 1.       Dr. Krosnick’s Alleged Corrective Statements Contain Vague
                          Language, Do Not Provide Proper Context, and Are Leading

                          a)       Dr. Krosnick’s Alleged Corrective Statements Contain
                                   Vague Language

76.     As indicated by the academic literature, vague wording that is open to interpretation
in survey questionnaires may result in unreliable responses.127 Dr. Krosnick himself writes
that, when designing surveys, it is best practice to “select words that have only one meaning,”
noting that respondents can easily misinterpret what is being asked of them.128
77.     Dr. Krosnick’s Alleged Corrective Statements are vague because they do not provide
information about the alleged level of heavy metals or BPA in the dog food that respondents
see and also do not give any indication of the likelihood that heavy metals or BPA is
present.129 Dr. Krosnick’s Alleged Corrective Statements state that the dog food “may
contain” heavy metals or BPA.130
78.     Absent information about the level of heavy metals and BPA and the likelihood that
they are present at all, the respondent is left to assume the missing information and answer
questions accordingly. There is no reason to believe that all or most respondents made
assumptions that are consistent with the actual likelihood of the presence of heavy metals and
BPA in the dog food and the actual or the alleged level of heavy metals and BPA contained in
dog food, if it was present at all. This is critical, because the specific level of heavy metals
and BPA contained in the dog food (whether alleged or actual) could impact a consumer’s
perception of the quality and healthiness of the dog food and the likelihood a consumer
would want to purchase it. For example, trace or undetectable amounts of heavy metals and
BPA may have little or no impact on a consumer’s perception of the quality or healthiness of
the product, and a high likelihood of the presence of heavy metals and BPA could elicit a


127
    Diamond (2011), p. 388; Orme, B. K. (2014), Getting Started with Conjoint Analysis: Strategies for Product
Design and Pricing Research, Manhattan Beach, CA: Research Publishers, p. 54.
128
    Krosnick, J. A., D. L. Vannette, eds. (2018), “Questionnaire Design” in The Palgrave Handbook of Survey
Research, Cham, Switzerland: Springer Nature, 439–455 at p. 452.
129
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 10 and Appendix B, pp. 198–199.
130
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 10 and Appendix B, pp. 198–199.



                                                                                                       Page 34
different response than a very low likelihood of the presence of heavy metals and BPA.131 Dr.
Krosnick’s Diminution in Value Survey leaves it up to the individual respondent to determine
a level and likelihood of heavy metals and BPA in the dog food they saw and to make an
assessment of the quality and healthiness of the product and purchase choice based on this
determination. Given this setting, it is not possible to know exactly what each respondent is
reacting to.
                          b)      Dr. Krosnick’s Alleged Corrective Statements Do Not
                                  Provide Proper Context

79.     Dr. Krosnick’s Alleged Corrective Statements do not provide context that would help
respondents interpret the statements, such as the levels at which the heavy metals and BPA
are indeed harmful, the levels that occur naturally in the environment, and the levels present
in other pet food products and At-Issue Products; the amount of fresh ingredients in other pet
food products and At-Issue Products; or information about sourcing of ingredients and
outsourcing to third parties by other pet food manufacturers and Champion.
80.     For example, the following information is posted on Champion’s website:

        Heavy metals are naturally occurring in the environment and as a result are
        present in many pet and human foods. In our foods with higher meat content,
        these naturally occurring metals are still well within acceptable regulatory
        limits. We are 100% confident that Champion’s foods are safe.132

        BPA is ubiquitous in the environment. No BPA chemicals are added to
        Champion foods or packaging materials. All Champion packaging is in full
        compliance with the CFIA in Canada, FDA in the USA and applicable
        packaging food additive regulations. The trace levels of BPA alleged by the
        Plaintiffs would not cause harm to pets.133


None of this information and context is provided in Dr. Krosnick’s relevant Alleged
Corrective Statements.

81.     I understand that Champion’s expert in a related matter, Dr. Robert H. Poppenga
(“Dr. Poppenga”), reviewed and evaluated “the testing methodology and results associated

131
    For example, a given respondent could interpret the phrase “may contain” as a fifty percent chance that
heavy metals and BPA would be present in the dog food while another could interpret it as less than a one
percent chance.
132
    “Frequently Asked Questions,” Champion Petfoods, https://www.championpetfoodsfacts.com/class-action-
faqs/.
133
    “Frequently Asked Questions,” Champion Petfoods, https://www.championpetfoodsfacts.com/class-action-
faqs/.



                                                                                                     Page 35
with an analysis of Champion’s ACANA and ORIJEN pet foods included in Champion’s
May 2017 White Paper on Heavy Metals and Pet Food as well as Champion’s heavy metals
testing conducted in the regular course of business,” and “the testing methodology and results
associated with Plaintiff’s BPA levels” as alleged in the Complaint.134 I understand that Dr.
Poppenga also reviewed “scientific, peer-reviewed literature related to metals in pet foods
and the occurrence of adverse health effects in humans and animals from BPA and metals of
concern (arsenic, cadmium, lead and mercury)” and “regulations and standards for the
ingestion of BPA and heavy metals.135 Based on his findings, Dr. Poppenga concluded that
“[h]eavy metals occur in nature and the environment and are often found in pet food at safe
levels;” and that “the levels of naturally occurring heavy metals in ACANA and ORIJEN dog
food diets do not present a health risk to dogs.”136 Plaintiff’s expert witness in a related
matter, Dr. Sean P. Callan, who provided analytical testing results previously reported on
certain Champion products, similarly testified that heavy metals are present in almost all dry
dog food products.137 Dr. Poppenga also concluded that “BPA is a commonly used, high
volume substance that is ubiquitous in the environment and in human and pet foods,” and that
“the levels of BPA as alleged by Plaintiffs and as reflected in Plaintiffs’ test reports in
ACANA and ORIJEN dog food diets do not present a health risk to dogs.”138 Conveying this
type of information and context in the Alleged Corrective Statements may have produced
different results.
82.     Furthermore, the content of the remaining three Alleged Corrective Statements—“the
food… may include ingredients that are delivered to them fresh but have been frozen before
they are used to make the dog food,” “the food … may include ingredients that are sourced
outside the region where it is manufactured,” and “the manufacturer … uses third parties to
process and manufacture protein meals and tallows used in dog foods”139—are vague and
again lack proper context. To the extent that other manufacturers of dog food products use
frozen ingredients or ingredients that are sourced outside the region of manufacture, and
outsource the processing of some ingredients, these statements are not specific to Champion

134
    Expert Report of Dr. Robert H. Poppenga, DVM, Ph.D., DABVT, Jennifer Reitman and Carol Shoaff v.
Champion Petfoods USA, Inc. and Champion Petfoods LP, United States District Court for the Central District
of California, Western Division, Case No. 2:18-cv-01736-DOC-JPR, April 8, 2019 (“Poppenga Report”), p. 2.
135
    Poppenga Report, p. 2.
136
    Poppenga Report, p. 21.
137
    Deposition of Dr. Sean P. Callan, May 9, 2019 (“Callan Deposition”), pp. 54:16–55:3.
138
    Poppenga Report, pp. 21–22.
139
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 10.



                                                                                                     Page 36
and apply to other pet food manufacturers and their products. These Alleged Corrective
Statements therefore cause bias because they present this information only for Champion
products and not for any other brand of pet food products.
83.      The content of the Alleged Corrective Statements was provided to Dr. Krosnick by
Plaintiff’s counsel.140 Because neither Plaintiff nor Dr. Krosnick provided the backup to
quotes from government agencies or other organizations that were used in the Alleged
Corrective Statements, I conducted searches to identify the source material for these quotes.
Even though the sources I identified that contain the quotes may not be the ones that the
Plaintiff or Dr. Krosnick relied upon, the types of information I identified in these sources are
informative in demonstrating the cherry-picked and out of context nature of Dr. Krosnick’s
Alleged Corrective Statements.
84.      Specifically, I identified important information from the various agencies referenced
in Dr. Krosnick’s Alleged Corrective Statements regarding acceptable levels of each
substance and important caveats. For example, the article from the World Health
Organization (“WHO”) that I identified which contains the quote used by Dr. Krosnick in his
Alleged Corrective Statement about mercury includes the following statements:

         Mercury exists in various forms: elemental (or metallic) and inorganic (to
         which people may be exposed through their occupation); and organic (e.g.,
         methylmercury, to which people may be exposed through their diet). These
         forms of mercury differ in their degree of toxicity and in their effects on the
         nervous, digestive and immune systems, and on lungs, kidneys, skin and eyes.

         All humans are exposed to some level of mercury. Most people are exposed
         to low levels of mercury, often through chronic exposure (continuous or
         intermittent long term contact).

         Factors that determine whether health effects occur and their severity include:
         the type of mercury concerned; the dose; the age or developmental stage of the
         person exposed (the fetus is most susceptible); the duration of exposure; the
         route of exposure (inhalation, ingestion or dermal contact).141




140
    According to Dr. Krosnick, each of the Alleged Corrective Statements is “a statement provided by Plaintiff’s
attorneys to correct alleged misinformation on the Champion packaging.” See Krosnick Report Part 1,
Technical Report Survey Methods and Results, ¶ 10.
141
    “Mercury and Health,” World Health Organization, March 31, 2017, https://www.who.int/news-room/fact-
sheets/detail/mercury-and-health.



                                                                                                         Page 37
Dr. Krosnick’s Alleged Corrective Statement regarding the alleged presence of mercury in
the At-Issue Products fails to include information that qualifies the levels of mercury that are
dangerous and the information that all humans are exposed to some level of mercury “often
through chronic exposure,” like this article does.142

85.      Similarly, a publication about cadmium I identified that contains the quote in Dr.
Krosnick’s Alleged Corrective Statement on the alleged presence of cadmium notes that there
are “not-to-exceed” levels, which are levels in air, water, soil, or food above which there may
be effects for humans and animals.143 Further, the article that contains the information in Dr.
Krosnick’s Alleged Corrective Statement on the alleged presence of lead notes that “[l]ead
occurs in foods because of its presence in the environment.”144 It also explains that “the
Centers for Disease Control and Prevention (CDC) recommends that doctors begin
monitoring children who have a blood lead level measured as 5 micrograms per deciliter
(µg/dL).”145
86.      Overall, Dr. Krosnick’s Alleged Corrective Statements contain cherry-picked
statements without any attempt at providing proper context. Without providing such context
for whether the amounts of the heavy metals and BPA that may be present in the At-Issue
Products would be harmful either through discrete or cumulative consumption, Dr. Krosnick
is simply raising one red flag after another about the products he is showing his respondents
just before he asks whether they would buy these products.
                           c)       Dr. Krosnick’s Alleged Corrective Statements Are Leading

87.      An important aspect of any survey design is that the survey elements—such as
questions, answers, prompts and instructions—are not leading. As Diamond (2011) explains:




142
    Dr. Krosnick testified in his deposition that he had seen this paper from the World Health Organization and
that he was “aware of the fact that the statement is a correct summary of what the World Health Organization
says.” Krosnick May 8, 2019 Deposition, p. 21:7–21. It is clear that Dr. Krosnick’s Alleged Corrective
Statement regarding presence of mercury does not provide a “correct summary,” as he claims.
143
    “Toxicological Profile for Cadmium,” U.S. Department of Health and Human Services, September 2012.
144
    “Lead in Food, Foodwares, and Dietary Supplements,” U.S. Food & Drug Administration, February 19,
2019, https://www fda.gov/food/metals/lead-food-foodwares-and-dietary-supplements.
145
    “Lead in Food, Foodwares, and Dietary Supplements,” U.S. Food & Drug Administration, February 19,
2019, https://www fda.gov/food/metals/lead-food-foodwares-and-dietary-supplements.



                                                                                                         Page 38
         [T]he wording of a question … can be leading or non-leading, and the degree
         of suggestiveness of each question must be considered in evaluating the
         objectivity of a survey.146


Similarly, the Manual for Complex Litigation states that:

         [I]n assessing the validity of a survey, the judge should take into account the
         following factors: whether the questions asked were … not leading.147


88.      In the case of Dr. Krosnick’s Diminution in Value Survey, the contents of his Alleged
Corrective Statements are framed in ways that can result in cognitive biases. Dr. Krosnick’s
Alleged Corrective Statements, which are provided to respondents just prior to the question
about their product purchase intent, emphasize (repeatedly, depending on the number of
statements a given respondent is assigned to see) negative product characteristics.
89.      For example, Dr. Krosnick informs Diminution in Value Survey respondents that
laboratory testing has shown that there is a risk the food they just saw contains something that
is “toxic,” “poisonous,” something that can result in “nerve or brain damage,” or something
that is described as “an industrial chemical.”148 This design is likely to bias respondents
towards focusing on these negative characteristics more than they would in a real-world
purchasing environment. Research shows, in fact, that negative traits often make a stronger
impact on people than positive traits.149 Negative information is also more influential in
forming opinions, and negative opinions are quicker to form and are harder to change than
positive ones.150 This is a well-established cognitive bias known as “negativity bias” in the
academic literature.151 Dr. Krosnick’s emphasis on these negative characteristics creates a
negativity bias.


146
    Diamond (2011), p. 393.
147
    Marcus, S., et al., eds. (2004), Manual for Complex Litigation, Washington, D.C.: Federal Judicial Center, p.
103.
148
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 10, Appendix B, pp. 198–199.
149
    Baumeister, R. F., et al. (2001), “Bad Is Stronger Than Good,” Review of General Psychology, 5, 4, 323–370.
150
    See, e.g., Anderson, N. H. (1965), “Averaging Versus Adding as a Stimulus-Combination Rule in Impression
Formation,” Journal of Experimental Psychology, 70, 4, 394–400; Skowronski, J. J. and D. E. Carlston (1989),
“Negativity and Extremity Biases in Impression Formation: A Review of Explanations,” Psychological Bulletin,
105, 1, 131–142; Baumeister, R. F., et al. (2001), “Bad Is Stronger Than Good,” Review of General Psychology,
5, 4, 323–370, at p. 323 (“Taken together, these findings suggest that bad is stronger than good, as a general
principle across a broad range of psychological phenomena.”) Other research streams have also supported the
idea of greater weighting of negative information, e.g., the Prospect Theory notion that “losses loom larger than
gains.” See Kahneman, D. and A. Tversky (1979), “Prospect Theory: An Analysis of Decision Under Risk,”
Econometrica, 47, 2, 263–292.
151
    Baumeister, R. F., et al. “Bad Is Stronger Than Good,” Review of General Psychology, 5, 4, 323–370.



                                                                                                         Page 39
90.     The issues that arise from vague and unclear language, lack of context, and leading
questions are particularly problematic in circumstances where respondents are unfamiliar
with the products they are being asked about. For example, academic research has found
that:

        It is particularly important that subjects have familiarity with the products and
        features they are being asked to evaluate.… [I]n cases where preferences are
        not well formed in advance, subjects will be particularly vulnerable to
        manipulation, and training that embodies manipulation that is not realistic
        risks inducing stated responses that are not predictive for real market
        behavior.152


As described above in Section V.B.3, the vast majority of Dr. Krosnick’s respondents were
not familiar with, or at least had never bought, ACANA or ORIJEN dog food. Thus the vague
and leading corrective statements could easily result in responses that are not consistent with
actual market behavior.
91.     Finally, it should be noted that Dr. Krosnick testified that the veracity of the
information in his Alleged Corrective Statements has no bearing on the validity of his
estimates.153 This suggests that Dr. Krosnick’s results are not sensitive to the ability of his
Alleged Corrective Statements to in fact correct or remedy the alleged misrepresentations and
omissions. In other words, the accuracy of the information given to the respondents does not
matter; the alleged decline in “value” Dr. Krosnick finds happens regardless of the content of
the provided information. If the Alleged Corrective Statements do not accurately describe the
likelihood of presence of heavy metals and BPA and the levels (if any) contained in relevant
Champion products, then they are disconnected from the allegations in this matter. This is yet
another example of the unreliability of Dr. Krosnick’s results.

                 2.       Dr. Krosnick’s Presentation of the Alleged Corrective Statements
                          Is Leading and Susceptible to Demand Artifacts


92.     In addition to issues relating to the language of Dr. Krosnick’s Alleged Corrective
Statements as described above, the manner in which Dr. Krosnick presents his Alleged
Corrective Statements is likely to lead respondents to overweight the claims made in these


152
    Ben-Akiva, M., D. et al. (2018), “Foundations of Stated Preference Elicitation: Consumer Behavior and
Choice-Based Conjoint Analysis,” Foundations and Trends in Econometrics, 10, 2, 1–124, at pp. 25–27.
153
    Krosnick May 8, 2019 Deposition, p. 22:14–16.


                                                                                                       Page 40
statements and to unduly influence respondents’ purchase choices regarding the dog food
they saw.
93.      Dr. Krosnick’s presentation of the Alleged Corrective Statements, in isolation and
right before they answer questions about the products they saw, differs substantially from his
presentation of other information and likely causes respondents to place heightened focus on
these statements. It is well documented in the academic literature that the manner in which
content is shown to respondents can lead to “focusing illusion bias” or “focalism,” which
occurs when respondents’ attention is drawn to a particular piece of information.154 Focalism
is widely known to result in biased survey responses.155
94.      Rather than including the Alleged Corrective Statements in a setting where a
consumer would normally receive product information (e.g., on the package), the Alleged
Corrective Statements are emphasized by being shown in isolation and separately from the
product packaging information in Dr. Krosnick’s Diminution in Value Survey. Specifically,
after spending time reviewing information on product packaging, but before seeing the
Alleged Corrective Statements, Dr. Krosnick’s Diminution in Value Survey respondents were
provided with the following instruction:

         NEXT, YOU WILL READ SOME INFORMATION ABOUT THE DOG
         FOOD THAT IS NOT ON THE PACKAGE.156


These instructions differ significantly from the instructions shown to respondents before
reviewing statements from the Champion packaging, which reads as follows (and are not in
boldface font and are not printed in all upper case):

         On the next few screens, you will see the words that are printed on the front of
         the bag you just saw. Please read the words on each screen and then go on to
         the next screen.157


Respondents then see the Alleged Corrective Statement they are assigned to, and only after
that are they posed the questions about whether they would purchase the product and

154
    Schkade, D. A. and D. Kahneman (1998), “Does Living in California Make People Happy? A Focusing
Illusion in Judgments of Life Satisfaction,” Psychological Science, 9, 5, 340–346; Kahneman, D., et al. (2006),
“Would You Be Happier If You Were Richer? A Focusing Illusion,” Science, 312, 5782, 1908–1910.
155
    Huber, J. (1997), “What We Have Learned from 20 Years of Conjoint Research: When to Use Self-
Explicated, Graded Pairs, Full Profiles or Choice Experiments,” Sawtooth Software Research Paper Series, 1–
15 at p. 2.
156
    Krosnick Report Part 1, Appendix B, p. 249. Emphasis in original.
157
    Krosnick Report Part 1, Appendix B, p. 225.


                                                                                                        Page 41
questions regarding the healthiness and quality of the product they saw. This heightened
emphasis on the Alleged Corrective Statements due to how the information is presented in
isolation is what makes results generated by Dr. Krosnick’s Diminution in Value Survey
susceptible to focalism bias.
95.      Furthermore, Dr. Krosnick displayed each Alleged Corrective Statement as the sole
piece of content on the page. This is again in contrast to how respondents viewed the other
statements that were present on Champion product packaging. The pages that respondents
saw with text from Champion packaging contained numerous distinct statements and up to
296 words, far more than the longest Alleged Corrective Statement, which contained only a
maximum of 60 words.158
96.      The manner in which the Alleged Corrective Statements are presented and the
negative and leading nature of the language used in these statements makes it difficult for Dr.
Krosnick to disguise the purpose of his survey from his respondents and renders Dr.
Krosnick’s survey susceptible to demand artifacts—a well-established finding in academic
literature that describes the phenomenon where survey respondents provide what they
perceive to be the “correct” answers for the investigator, rather than answers that represent
their true opinions.159 Demand artifacts have been shown in the academic literature to
generate biased results.160
97.      Additionally, the way Dr. Krosnick’s Diminution in Value Survey presents the
Alleged Corrective Statements is so divorced from the real world that they cannot be used to
estimate or predict actual purchasing behavior or consumer preferences. An important tenet
of designing surveys measuring purchase preference is mimicking, as much as possible, the
real market experience.161 As Simonson and Kivetz (2012) explain,




158
    Krosnick Report Part 1, Appendix B.
159
    “[T]he survey instrument should provide no explicit or implicit clues about the sponsorship of the survey or
the expected responses.” Diamond (2011), p. 411.
160
    See Simonson, I. and R. Kivetz (2012), “Demand Effects in Likelihood of Confusion Surveys: The
Importance of Marketplace Conditions,” in Trademark and Deceptive Advertising Surveys, S. Diamond and J.
Swann, eds., Chicago, IL: ABA Publishing, 243–259 at pp. 243–244. (“Demand effects (also referred to as
demand artifacts) are produced when respondents use cues provided by the survey procedures and questions to
figure out the purpose of the survey and to identify the ‘correct’ answers to the questions they are asked. The
respondents may then provide what they perceive as the correct or expected answers, to make sure that the
results ‘come out right.’… [S]evere demand effects can be particularly problematic when the survey design and
related questions (a) suggest the correct answer and/or (b) cause respondents to make comparisons or consider
relations or other aspects”).
161
    Rao, V. R. (2014), Applied Conjoint Analysis, New York, NY: Springer, p. 45.



                                                                                                         Page 42
         [A] stimuli presentation that looks “normal” and might be expected given the
         characteristics of the marketplace and the products at issue is less likely to
         generate unrepresentative conjectures, unusual interpretations, suspicions, or
         other responses relating to an artificial survey context.162


98.      The presentation of Dr. Krosnick’s Alleged Corrective Statements does not simulate a
real world decision-making process. Displaying the packaging of a single brand and diet of
dog food and asking respondents whether or not they would purchase the food, without
providing information about other competing products that are available and their features
and prices does not replicate the real-world purchase decision-making process. As Dr.
Krosnick acknowledges, there are more than seventy packages of At-Issue Products.163
                                               *        *        *
99.      Collectively, the various survey instrument design issues that I identified in Dr.
Krosnick’s Diminution in Value Survey are likely to lead respondents to say that they would
not purchase the dog food product they saw. These issues render the results of the
Diminution in Value Survey biased and unreliable.

            D. Dr. Krosnick Did Not Pre-Test His Diminution in Value Survey
               Instrument or Use Standard Measures to Ensure Data Integrity


100.     Dr. Krosnick did not pre-test his Diminution in Value Survey, despite the fact that he
advocates for pre-tests in his academic writings, stating that “[n]o matter how closely a
questionnaire follows recommendations based on best practices, it is likely to benefit from
pretesting: a formal evaluation carried out before the main survey.”164 He has also conducted



162
    Simonson, I. and R. Kivetz (2012), “Demand Effects in Likelihood of Confusion Surveys: The Importance of
Marketplace Conditions,” in Trademark and Deceptive Advertising Surveys, S. Diamond and J. Swann, eds.,
Chicago, IL: ABA Publishing, 243–259 at p. 250. See also Edwards, G. K. (2012), “The Daubert Revolution
and Lanham Act Surveys,” in Trademark and Deceptive Advertising Surveys, S. Diamond and J. Swann, eds.,
Chicago, IL: ABA Publishing, 329–362 at pp. 346–348.
163
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶¶ 3–4.
164
    Krosnick May 8, 2019 Deposition, pp. 51:11–21; 83:15–18; Krosnick, J. A., and S. Presser (2010), “Question
and Questionnaire Design,” in Handbook of Survey Research, J.D. Wright and P.V. Marsden, eds., West
Yorkshire, England: Emerald Group Publishing Limited, p. 52. The lack of a pre-test of the survey
questionnaire demonstrates another example of Dr. Krosnick’s failure to follow well-established survey best
practices. See Diamond (2011), pp. 388–389. Dr. Krosnick’s inability to identify potential confusion among his
respondents, due to his lack of a pre-test, applies not only to the Alleged Corrective Statements but also to many
of the other questions in his survey. For example, Dr. Krosnick’s Diminution in Value Survey informed
respondents whether the product they saw was “Acana Duck and Pear Singles” or “Orijen Six Fish” and then
asked respondents “Did you ever buy that type of dog food, or did you never buy it?” See Krosnick Report Part
1, Appendix B, p. 255. It seems very likely that many respondents interpreted the word “type” in the question to
mean dog food with fish or duck and not specifically ORIJEN or ACANA. This question is particularly
important as it identifies Champion purchasers and putative class members within Dr. Krosnick’s sample. It is



                                                                                                          Page 43
pre-tests for surveys he has conducted for other litigation matters.165 It is not clear why he did
not pre-test his Diminution in Value Survey. Because Dr. Krosnick did not conduct a pre-
test—by asking probing questions to a small group of respondents about whether they
understood or had any difficulty with the instructions, questions, and answer choices in the
survey—he has no ability to evaluate potential difficulties that respondents might have
experienced when responding to questions.166 Nor does he know whether respondents
interpreted instructions, questions, and answer choices in a consistent manner or in the way
Dr. Krosnick intended his respondents to interpret them.
101.    Additionally, Dr. Krosnick’s Diminution in Value Survey is extremely lengthy and
imposes substantial cognitive demands on respondents by asking them to review numerous
images and slides of text in addition to answering pages of questions. There is a large body
of literature, to which Dr. Krosnick has contributed, focused on the tendency of survey
participants to use shortcuts and provide less accurate responses when surveys are demanding
or lengthy.167 As Dr. Krosnick himself noted, survey “[r]espondents are likely to satisfy
whatever desires motivate them to participate just a short way into” a survey and then begin
“to compromise their standards and expend less energy.”168 Dr. Krosnick has written
extensively on how respondents shift response strategies and engage in satisficing.169 When
respondents engage in satisficing, they do not provide high-quality responses and are more
susceptible to cognitive biases, all of which leads to unreliable results.170




not possible to reliably determine the number of purchasers of Champion products or putative class members
among Dr. Krosnick’s survey respondents due to imprecision in the wording of this question.
165
    See, e.g., Report of Dr. Jon A. Krosnick, Martin Schneider, Sarah Deigert, Laurie Reese, Theresa Gamage,
Tiffanie Zangwill, and Nadia Parikka v. Chipotle Mexican Grill, Inc., a Delaware Corporation, United States
District Court Northern District of California, Case No. 16-cv-02200, August 11, 2017, ¶¶ 25, 47, 58.
166
    Diamond (2011), pp. 388–389; Krosnick, J. A., and S. Presser (2010), “Question and Questionnaire Design,”
in Handbook of Survey Research, J.D. Wright and P.V. Marsden, eds., West Yorkshire, England: Emerald
Group Publishing Limited, 263–313, at p. 294.
167
    Krosnick, J. A. (1991), “Response Strategies for Coping with the Cognitive Demands of Attitude Measures
in Surveys,” Applied Cognitive Psychology, 5, 3, 213–236 at pp. 214–215.
168
    Krosnick, J. A. (1991), “Response Strategies for Coping with the Cognitive Demands of Attitude Measures
in Surveys,” Applied Cognitive Psychology, 5, 3, 213–236 at pp. 214–215.
169
    Krosnick, J. A. (1991), “Response Strategies for Coping with the Cognitive Demands of Attitude Measures
in Surveys,” Applied Cognitive Psychology, 5, 3, 213–236 at pp. 214–215; Krosnick, J. A. and S. Presser (2010),
“Question and Questionnaire Design,” in Handbook of Survey Research, J. D. Wright and P. V. Marsden eds.,
West Yorkshire, England: Emerald Group Publishing Limited, 263–313 at pp. 265–266; Krosnick, J. A. (1999),
“Survey Research,” Annual Review of Psychology, 50, 537–567 at pp. 547–549.
170
    Krosnick, J. A. (1991), “Response Strategies for Coping with the Cognitive Demands of Attitude Measures
in Surveys,” Applied Cognitive Psychology, 5, 3, 213–236 at pp. 214–220; Krosnick, J. A. and S. Presser (2010),
“Question and Questionnaire Design,” in Handbook of Survey Research, J. D. Wright and P. V. Marsden eds.,
West Yorkshire, England: Emerald Group Publishing Limited, 263–313 at pp. 265–266.



                                                                                                       Page 44
102.    Respondents in Dr. Krosnick’s Diminution in Value Survey were asked to review 10
images of Champion packaging and 10 pages of text, including over 125 phrases and over
1,900 words – all before even beginning to answer any questions about Champion
products.171 Academic literature, including Dr. Krosnick’s own research, has found that
respondents engage in satisficing after just the first set of questions.172 Dr. Krosnick also
notes that respondents are likely to satisfice when they become “fatigued, disinterested, or
distracted,” all of which are like to occur given the design, length, and content of Dr.
Krosnick’s survey.173
103.    Furthermore, despite the considerable length and complexity of his Diminution in
Value Survey, Dr. Krosnick did not include any attention check questions. An attention
check question “measures whether or not participants are reading the instructions, [and] …
consists of a question embedded within the experimental materials that is similar to the other
questions in length and response format [but] … asks participants to ignore the standard
response format and instead provide a confirmation that they have read the instruction.”174
Any respondent who did not follow this instruction would be excluded from subsequent
analysis because their responses would be unreliable. This is a basic survey quality control
mechanism and one that is especially important with online samples such as Dr.
Krosnick’s.175
104.    Dr. Krosnick also allowed respondents to complete his Diminution in Value Survey
using mobile devices (rather than requiring they only use computers or laptops to be able to




171
    Krosnick Report Part 1, Appendix B.
172
    Krosnick, J. A. and S. Presser (2010), “Question and Questionnaire Design,” in Handbook of Survey
Research, J. D. Wright and P. V. Marsden eds., West Yorkshire, England: Emerald Group Publishing Limited,
263–313 at pp. 265–266.
173
    Krosnick, J. A. and S. Presser (2010), “Question and Questionnaire Design,” in Handbook of Survey
Research, J. D. Wright and P. V. Marsden eds., West Yorkshire, England: Emerald Group Publishing Limited,
263–313 at pp. 265–266. Indeed, Dr. Krosnick’s Diminution in Value Survey respondents took 22.1 minutes to
complete the survey on average, with a median completion time of 15.9 minutes. Further, 25 percent of Dr.
Krosnick’s sample finished the survey in under 11.3 minutes and 10 percent finished in under 7.8 minutes.
These fast survey completion times suggest that at least some of Dr. Krosnick’s respondents may have been
engaged in “satisficing.” Even though each respondent was not asked all of the questions in the questionnaire,
these survey response times are still remarkably fast.
174
    Oppenheimer, D. M. et al. (2009), “Instructional Manipulation Checks: Detecting Satisficing to Increase
Statistical Power,” Journal of Experimental Social Psychology, 45, 4, 867–872 at p. 867. An example of an
attention check question is: “People vary in the amount they pay attention these kinds of surveys. Some take
them seriously and read each question whereas others go very quickly and barely read the questions at all. If
you have read this question carefully, please type the word ‘yes’ in the Other (please specify) box below.”
175
    Berinsky, A. J., et al. (2014), “Separating The Shirkers From The Workers? Making Sure Respondents Pay
Attention on Self-Administered Surveys,” American Journal of Political Science, 58, 3, 739–753.



                                                                                                       Page 45
participate in the survey).176 As Dr. Krosnick’s Diminution in Value Survey requires that
respondents review images and large amounts of text, these tasks are likely made more
difficult by a smaller screen. Surprisingly, Dr. Krosnick testified that he was not even aware
of how many respondents took the Diminution in Value Survey on a mobile device, when, in
fact, 53 percent of his respondents completed the Diminution in Value Survey using a mobile
device.177
105.    According to Struminskaya et al. (2015):

        Using a mobile device for survey completion can be a difficult task due to
        technical reasons such as a small screen, a touchscreen, as well as situational
        characteristics if respondents are outside of home.178


Further, the authors find that respondents using mobile devices are more likely than PC or
laptop users to be distracted, to provide inaccurate answers, and to skip questions.179 Finally,
respondents using mobile devices are more likely to exhibit satisficing behavior.180
106.    Oddly, some respondents were able to take Dr. Krosnick’s Diminution in Value
Survey not once but twice.181 This calls into question the quality assurance practices of Dr.
Krosnick’s consumer panel data vendor. When Dr. Krosnick finds out about this problem,
instead of excluding all of these respondents from his data, he inappropriately leaves them in
his Diminution in Value Survey sample and uses the “data from the person’s first time
completing of [sic] the questionnaire” in his analysis.182
107.
108.    All of this demonstrates that Dr. Krosnick did not use proper measures to ensure
integrity of survey data and strongly suggests that his Diminution in Value Survey results are
not reliable.



176
    Krosnick May 8, 2019 Deposition, p. 37:13–14.
177
    Krosnick May 8, 2019 Deposition, p. 40:23–25; Backup materials produced with this report.
178
    Struminskaya, B., K. Weyandt, and M. Bosnjak (2015), “The Effects of Questionnaire Completion Using
Mobile Devices on Data Quality. Evidence from a Probability-Based General Population Panel,” Methods,
Data, Analyses, 9, 2, 261–292 at p. 263.
179
    Struminskaya, B., K. Weyandt, and M. Bosnjak (2015), “The Effects of Questionnaire Completion Using
Mobile Devices on Data Quality. Evidence from a Probability-Based General Population Panel,” Methods,
Data, Analyses, 9, 2, 261–292 at pp. 262–263.
180
    Struminskaya, B., K. Weyandt, and M. Bosnjak (2015), “The Effects of Questionnaire Completion Using
Mobile Devices on Data Quality. Evidence from a Probability-Based General Population Panel,” Methods,
Data, Analyses, 9, 2, 261–292 at pp. 263–264.
181
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 23.
182
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 23.



                                                                                                   Page 46
            E. Dr. Krosnick Did Not Use Appropriate Methods to Analyze the
               Diminution in Value Survey Data


109.     As discussed in section V.B.2, Dr. Krosnick uses his so-called “Lewbel-Watanabe”
approach to estimate a form of average willingness-to-pay.183 Dr. Krosnick’s choice of
method for his analysis is not standard. After an extensive search, I only found the “Lewbel-
Watanabe” approach used in two studies. One study is published in the journal Marine
Policy and estimates average willingness-to-pay for preserving coastal infrastructure.184 Dr.
Krosnick was actually a co-author for the other study, which was for litigation around the
2010 Deepwater Horizon oil spill.185 The fact that these two articles both relate to damage to
the environment again points to the fact that this method, and contingent valuation
methodology in general, is almost always used to estimate willingness-to-pay for a non-
market good (or a good that is not traded and that does not have a market price). In fact, Dr.
Carson, an authority on contingent valuation and a co-author of Dr. Krosnick,186 has written a
user’s guide on contingent valuation in which the opening sentence of the abstract defines
contingent valuation as:

         [A] survey-based method frequently used for placing monetary values on
         environmental goods and services not bought and sold in the marketplace.187


As such, contingent valuation is not a standard method for estimating damages from
Plaintiff’s allegations as the At-Issue Products are market goods.
110.     Furthermore, Dr. Krosnick’s analyses are subject to several statistical issues.188 One
of the models used by Dr. Krosnick is an ordinary least squares regression with the purchase
decision as the outcome variable.189 The purchase decision in Dr. Krosnick’s model is a


183
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 34.
184
    Banerjee, O., et al. (2018), “Estimating Benefits of Investing in Resilience of Coastal Infrastructure in Small
Island Developing States: An Application to Barbados,” Marine Policy, 90, 78–87.
185
    Bishop, R. C., et al. (2017), “Putting a Value on Injuries to Natural Assets: The BP Oil Spill,” Science, 356,
6335, 253–254.
186
    Krosnick, J. A., et al. (2002), “The Impact of ‘No Opinion’ Response Options on Data Quality: Non-Attitude
Reduction or an Invitation to Satisfice?” Public Opinion Quarterly, 66, 3, 371–403.
187
    Carson, R. T. (2000), “Contingent Valuation: A Users Guide,” Environmental Science & Technology, 34, 8,
1413–1418.
188
    The impact of these issues is relatively small as compared to the impact of the biases and design flaws I
explain above, which render Dr. Krosnick’s Diminution in Value Survey data unusable. However, these
fundamental statistical errors call into question the integrity and validity of Dr. Krosnick’s methodologies and
analyses.
189
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 32.



                                                                                                           Page 47
binary variable—i.e., it takes on the value of “0” if a respondent indicated that they would not
purchase the dog food they saw and a value of “1” if a respondent indicated that they would
purchase the dog food they saw. Any introductory econometrics course includes a section on
binary dependent variables and the fact that ordinary least squares regression may not be
well-suited when the dependent variable is a binary variable.190 A common solution is to use
a logit or probit model.191 Dr. Krosnick ignores this basic econometric principle.
111.     Another model used by Dr. Krosnick relies on an index he creates by first converting
responses to two questions into numerical values on a 100-point scale and then averaging
across the two values to make a single “index” value, which he then uses as his dependent
variable.192 Dr. Krosnick’s creation of this index is arbitrary and incorrect in that the
variables are ordinal variables and it is not valid to simply average two different ordinal
variables to create a new variable.193 There are several correct ways of modelling these
variables, one of which is to run separate regressions for each variable using an ordered logit
or ordered probit model.194
112.     Lastly, Dr. Krosnick’s controls are arbitrary. In particular, Dr. Krosnick uses two
index variables that he made by combining eleven different questions from his survey.195 Dr.
Krosnick stated that variables were selected because they “manifested statistically significant
relations with the purchasing decision in theoretically expected directions.”196 Furthermore,
he claims that these eleven variables were then divided into two index variables based on a
principal component factor analysis.197 The statistical software code that were provided to me
by Dr. Krosnick and his team did not contain any of these analyses.198 As such, Dr.
Krosnick’s principal component factor analysis is unsupported and cannot be replicated.



190
    Stock, J. H. and M. W. Watson (2007), Introduction to Econometrics, Boston, MA: Addison-Wesley, at p.
391.
191
    Stock, J. H. and M. W. Watson (2007), Introduction to Econometrics, Boston, MA: Addison-Wesley, at p.
391.
192
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶¶ 38–40.
193
    Jamieson, S. (2004), “Likert Scales: How to (Ab)use Them,” Medical Education, 38, 12, 1217–1218. An
ordinal variable is one where the ordering of the values conveys information but the magnitude of the values
does not. An interval variable is similar to an ordinal variable, with the exception that the difference between
values is meaningful and consistent across intervals. See Woolridge, J. M. (2009), Introductory Econometrics:
A Modern Approach, Mason, OH: South-Western Cengage Learning, pp. 235–238, 843.
194
    Stock, J. H. and M. W. Watson (2007), Introduction to Econometrics, Boston, MA: Addison Wesley, at p.
423.
195
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶¶ 27–31.
196
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 27.
197
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶¶ 27–31.
198
    See Krosnick Backup Materials.



                                                                                                         Page 48
VI.     Dr. Krosnick’s Pentobarbital Survey Is Irrelevant to Plaintiff’s Damages Claims
        and Suffers from Multiple Flaws and Errors That Render Its Results Unreliable

                      A. Dr. Krosnick’s Pentobarbital Survey


113.    Dr. Krosnick states that he designed his Pentobarbital Survey to evaluate how
“learning about the risk of the possible presence of a non-natural substance (pentobarbital)
impact[s] consumers’ perceptions of the quality and healthiness of the dog foods.”199 The
overall design of Dr. Krosnick’s Pentobarbital Survey is similar to his Diminution in Value
Survey except two important differences. First, unlike Dr. Krosnick’s Diminution in Value
Survey, his Pentobarbital Survey does not include any questions about whether or not the
respondent would be willing to purchase the dog food, and there is no price information given
to respondents. Second, unlike Dr. Krosnick’s Diminution in Value Survey, Dr. Krosnick’s
Pentobarbital Survey contains a proper control group.
114.    In his Pentobarbital Survey, Dr. Krosnick first showed each respondent images and
text from all sides of the packaging of either ORIJEN Regional Red, ACANA Appalachian
Ranch, or ACANA Heritage Red Meat.200 He then randomly assigned each respondent to
either read one of two messages about the alleged presence of pentobarbital in the dog food
product they saw or to receive no additional information.201
115.    Specifically, the respondents who were assigned to see the Alleged Pentobarbital
Corrective Statements were asked to read one of the following statements:

        The dog food you saw may contain a drug called pentobarbital. According to
        the U.S. government, pentobarbital is used to calm animals, to put them to
        sleep, to reduce their feelings of pain, and to end their lives.202

        According to the U.S. government, the dog food you saw was made with meat
        products provided by a company that did not make sure to keep out meat from
        animals whose lives had been ended by giving them a drug called
        pentobarbital.203




199
    Krosnick Report Part 2, ¶ 47.
200
    Krosnick Report Part 2, Technical Report Survey Methods and Results, ¶¶ 73–74.
201
    Krosnick Report Part 2, Technical Report Survey Methods and Results, ¶ 75. In other words, one third of Dr.
Krosnick’s respondents only saw packaging of the product they were shown (i.e., the control group), and two
thirds saw the product packaging and read one of the two Alleged Pentobarbital Corrective Statements.
202
    Krosnick Report Part 2, Technical Report Survey Methods and Results, ¶ 75.
203
    Krosnick Report Part 2, Technical Report Survey Methods and Results, ¶ 75.



                                                                                                       Page 49
The content of the Alleged Pentobarbital Corrective Statements was provided to Dr.
Krosnick by Plaintiff’s counsel.204

116.     Dr. Krosnick then asked each respondent to rate how they perceived the quality and
healthiness of the dog food product they saw on a five-point scale.205 Subsequently, Dr.
Krosnick asked questions regarding respondents’ previous dog ownership and dog food
purchases (including whether or not respondents had purchased ACANA or ORIJEN dog
food).206 He then asked questions “tapping respondents’ experiences owning dogs”207 as well
as two questions about whether respondents had purchased organic or non-GMO foods in the
past month.208 Dr. Krosnick used responses to these questions to create two indices, a
“Concern for dog” index, and a “Purchase of non-GMO / Organic” index, that were intended
to measure respondents’ “inclination toward devoting effort to promoting the health of their
dogs and toward promoting their own health.”209
117.     Dr. Krosnick converted respondents’ responses to the questions on quality and
healthiness to a numerical scale, and averaged these responses to create an index of
respondents’ perceptions of the quality and healthiness of the dog food they saw.210 He then
used ordinary least squares regression and included his “Concern for dog” index, his
“Purchase of non-GMO / organic” index, and demographic variables as control variables in
his regression.211
118.     Dr. Krosnick concluded based on the results of his survey that “reading either
corrective statement reduced [respondents’] evaluations of the quality and healthiness of the
dog food as compared to people who read no corrective statement.”212




204
    Krosnick Report Part 2, Technical Report Survey Methods and Results, ¶ 75.
205
    Krosnick Report Part 2, Technical Report Survey Methods and Results, ¶ 76. For quality, the scale included
excellent, good, fair, poor, and very poor. For healthiness, the scale included extremely healthy, very healthy,
moderately healthy, slightly healthy, and not healthy at all. See Krosnick Report Part 2, Technical Report
Survey Methods and Results, ¶ 91.
206
    Krosnick Report Part 2, Appendix B, pp. 541–544.
207
    Krosnick Report Part 2, Technical Report Survey Methods and Results, ¶ 85 and Appendix B, pp. 544–547.
Respondents who indicated that they had never owned a dog were not asked these questions.
208
    Krosnick Report Part 2, Appendix B, p. 548.
209
    Krosnick Report Part 2, Technical Report Survey Methods and Results, ¶¶ 85–89.
210
    Krosnick Report Part 2, Technical Report Survey Methods and Results, ¶¶ 92–93.
211
    Krosnick Report Part 2, Technical Report Survey Methods and Results, ¶ 93.
212
    Krosnick Report Part 2, Technical Report Survey Methods and Results, ¶ 94.



                                                                                                         Page 50
             B. Dr. Krosnick’s Pentobarbital Survey is Irrelevant to Estimating Damages


119.      Dr. Krosnick’s Pentobarbital Survey does not include any questions about whether or
not the respondent would be willing to purchase the dog food they saw at a specified price,
and in doing so departs from Dr. Krosnick’s Diminution in Value Survey.213 Dr. Krosnick
has no way of knowing whether respondents in his Pentobarbital Survey would purchase the
product they saw (in the absence of Alleged Pentobarbital Corrective Statements) or whether
the Alleged Pentobarbital Corrective Statements would have any impact on the respondents’
likelihood of purchasing that product.214 Relatedly, Dr. Krosnick testified in his deposition
that his Pentobarbital Survey does not provide any measure of respondents’ willingness to
pay.215
120.      Dr. Krosnick’s stated conclusion from the results of his Pentobarbital Survey is
simply about the impact of the Alleged Pentobarbital Corrective Statements on perceptions of
quality and healthiness of the relevant products.216 His survey therefore does not provide any
input for estimating alleged diminution of value in relation to Plaintiff’s pentobarbital claims;
and he, correctly, does not draw any conclusions regarding the diminution of value in
ORIJEN Regional Red, ACANA Appalachian Ranch, or ACANA Heritage Red Meat (or any
other Champion product) caused by the possible presence of pentobarbital.
121.      In sum, without having made any attempt at measuring diminution in value (if any)
due to the alleged inclusion, or risk of inclusion, of pentobarbital in ORIJEN Regional Red,
ACANA Appalachian Ranch, or ACANA Heritage Red Meat, the results of Dr. Krosnick’s
Pentobarbital Survey are irrelevant to damages estimation for any of these (or any other
Champion) products. Indeed, Plaintiff’s damages expert, Mr. Weir, does not specifically
reference Dr. Krosnick’s Pentobarbital Survey in his report and his estimate of Illegal Sales
Damages is unrelated to the Pentobarbital Survey.217 Even if Dr. Krosnick’s Pentobarbital
Survey was designed correctly—which it is not, as I discuss below—the results are irrelevant
to the estimation of damages.


213
    Krosnick Report Part 1, Technical Report Survey Methods and Results, ¶ 11.
214
    Dr. Krosnick suggests in his August 27, 2019 deposition that there may be “less interest” in purchasing the
product. However, he provides no analysis to support this and admits he has performed no quantification of
purchasing interest. Deposition of Dr. Jon A. Krosnick, August 27, 2019 (“Krosnick August 27, 2019
Deposition”), p. 21:4–16.
215
    Krosnick August 27, 2019 Deposition, pp. 8:24–9:6, 21:22–24.
216
    Krosnick Report Part 2, ¶ 80.
217
    Mr. Weir’s estimate of damages related to Plaintiff’s pentobarbital claim does not rely on Dr. Krosnick’s
Pentobarbital Survey at all. See Weir Report, Section VII.


                                                                                                          Page 51
          C.     Dr. Krosnick’s Own Survey Data Demonstrate Wide Variation in
                 Consumer Responses to the Alleged Pentobarbital Corrective Statements


122.      Absent purchasing questions, Dr. Krosnick’s Pentobarbital Survey focuses on the
impact of corrective statements on perceptions of quality and healthiness. His main results
appear in a set of two tables on page 380 of Krosnick Report Part 2. Dr. Krosnick claims that
the results in these tables “show how the two corrective statements reduced ratings of the
quality and healthiness of the products.”218 However, Dr. Krosnick’s results indicate that the
perceptions of many respondents were not greatly impacted by the Alleged Pentobarbital
Corrective Statements. This is true despite many flawed survey design choices Dr. Krosnick
made, which I describe further below, that introduce potential biases and are likely to lower
respondents’ perceptions of quality and healthiness of the products they were shown in the
survey.
123.      In particular, Dr. Krosnick’s tables show that the majority of respondents who saw an
Alleged Pentobarbital Corrective Statement still thought the dog food was of “Excellent”
quality or “Good” quality.219 Furthermore, over 45 percent of respondents who saw an
Alleged Pentobarbital Corrective Statement thought the dog food was “Extremely Healthy”
or “Very Healthy.”220 This means that even after seeing an Alleged Pentobarbital Corrective
Statement, approximately half of these respondents assessed the healthiness or quality of the
dog food they saw as the highest or second highest possible rating. These results are
inconsistent with a presumption of uniform negative impact of such statements on purchase
decisions. Even for respondents in Dr. Krosnick’s sample who did not give the product one
of the top two ratings, the survey results provide no information on purchasing behavior. For
example, respondents who rated the product they saw as “Fair” quality and “Slightly
Healthy” after seeing an Alleged Pentobarbital Corrective Statement could still have
indicated that they would purchase the product if asked.
124.      Dr. Krosnick’s tables also demonstrate a wide variation in consumer responses to the
Alleged Pentobarbital Corrective Statements, with the results of the Krosnick Pentobarbital
Survey suggesting that different members of the putative class may react differently when
exposed to the same information regarding pentobarbital.



218
    Krosnick Report Part 2, Technical Report Survey Methods and Results, ¶ 95.
219
    Krosnick Report Part 2, Technical Report Survey Methods and Results, p. 380.
220
    Krosnick Report Part 2, Technical Report Survey Methods and Results, p. 380.


                                                                                         Page 52
            D. Dr. Krosnick’s Pentobarbital Survey Suffers from Multiple Flaws and
               Errors That Render Its Results Unreliable


125.    Like Dr. Krosnick’s Diminution in Value Survey, his Pentobarbital Survey suffers
from several serious design flaws. Dr. Krosnick fails to sample from the relevant population,
uses vague and alarming language in his Alleged Pentobarbital Corrective Statements,
presents his Alleged Pentobarbital Corrective Statements in a manner that is leading and
prone to bias, fails to conduct a pre-test or employ data quality control measures such as
attention check questions, and uses non-standard statistical analyses.221

                 1.       Dr. Krosnick Did Not Survey the Relevant Population


126.    As discussed in regards to Dr. Krosnick’s Diminution in Value Survey,222 one of the
fundamental requirements in proper survey design is the identification of an appropriate
universe or population; and, just as in the Diminution in Value Survey, Dr. Krosnick’s
Pentobarbital Survey fails this “crucial” requirement. 223 The population targeted by Dr.
Krosnick, American adults age 18 and over, is inconsistent with the class definition proposed
by Plaintiff, and Dr. Krosnick provides no analysis to demonstrate that his survey
respondents and the putative class—“[a]ll persons residing in the State of Wisconsin who
purchased JBS Dog Food between January 2016 and December 2018”)” except “persons or
entities who purchased the Dog Food for business use or resale; governmental entities;
Defendants and its affiliates, subsidiaries, employees, current and former officers, director,




221
    Dr. Krosnick did not provide the data required to determine whether additional failings present in his
Diminution in Value Survey were also present in his Pentobarbital Survey such as indicators of whether a
respondent took the Pentobarbital Survey on a mobile device and whether respondents started the Pentobarbital
Survey multiple times. He also removed the demographic questions from his Pentobarbital Survey entirely,
which makes it impossible to compare his demographic responses to the demographic information provided
from the Pentobarbital Survey panel provider.
222
    See Section V.B.3.
223
    “The definition of the relevant population is crucial because there may be systematic differences in the
responses of members of the population and nonmembers. For example, consumers who are prospective
purchasers may know more about the product category than consumers who are not considering making a
purchase.” Diamond (2011), p. 377.



                                                                                                      Page 53
agents, and representatives; and members of this Court and its staff.”224—have similar
perceptions or preferences in dog food products. 225
127.    Given the potential and significant differences between the putative class members
and the American adult population (discussed in Section V.B.3), it is important for Dr.
Krosnick’s sample to be representative of purchasers of At-Issue Products. However, Dr.
Krosnick’s sample in the Pentobarbital Survey (similar to his other survey) contains very few
respondents who ever purchased ACANA or ORIJEN dog food products.226
128.    Table 6 below provides a summary of the composition of Dr. Krosnick’s sample. It
shows that almost a fifth of the sample reported that they have never purchased dog food.227
Only three percent of Dr. Krosnick’s sample reported that they have ever purchased
Champion dog food, and there is only a single respondent in the entire sample who resides in
Wisconsin and has ever purchased Champion dog food.




224
    Memorandum of Points and Authorities in Support of Plaintiff’s Motion for Class Certification, Scott Weaver
v. Champion Petfoods USA, Inc. and Champion Petfoods LP, United States District Court for the Eastern
District of Wisconsin, Case No. 2:18-cv-01996-JPS, August 15, 2019, pp. 8–9.
225
    Krosnick Report Part 2, ¶ 52; Krosnick May 8, 2019 Deposition, pp. 14:15–18:20 and p. 36:3–12.
226
    Dr. Krosnick’s Pentobarbital Survey included the following:
     - “The dog food you looked at is called [‘Orijen Regional Red’ / ‘Acana Regionals Appalachian Ranch’ /
          ‘Acana Heritage Red Meat’]. Did you ever buy that type of dog food, or did you never buy it?”
     - “Did you ever buy dog food that had the word [‘Orijen’ / ‘Acana’] written on the package, or did you
          never do that?”
     - “Did you ever buy dog food that had the word [‘Orijen’ / ‘Acana’] written on the package after July 1,
          2013, or did you never do that?”
Krosnick Report Part 2, Appendix B, pp. 541–542. Based on these questions, it is not possible for Dr. Krosnick
to identify regular purchasers of ACANA and/or ORIJEN products.
227
    In Dr. Krosnick’s sample, 19 percent of respondents had never bought dog food before, and 15 percent had
never owned a dog. Krosnick Backup Materials.



                                                                                                       Page 54
                                                  Table 6
                 Summary of the Composition of Dr. Krosnick’s Pentobarbital Survey Sample228


                     Survey Respondents                    Number of Respondents         Percent of Survey Sample


All                                                                    859                           100%


Who Ever Purchased Any Dog Food                                        692                            81%


Who Purchased Any Dog Food
                                                                       495                            58%
After July 1, 2013


Who Ever Purchased Any ACANA or ORIJEN Dog Food                         27                             3%


Who Ever Purchased Any ACANA or ORIJEN Dog Food
                                                                        17                             2%
After July 1, 2013

Who Purchased Any ACANA or ORIJEN Dog Food
                                                                        14                             2%
Seen in Krosnick's Survey
Who Purchased ACANA or ORIJEN Dog Food
Seen in Krosnick's Survey                                               11                             1%
After July 1, 2013
Who Ever Purchased Any ACANA or ORIJEN Dog Food
                                                                         1                             0%
and Was a Resident of Wisconsin

Source: Krosnick Backup Materials



129.       In addition to the major flaw of not limiting his sample to purchasers or likely
purchasers of Champion products, Dr. Krosnick also does not justify why his sample is
representative of the specific state population of interest. Only 2.7 percent of the sample in
Dr. Krosnick’s Pentobarbital Survey lives in Wisconsin.229 He does not conduct a separate
analysis for respondents in Wisconsin, nor does he attempt to explain why respondents across
the entire nation would be similar to Wisconsin class members.




228
    I understand that Plaintiffs are now seeking to certify a subclass for the claims relating to pentobarbital that
covers the period from January 2016 to December 2018. In his Pentobarbital Survey, Dr. Krosnick asked
respondents if they had purchased dog food after July 1, 2013. Results for these questions thus represent an
upper bound on the number of respondents who purchased dog food during the proposed Pentobarbital Subclass
period. See Krosnick Report Part 2, Appendix B, pp. 541–542; Memorandum of Points and Authorities in
Support of Plaintiff’s Motion for Class Certification, Scott Weaver v. Champion Petfoods USA, Inc. and
Champion Petfoods LP, United States District Court for the Eastern District of Wisconsin, Case No. 2:18-cv-
01996-JPS, August 15, 2019, pp. 8–9.
229
    23 of the 859 respondents (2.7 percent) in the Krosnick Pentobarbital Survey reside in Wisconsin. See
Krosnick Backup Materials.


                                                                                                            Page 55
                  2.       Dr. Krosnick’s Alleged Pentobarbital Corrective Statements
                           Contain Vague and Alarming Language that Do Not Properly
                           Correct the Alleged Misrepresentations or Omissions


130.     Like Dr. Krosnick’s Diminution in Value Survey, his Pentobarbital Survey includes
vaguely-worded corrective statements that do not specify the level or likelihood of
pentobarbital being in the dog food. Dr. Krosnick’s Pentobarbital Survey simply leaves it up
to the individual respondent to determine a level and likelihood of pentobarbital in the dog
food they saw and to make an assessment of the quality and healthiness of the product based
on this determination. Given this setting, it is not possible to know exactly what each
respondent is reacting to. Dr. Krosnick admitted that he conducted no analysis to determine
how respondents interpreted the Alleged Pentobarbital Corrective Statements.230 As I
discussed in Section V.C.1 above, vaguely worded questions can bias survey results.
131.     In addition, the language used in the two corrective statements is alarming (such as
the description of animals’ lives being ended) and the references to the U.S. government are
leading (such as the suggestion of improper manufacturer processes as identified by the
government in one of the statements). Academic research shows that people tend to focus on
and overweight negative information when making judgements, therefore such clearly
negative wording is likely to unduly influence respondents towards negative assessments of
the product.231

                  3.       Dr. Krosnick’s Presentation of the Alleged Pentobarbital
                           Corrective Statements is Leading and Susceptible to Demand
                           Artifacts


132.     As in Dr. Krosnick’s Diminution in Value Survey,232 the manner in which Dr.
Krosnick presents his Alleged Pentobarbital Corrective Statements is likely to cause



230
    Krosnick August 27, 2019 Deposition, pp. 15:16–25, 26:24–27:3.
231
    See, e.g., Anderson, N. H. (1965), “Averaging Versus Adding as a Stimulus-Combination Rule in Impression
Formation,” Journal of Experimental Psychology, 70, 4, 394–400; Skowronski, J. J. and D. E. Carlston (1989),
“Negativity and Extremity Biases in Impression Formation: A Review of Explanations,” Psychological Bulletin,
105, 1, 131–142; Baumeister, R. F., et al. (2001), “Bad Is Stronger Than Good,” Review of General Psychology,
5, 4, 323–370 at p. 323 (“Taken together, these findings suggest that bad is stronger than good, as a general
principle across a broad range of psychological phenomena.”) Other research streams have also supported the
idea of greater weighting of negative information, e.g., the Prospect Theory notion that “losses loom larger than
gains.” See Kahneman, D. and A. Tversky (1979), “Prospect Theory: An Analysis of Decision Under Risk,”
Econometrica, 47, 2, 263–292.
232
    See Section V.C.2.



                                                                                                         Page 56
respondents to overweight these statements and to unduly influence respondents’ assessments
of the quality and healthiness of the dog food they saw.
133.     Dr. Krosnick’s presentation of the Alleged Pentobarbital Corrective Statements in
isolation, after respondents’ review of product packaging but right before they answer
questions about the products they saw, likely causes respondents to place heightened focus on
these statements, leading to focalism bias.233 Further, the manner in which the Alleged
Pentobarbital Corrective Statements are presented and the negative and leading nature of the
language used in these statements makes it difficult for Dr. Krosnick to disguise the purpose
of his survey from his respondents and renders Dr. Krosnick’s survey susceptible to demand
artifacts.234 As discussed in detail in Section V.C.2 of this report, it is well documented in the
academic literature that focalism and demand artifacts result in biased survey responses.
134.    Additionally, Dr. Krosnick does not provide his respondents any information about
comparable products, which is dissimilar to the context in which most consumers would
evaluate a product. Frequently, consumers evaluate and form perceptions about the quality or
specific attributes of a product while comparing it to other alternative products. 235 These
considerations are absent from Dr. Krosnick’s Pentobarbital Survey which asks respondents
to consider only a single Champion product in isolation.

                 4.       Dr. Krosnick Did Not Pre-Test His Pentobarbital Survey
                          Instrument or Use Standard Survey Tools to Ensure Data
                          Integrity


135.     Because he did not pre-test his survey, Dr. Krosnick has no ability to evaluate
potential difficulties that respondents might have experienced in attempting to understand his
Alleged Pentobarbital Corrective Statements. Furthermore, despite the considerable length of
his Pentobarbital Survey, Dr. Krosnick did not employ any standard measures that help
ensure integrity of survey data such as including attention check questions. I describe these




233
    Schkade, D. A. and D. Kahneman (1998), “Does Living in California Make People Happy? A Focusing
Illusion in Judgments of Life Satisfaction,” Psychological Science, 9, 5, 340–346; Kahneman, D., et al. (2006),
“Would You Be Happier If You Were Richer? A Focusing Illusion,” Science, 312, 5782, 1908–1910.
234
    See Simonson, I. and R. Kivetz (2012), “Demand Effects in Likelihood of Confusion Surveys: The
Importance of Marketplace Conditions,” in Trademark and Deceptive Advertising Surveys, S. Diamond and J.
Swann, eds., Chicago, IL: ABA Publishing, 243–259 at pp. 243–244.
235
    Kotler, P. and K. L. Keller (2016), Marketing Management, Essex, England: Pearson
Education Limited, pp. 196–198.


                                                                                                        Page 57
issues in Section V.D above in the context of the Diminution in Value Survey, and they apply
equally to Dr. Krosnick’s Pentobarbital Survey.

                  5.       Dr. Krosnick Did Not Use Appropriate Methods to Analyze the
                           Pentobarbital Survey Data


136.     As in his analysis of his Diminution in Value Survey data, Dr. Krosnick used
statistical methods that are fundamentally flawed and violate basic norms of statistical
research.236
137.     Dr. Krosnick creates the dependent variable for his Pentobarbital Survey statistical
analysis by inappropriately converting two ordinal variables into numerical values on a 100-
point scale and then averaging across the two values to make a single “index” value. Simply
averaging two different ordinal variables to create this new variable is erroneous.237 Dr.
Krosnick then improperly uses a model (ordinary least squares regression) that is meant for a
continuous dependent variable to analyze his dependent variable. Furthermore, as in the
Diminution in Value Survey analysis, Dr. Krosnick arbitrarily selects control variables for his
regressions, and, in his Pentobarbital Survey, Dr. Krosnick does not provide any justifications
for his apparently arbitrary modelling choices. 238
138.     It should also be noted that Dr. Krosnick states that he uses eleven questions to create
his indexed control variables.239 However, in his code, he actually uses responses to only ten
questions, as he does not include a question about whether a respondent chooses dog food
based on whether it improves their dog’s appearance.240 This apparent error further highlights
the unreliability of Dr. Krosnick’s analysis.
139.     As in his analysis of his Diminution in Value Survey, Dr. Krosnick’s failure to follow
proper statistical procedures in his analysis demonstrates the overall non-standard and
unscientific nature of his Pentobarbital Survey.

236
    See the discussion in Section V.E.
237
    Jamieson, S. (2004), “Likert Scales: How to (Ab)use Them,” Medical Education, 38, 12, 1217–1218. An
ordinal variable is one where the ordering of the values conveys information but the magnitude of the values
does not. An interval variable is similar to an ordinal variable, with the exception that the difference between
values is meaningful and consistent across intervals. See Woolridge, J. M. (2009), Introductory Econometrics:
A Modern Approach, Mason, OH: South-Western Cengage Learning, pp. 235–238, 843.
238
   As noted above in Section V.E, Dr. Krosnick claimed to use a principle component analysis when creating
and selecting his control variables for his analysis of the Diminution in Value Survey, however, he did not
provide any materials to replicate this analysis. In the case of his Pentobarbital Survey, Dr. Krosnick does not
even claim to have a justification for his modelling decisions. Krosnick Report Part 2, Appendix B.
239
    Krosnick Report Part 2, Technical Report Survey Methods and Results, ¶¶ 86–89.
240
    Krosnick Backup Materials.



                                                                                                         Page 58
VII.    Many Factors Affect Consumers’ Purchase Decisions, and There Is
        Heterogeneity in the Purchase Decision-Making Process Across Individual
        Consumers and Their Dogs

140.    Even if Dr. Krosnick’s Diminution in Value Survey was valid—which it is not, as I
explained in the sections above—the consumer purchase decision-making process for dog
food products is highly individualized and is inherently different across purchasers under
various dimensions of the marketing mix.241
141.    Multiple marketing factors influence each potential buyer’s decision, and these factors
interact with both external factors and buyer-specific characteristics in a complex decision-
making process. Specifically, several factors generally known as “marketing stimuli” are
understood to influence consumer decision-making, and the extent of their influence is
determined by the individual characteristics of the consumer. The marketing stimuli are
usually organized in four categories called the 4 Ps of Marketing—Price, Product, Place, and
Promotion. Taken together, the 4 Ps constitute the so-called “marketing mix.242” In the
following sub-sections, I analyze heterogeneity across purchasers of dog food products for
each of the 4 Ps in turn.

                     A. Price


142.    Price is a factor that affects the sales of every product. Basic economics and
marketing tells us that, all else equal, as the price of a product goes up, lower quantities of the
product will be sold, and as price goes down, more of the product will be sold.243 Consumers
with lower incomes also tend to be more price-sensitive and less willing to pay higher prices.
For example, the January 2017 U.S. Dog Pet Food Survey found that, relative to higher
income respondents, lower income respondents were more likely to report that “better
pricing” was important when purchasing dog food and that higher income respondents were
more likely to shop for pet food at specialty stores.244 This is also confirmed by Mr. Weaver,

241
    Peter, J. P. and J. C. Olson (2010), “Affect and Cognition and Marketing Strategy,” in Consumer Behavior
and Marketing Strategy, New York, NY: McGraw-Hill/Irwin, 36–65.
242
     Kotler, P. and K. L. Keller (2012), “Defining Marketing for the 21st Century,” in Marketing Management,
Upper Saddle River, NJ: Prentice Hall, 2–31 at p. 25.
243
    Kotler, P. and K. L. Keller (2012), “Developing Pricing Strategies and Programs,” in Marketing
Management, Upper Saddle River, NJ: Prentice Hall, 382–413.
244
    “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 465,
468.



                                                                                                      Page 59
who reports that he used to purchase “regular, old dog food” as he had three children and
limited income, but since his “income has changed dramatically” he now “spare[s] nothing
for [his] dogs.”245

            B. Product

143.    Product is a bundle of physical characteristics and other benefits that provide value to
the consumer and thus influence his or her purchase decision. The characteristics of dog food
products include the type of protein (such as chicken, fish, or beef), fat content, grain content,
dry or freeze-dried preparation, package size, and a multitude of additional factors.246 The
influence of different characteristics on product purchase decisions may vary across
consumers, and may vary for the same consumer over time.
144.    This means that the same consumer will make different purchasing decisions at
different points in time when faced with a different “marketing mix.” In fact, an article
published by Consumer Reports interviewed veterinarians who report that they vary the type
of pet food they use over time.247 Similarly, some purchasers of Champion products report
changing their dog food brand and flavor within a given brand multiple times over the alleged
class period based on their own preferences and the preferences of the dog for whom the food
was purchased.248
145.    The responses provided by Dr. Krosnick’s Diminution in Value Survey respondents
are also consistent with the heterogeneity in preferences for various dog food product
characteristics. For example, in his Diminution in Value Survey, Dr. Krosnick asked several
questions such as “[i]f you were to buy dog food, when deciding which food to buy, how
much attention would you pay to whether the food [is all-natural / is grain free / is organic /
will improve the health of dogs / tastes good to dogs]?”249 For each question, respondents


245
    Weaver Deposition, p. 115:12–16.
246
    See, e.g., the various dog food products available on ACANA’s website. “Acana Heritage Red Meat
Formula,” Acana, https://acana.com/usa/our-foods/dog-foods/heritage/red-meat/; “Acana Regionals Wild
Atlantic,” Acana, https://acana.com/usa/our-foods/dog-foods/regionals/wild-atlantic/; “Acana Regionals
Meadowland,” Acana, https://acana.com/usa/our-foods/dog-foods/regionals/meadowland/.
247
    “Q&A: Vets Weigh in on Fido’s Food,” Consumer Reports, March 2009,
https://www.consumerreports.org/cro/2012/05/q-a-vets-weigh-in-on-fido-s-food/index.htm.
248
    Shoaff Deposition, p. 31:19–25; Reitman Deposition, pp. 50:7–55:21; Deposition of Erin Grant (“Grant
Deposition”), June 28, 2019, pp. 39:3–40:24. Note that Ms. Shoaff, Ms. Reitman and Ms. Grant are named
plaintiffs in a similar matter and are purchasers of Champion dog food. See Third Amended Class Action
Complaint, Jennifer Reitman, Carol Shoaff, and Erin Grant et al v. Champion Petfoods USA, Inc. and
Champion Petfoods LP, United States District Court for the Central District of California Western Division,
Case No. 2:18-cv-01736-DOC-JPR, May 25, 2019.
249
    Krosnick Report Part 2, Appendix B, pp. 546–547.



                                                                                                        Page 60
147.    Even among the named plaintiffs in this matter and related matters, I identified
significant variation in preferences for different product characteristics, including those
relating to the allegations in this case. For example, Ms. Reitman and Ms. Shoaff report
different preferences regarding “regional” product ingredients. Ms. Shoaff testified during
her deposition that she “found it important […] that the ingredients were local.”252
Ms. Reitman, on the other hand, testified that the region that the lamb came from was not
important to her, as she was more concerned with quality than geographical origin, and
understood that New Zealand is known for the quality of sheep and lamb.253 Mr. Weaver
testified that he liked that the fish in the dog food he purchased was sourced from New
England “[b]ecause it’s fresh, that’s where the fish are,” even though he stated that New
England is not regional to Wisconsin (where Mr. Weaver lives).254 Thus, the importance and
interpretation of terms such as “fresh” and “regional” varies substantially across named
Plaintiffs in this matter and related matters.
148.    Dog food product purchase decisions typically also incorporate the dietary restrictions
and requirements of the pets. For example, some dogs suffer from food allergies and
intolerances, which I understand often relate to the consumption of specific animal
proteins.255 Weight and dental concerns also affect the varying needs of dogs.256 These types
of considerations are likely to be particularly important for ACANA and ORIJEN purchasers
as some of these products are specifically designed for pets with dietary sensitivities, such as
the ACANA Lamb and Apple Singles.257
149.    Plaintiffs in this case and in similar matters report considering and changing dog
foods based on the specific dietary needs of their dogs. Ms. Reitman recalls switching her
dog, Goliath, to a “bland food diet” after he developed stomach problems.258 Goliath’s



252
    Shoaff Deposition, p. 81:2–3.
253
    Reitman Deposition, pp. 111:2–111:24. Similarly, Ms. Slawsby testified that while she noticed the label
identifying where ingredients were sourced, this information was “not on the forefront of [her] mind” when she
made her purchase decision. Slawsby Deposition, p. 172:2–14.
254
    Weaver Deposition, pp. 83:9–84:20.
255
    “What Every Pet Owner Should Know about Food Allergies,” Clinical Nutrition Service at Cummings
School, January 27, 2017, http://vetnutrition.tufts.edu/2017/01/food-allergies/.
256
    “How to Choose the Best Pet Food for Puppies,” VetStreet, March 11, 2014, http://www.vetstreet.com/dr-
marty-becker/how-to-choose-the-best-pet-food-for-puppies; “Why You Should Tailor your Dog’s Food to Their
Age and Breed,” The Telegraph, December 15, 2017, https://www.telegraph.co.uk/pets/family-animals/choose-
the-right-food-for-your-dog/.
257
    “Feed the Adventure,” Acana, https://acana.com/wp-content/uploads/2019/05/DS-ACA-Pet-Lover-Brochure-
web.pdf, at slide 6.
258
    Reitman Deposition, p. 44:2–9.



                                                                                                      Page 62
stomach issues also encouraged Ms. Reitman to purchase Champion products with fewer
ingredients, such as those containing only duck rather than multiple types of protein.259 Ms.
Grant also reports having to try “countless different bags of dog foods” because her dog,
Dublynn, had severe allergies.260 Ms. Grant eventually discovered that Dublynn was allergic
to chicken, and started purchasing only chicken-free diets.261 Mr. Weaver also reports having
to tailor his dog food purchases for this reason. His dog, Jack, was allergic to fish and
poultry, so Mr. Weaver avoided any diets with those ingredients.262 Ms. Shoaff started
feeding her dogs, Tanner and Gracie, Solid Gold dog food until Tanner developed
pancreatitis and needed to switch to a diet with a lower fat content.263 When her dog Danny
developed early signs of dementia, Ms. Shoaff switched his diet to a special cognitive
formula.264
150.    I also understand that different varieties of dog food are suited for different dogs,
depending on their age. Puppies require “easy-to-digest carbohydrates,” and specific
nutrients such as calcium, phosphorus, antioxidants, and vitamins C and E.265 Senior dogs
may require a diet rich in omega-3 and fatty acids.266 Senior dogs also tend to be less active
than puppies, so owners are advised to adjust calorie counts accordingly.267 Additionally,
different breeds of dogs may require different types of foods. Small or toy breed dogs tend to
have high metabolisms and may require food with a high energy content that is also easy to
swallow and digest.268 Large and giant breeds reach adulthood quickly and are particularly
prone to joint issues, so they may need omega-3 and omega-6 fatty acids, glucosamine, and




259
    Reitman Deposition, pp. 101:3–102:12.
260
    Grant Deposition, p. 15:18–21.
261
    Grant Deposition, p. 14:2–11.
262
    Weaver Deposition, pp. 34:4–9; 47:23–25.
263
    Shoaff Deposition, pp. 62:25–63:12.
264
    Shoaff Deposition, p. 31:19–25.
265
    “Why You Should Tailor Your Dog’s Food to Their Age and Breed,” The Telegraph, December 15, 2017,
https://www.telegraph.co.uk/pets/family-animals/choose-the-right-food-for-your-dog/.
266
    “Why You Should Tailor Your Dog’s Food to Their Age and Breed,” The Telegraph, December 15, 2017,
https://www.telegraph.co.uk/pets/family-animals/choose-the-right-food-for-your-dog/.
267
    “Why You Should Tailor Your Dog’s Food to Their Age and Breed,” The Telegraph, December 15, 2017,
https://www.telegraph.co.uk/pets/family-animals/choose-the-right-food-for-your-dog/.
268
    “Why You Should Tailor Your Dog’s Food to Their Age and Breed,” The Telegraph, December 15, 2017,
https://www.telegraph.co.uk/pets/family-animals/choose-the-right-food-for-your-dog/.



                                                                                                Page 63
chondroitin sulphate.269 Dogs with flat faces like pugs or French bulldogs often require food
of particular shapes and textures.270
151.    Given that dog food is purchased by owners for their dog’s consumption, it is not
surprising that the specific tastes of the pet are important to the purchase decision. According
to the U.S. Dog Pet Food Survey, 66 percent of respondents indicated that they evaluate dog
food products on whether or not their dog likes the food.271 Consistent with this, Ms. Reitman
testified that she had two dogs and while one liked raw food, the other did not “find it
palatable.”272 She recalled “changing flavor to flavor” in order to find a food her dog
enjoyed.273 According to the U.S. Dog Pet Food Survey, the average number of factors used
by respondents to judge the dog food they have purchased is 3.1, although different
consumers rely on different factors.274
152.    Pet owners may also consider the advice of experts and other third parties (such as
their veterinarian, online research, family and friends, and packaging information) when
deciding which dog food to purchase.275 According to an article published on Pet MD, more
than 75 percent of pet owners consider the nutritional advice of their veterinarian.276 The U.S.
Dog Pet Food Survey similarly found that 57 percent of the 1,001 respondents identified their
veterinarian as a “source of information [they] rel[ied] on…to determine what to feed [their]
dog,” while 28 percent identified their veterinarian as the source of information they relied on
the most in their purchase decision-making process.277 According to the same survey, 61


269
    “Why You Should Tailor Your Dog’s Food to Their Age and Breed,” The Telegraph, December 15, 2017,
https://www.telegraph.co.uk/pets/family-animals/choose-the-right-food-for-your-dog/.
270
    “Why You Should Tailor Your Dog’s Food to Their Age and Breed,” The Telegraph, December 15, 2017,
https://www.telegraph.co.uk/pets/family-animals/choose-the-right-food-for-your-dog/.
271
    “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538 at 463.
272
    Reitman Deposition, pp. 48:21–49:4.
273
    Reitman Deposition, p. 52:3–15. Similarly, Ms. Loeb reported trying to feed her dog Fromm, a competitor of
Champion, but changing because her dog did not seem to like it. Loeb Deposition, pp. 25:19–26:4. Note that
Ms. Kellie Loeb is a named plaintiff in a similar matter and a purchaser of Champion dog food. Kellie Loeb v.
Champion Petfoods USA Inc. and Champion Petfoods LP, United States District Court for the Eastern District
of Wisconsin, Case No. 18-494, March 28, 2018. This case was dismissed by the Court. See Order on
Defendants Motion to Dismiss, Kellie Loeb v. Champion Petfoods USA Inc. and Champion Petfoods LP, United
States District Court for the Eastern District of Wisconsin, Case No. 18-CV-494-JPS, June 7, 2018; Order on
Summary Judgment, Kellie Loeb v. Champion Petfoods USA Inc. and Champion Petfoods LP, United States
District Court for the Eastern District of Wisconsin, Case No. 18-CV-494-JPS, February 6, 2019.
274
    “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 463.
275
    All of the 1,001 respondents used two or more sources, while the average number of sources relied upon is
3.1. See “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at
459.
276
    “Buying & Choosing Pet Food is Priority, petMD Survey Finds,” PetMD,
https://www.petmd.com/dog/nutrition/buying-choosing-pet-food-priority-petmd-survey-finds.
277
    “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 459.



                                                                                                      Page 64
percent of 1,001 respondents considered “Veterinarian’s Recommendation” as “very
influential” or “most influential” in deciding which dog food brand to purchase.278 These
figures are even higher for respondents who were considered most likely to purchase
Champion products, with 33 percent of respondents with household incomes above $60,000
reporting that they relied on information from their veterinarian the most.279 In addition, 50
percent of ACANA and/or ORIJEN purchasers reported that the dog food was recommended
to them by their veterinarian.280 Ms. Reitman and Ms. Shoaff both testified that they spoke
with their dogs’ veterinarians about which dog food to purchase.281 Mr. Weaver reported that
he switched dog foods based on a recommendation from his breeder.282 Ms. Grant, on the
other hand, did not rely on a veterinarian or a breeder, but on recommendations from friends
and employees at the rescue center where she acquired her dogs.283
153.    In an article published on Petfood Industry, Mr. Peter Muhlenfeld, Champion’s
former Chief Brand Officer, explained the important role that pet specialists play in the sale
of Champion’s products. He stated that: “Pet specialists have an intimate knowledge of our
foods, are committed to providing expert advice and have played a crucial role in bringing
our biologically appropriate foods to pet lovers everywhere.”284 Furthermore, according to
the U.S. Dog Pet Food Survey, 46 percent of respondents who shopped in specialty pet stores
indicated that they found an employee’s recommendation influential, and only 16 percent of
respondents who shopped at specialty stores reported relying on packaging information when
making their purchasing decision.285 Forty-five percent of ACANA and/or ORIJEN
purchasers reported that the food was recommended to them by store staff.286
154.    In addition, “brand” is a set of associations that create the personality of a product,
and can be established and communicated in different ways.287 For example, advertisements
for Apple products may emphasize their user-friendliness and clean designs. Champion’s


278
    “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 479.
279
    “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 459.
280
    “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 509.
281
    Reitman Deposition, pp. 44:2–9; Shoaff Deposition, pp. 84:15–85:9.
282
    Weaver Deposition, pp. 29:8–30:8.
283
    Grant Deposition, pp. 29:14–24; 66:25–67:1.
284
    “Bentley’s Applauds Pet Food Companies for Leaving Chewy,” Petfood Industry, July 17, 2017,
https://www.petfoodindustry.com/articles/6562-bentleys-applauds-pet-food-companies-for-leaving-chewy.
285
    “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 459,
479.
286
    “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 512.
287
    Kotler, P. and K. L. Keller (2012), “Creating Brand Equity,” in Marketing Management, Upper Saddle River,
NJ: Prentice Hall, 321–356.



                                                                                                     Page 65
marketing of the ACANA and ORIJEN brands are also different and are based on the
associations with each brand. For example, according to each brand’s guide, ACANA is
worldly, loyal, accessible, authentic, and devoted whereas ORIJEN is educated, travelled,
cultured, philanthropic, and devoted.288
155.    The influence of brand on consumer decision-making can vary depending on each
consumer’s preferences and characteristics. For example, some consumers tend to repeatedly
purchase a brand’s products once they determine which brand they prefer, while others are
not loyal to a particular brand and frequently switch brands.289 According to the U.S. Dog Pet
Food Survey, 83 percent of the respondents indicated that they purchased the same brand of
dry dog food they were purchasing a year ago and 67 percent of the respondents reported that
if the variety or flavor of the brand they normally purchase were not available, they would
purchase another variety or flavor of the same brand or visit another store to find the variety
or flavor of the brand they normally purchase, demonstrating the importance of brand for dog
food purchases.290 In fact, Mr. Weaver stated that he would “literally drive around to all of
the Mounds stores...to purchase the exact same brand.”291

           C. Place


156.    Place, or the purchasing environment, also impacts consumers’ purchase decisions.
Retail environments can be physical or virtual, and a given retailer will often have both
physical and virtual stores (e.g., Walmart sells both through its stores and through
Walmart.com).292 Both physical and online retail environments vary widely and can
significantly impact a product’s sales. For example, the availability of consumer product
reviews and the content of those reviews in online retail environments can influence purchase




288
    “ACANA Brand Guide,” August 2017, CPF0217710–7760, at 716; “Orijen Brand Guidelines,” August 2017,
CPF0217658–7709, at 664.
289
    Macdonald, E. K. and B. M. Sharp (2000), “Brand Awareness Effects on Consumer Decision Making for a
Common, Repeat Purchase Product: A Replication,” Journal of Business Research, 48, 5–15.
290
    “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 458,
505, 513.
291
    Weaver Deposition, p. 32:11–13.
292
    Peter, J. P. and J. C. Olson (2010), “Consumer Behavior, Electronic Commerce, and Channel Strategy,” in
Consumer Behavior and Marketing Strategy, New York, NY: McGraw-Hill/Irwin, 461–489; “Our History,”
Walmart, http://corporate.walmart.com/our-story/history/history-timeline.



                                                                                                   Page 66
decisions.293 Product placement within a particular retail outlet can also affect sales volume
and how consumers view a product.294
157.    Until July 2017, Champion sold ACANA and ORIJEN dry dog food products through
Chewy.com, an online retailer.295 Additionally, unauthorized online retailers such as Jet,
Walmart, and eBay sell or have sold Champion products.296 The types of information
reviewed and relied upon by putative class members who used online distribution channels
are inherently different from the information reviewed and relied upon by other putative class
members who purchased At-Issue Products in specialty stores like Mr. Weaver, Ms. Reitman
and Ms. Shoaff. 297 In fact, Ms. Reitman believes that a store clerk may have directly
influenced her decision to purchase ACANA.298 On the other hand, Ms. Grant purchased her
dog food primarily online at Petflow.com.299 Again, putative class members who purchased
ACANA and ORIJEN products at specialty stores and putative class members who purchased
ACANA and ORIJEN products online will vary in terms of what information they were
exposed to and the manner in which they were exposed.

            D. Promotion


158.    Promotional aspects will also affect product sales. Promotion generally captures the
sum total of communications that the marketer uses.300 Different types of promotional
activities, such as advertising (which can be product-specific or aimed at creating or

293
    Zhu, F. and X. Zhang (2010), “Impact of Online Consumer Reviews on Sales: The Moderating Role of
Product and Consumer Characteristics,” Journal of Marketing 74, 2, 133–148.
294
    Peter, J. P. and J. C. Olson (2010), “Consumer Behavior, Electronic Commerce, and Channel Strategy,” in
Consumer Behavior and Marketing Strategy, New York, NY: McGraw-Hill/Irwin, 461–489.
295
    On July 10, 2017, Champion announced on social media that it would no longer sell ACANA and ORIJEN
products through Chewy: “Unfortunately, it’s true – our foods are no longer available through Chewy… For
more than 25 years, we’ve been committed to the pet specialty channel. We choose to work exclusively with
pet specialists who have intimate knowledge of our foods and are committed to providing expert advice to Pet
Lovers. Chewy has been a longtime retail partner and we’ve enjoyed our association with them. However, due
to their recent acquisition, Chewy no longer meets our pet specialty requirement to be an Approved ACANA
and ORIJEN Retailer.” See “Fromm, Champion Pull Products from Chewy,” Petfood Industry, July 12, 2017,
https://www.petfoodindustry.com/articles/6552-fromm-champion-pull-products-from-chewycom.
296
    “Trusted Pet Specialists,” Champion Petfoods, https://www.championpetfoods.com/en-us/where-to-buy/. In
April 2017, Champion discovered that its foods were being sold through unauthorized websites. In a Social
Media post, Champion claimed that it “cannot guarantee how these foods are obtained and stored.” See
“Champion Petfoods,” Facebook, April 11, 2017,
https://www.facebook.com/ChampionPetfoods/posts/1276982962380041.
297
    Weaver Deposition, p. 52:12–14, Reitman Deposition, pp. 55:7–56:5, 71:7–13, and Shoaff Deposition, p.
46:4–15.
298
    Reitman Deposition, pp. 70:25–71:13.
299
    Grant Deposition, 18:17.
300
    Peter J. P. and J. C. Olson (2010), “Consumer Behavior and Promotion Strategy,” in Consumer Behavior and
Marketing Strategy, New York, NY: McGraw-Hill/Irwin, 405–438.



                                                                                                    Page 67
reinforcing a broader brand image) or sales promotions (e.g., point of purchase displays,
coupons, or rebates) can impact purchase decisions in different ways. Both manufacturers
and retailers may run promotions. According to the U.S. Dog Pet Food Survey, 28 percent of
respondents reported that promotions were “very influential” when deciding which brand of
dog food to purchase and 10 percent of respondents considered free samples when deciding
where to purchase their dog food.301 Mr. Weaver, for example, only purchased ORIJEN dog
food from a store called Mounds in order to take advantage of a promotion offering every
twelfth bag of ORIJEN dog food for free.302 Ms. Shoaff also took advantage of a similar
promotion at a store called Animal Connection. After she purchased eleven bags and
received the free bag, she switched to shopping at a different store.303 Similarly, Ms. Grant
received a discount on PetFlow.com for being a regular customer.304 Due to the myriad
communication channels available to marketers, the promotion environment can vary
significantly from consumer to consumer.
                                            *        *       *
159.    In sum, various dimensions of the marketing mix may affect different consumers in
different ways. Furthermore, different purchasers have different preferences. The factors
that are important to purchase decisions will vary from one consumer to another, with
different consumers assigning different weights to each factor.305 Therefore, the purchase
decision-making process of the putative class members is bound to be heterogeneous and the
impact (if any) of the alleged misrepresentations of the At-Issue Products cannot be estimated
on a class-wide basis.




301
    “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 468,
480.
302
    Weaver Deposition, pp. 33:6–11, 52:9–11.
303
    Shoaff Deposition, pp. 79:21–80:10.
304
    Grant Deposition, pp. 68:16–69:6.
305
    For a quantification of some of these buyer influence factors I refer to: Hanssens, D. M., ed. (2015),
Empirical Generalizations about Marketing Impact, Cambridge, MA: Marketing Science Institute, and J. Alba,
ed. (2011), Consumer Insights: Findings from Behavioral Research, Cambridge, MA: Marketing Science
Institute.


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I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge, information, and belief, and that this declaration is executed at Los Angeles,
California, this 12th day of September, 2019.


                                                      _________________________________
                                                          Professor Dominique M. Hanssens




                                                                                          Page 69
                                                                                     Appendix A



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   ou aux deux?”, Recherche et Applications en Marketing, 19 (3), 2004.

K. Pauwels, J. Silva-Risso, S. Srinivasan and D.M. Hanssens, “The Long-Term Impact of New-
Product Introductions and Promotions On Financial Performance and Firm Value,” Journal of
Marketing, October 2004.



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D.M.Hanssens & M. Ouyang, “Hysteresis in Marketing Response: When is Marketing Spending an
Investment? Review of Marketing Science, 419, (2002).

K.Pauwels, D.M. Hanssens & S.Siddarth, “The Long-Term Effects of Price Promotions on Category
Incidence, Brand Choice and Purchase Quantity,” Journal of Marketing Research, November 2002,
p. 421-439.

    Finalist for the 2002-2003 Paul Green Best Paper Award.
    Winner of the 2007 William O'Dell Award

V. Nijs, M. Dekimpe, J.-B. Steenkamp & D.M. Hanssens, “The Category Effects of Price
Promotions, Marketing Science, Winter 2001.

    Lead article.
    Co-Winner of the 2001 John D.C. Little Best Paper Award.
    Winner of the 2002 Frank M. Bass Outstanding Dissertation Award.
    Finalist, 2011 Long-Term Impact Award, Society for Marketing Science

M.G. Dekimpe and D.M. Hanssens, “Time-Series Models in Marketing: Past, Present and Future,”
International Journal of Research in Marketing, September 2000.

G. Giuffrida, W. Chu and D.M. Hanssens, “Mining Classification Rules from Datasets with Large
Number of Many-Valued Attributes,” in Lecture Notes in Computer Science, 1777, Springer Verlag,
2000.

M.G. Dekimpe and D.M. Hanssens, "Sustained Spending and Persistent Response: A New Look at
Long-Term Marketing Profitability," Journal of Marketing Research, November 1999, p. 1-31.

    Lead article.
    Winner of the 1999-2000 Paul Green Best Paper Award.
    Finalist for the 2004 William O'Dell Award.

M.G. Dekimpe, D.M. Hanssens & J.Silva-Risso, "Long-Run Effects of Price Promotions in Scanner
Markets," Journal of Econometrics, March-April 1999, p. 269-291.

M.G. Dekimpe, L. van de Gucht, D.M. Hanssens & K. Powers, "Long-Run Abstinence After
Treatment for Narcotcs Abuse: What Are the Odds?", Management Science, November 1998.

D.M. Hanssens, "Order Forecasts, Retail Sales and the Marketing Mix for Consumer Durables,
Journal of Forecasting, June-July 1998.

M.G. Dekimpe and D.M. Hanssens, "Empirical Generalizations about Market Evolution and
Stationarity," Marketing Science, Summer 1995.

M.G. Dekimpe and D.M. Hanssens, "The Persistence of Marketing Effects on Sales," Marketing
Science, Winter 1995.

    Lead article.
    Co-Winner of the 1995 John D.C. Little Best Paper Award.

                                                                                                7
G.S. Carpenter and D.M. Hanssens, "Market Expansion, Cannibalization and Optimal Airline
Pricing," International Journal of Forecasting, Vol 10, 1994.

A. Roy, D.M. Hanssens and J.S. Raju, "Competitive Pricing by a Price Leader," Management
Science, July 1994.

    Lead article.

K. Powers, D.M. Hanssens, Y.I. Hser and M.D. Anglin, "Policy Analysis with a Long-Term Time
Series Model: Controlling Narcotics Use and Property Crime," Mathematical and Computer
Modeling, Vol. 17, 2, 1993.

D.M. Hanssens and J.K. Johansson, "Synergy or Rivalry? The Japanese Automobile Companies'
Export Expansion," Journal of International Business Studies, Fall 1991.

K. Powers, D.M. Hanssens, Y.I. Hser and M.D. Anglin, "Measuring the Long-Term Effects of Public
Policy: The Case of Narcotics Use and Property Crime," Management Science, June 1991.

    Lead article.

G.S. Carpenter, L.G. Cooper, D.M. Hanssens and D.F. Midgley, "Modeling Asymmetric
Competition," Marketing Science, Fall 1988.

D.M. Hanssens and P. Vanden Abeele, "A Time-Series Study of the Formation and Predictive
Performance of EEC Production Survey Expectations," Journal of Business & Economic Statistics,
October 1987.

S.I. Ornstein and D.M. Hanssens, "Resale Price Maintenance: Output Increasing or Restricting? The
Case of Retail Liquor Stores," Journal of Industrial Economics, September 1987.

    Lead article. Reprinted in Journal of Reprints of Antitrust Law and Economics, W.Comanor
    (Guest Editor), 1990.

H. Gatignon and D.M. Hanssens, "Modeling Marketing Interactions with Application to Sales Force
Effectiveness," Journal of Marketing Research, August 1987.

    Lead article.
    Finalist for the 1992 William O'Dell Award.

S.I. Ornstein and D.M. Hanssens, "Alcohol Control Laws and the Consumption of Distilled Spirits
and Beer," Journal of Consumer Research, September 1985.

W.A.V. Clark, H.E. Freeman and D.M. Hanssens, "Opportunities for Revitalizing Stagnant Markets:
An Analysis of Consumer Durables," Journal of Product Innovation Management, December 1984.

D.M. Hanssens and L.M. Liu, "Lag Specification in Rational Distributed Lag Structural Models,"
Journal of Business & Economic Statistics, October 1983.



                                                                                                  8
   D.M. Hanssens and H.A. Levien, "An Econometric Study of Recruitment Marketing in the U.S.
   Navy," Management Science, October 1983.

   L.M. Liu and D.M. Hanssens, "Identification of Multiple-Input Transfer Function Models,"
   Communications in Statistics (Theory & Methods), 1982(3).

   L.M. Liu and D.M. Hanssens, "A Bayesian Approach to Time-Varying Cross-Sectional Models,"
   Journal of Econometrics, April 1981.

   D.M. Hanssens, "Market Response, Competitive Behavior and Time-Series Analysis," Journal of
   Marketing Research, November 1980.

        Finalist for the 1985 William O'Dell Award.

   D.M. Hanssens, "Bivariate Time-Series Analysis of the Relationship between Advertising and
   Sales," Applied Economics, September 1980.

   D.M. Hanssens and B.A. Weitz, "The Effectiveness of Industrial Print Advertisements across
   Product Categories," Journal of Marketing Research, August 1980.

   E.A. Pessemier, A.C. Bemmaor and D.M. Hanssens, “A Pilot Study of the Willingness to Donate
   Human Body Parts,” Journal of Consumer Research, December 1977.


Working Papers

   R. Becerril-Arreola and D.M. Hanssens, “Measuring and Explaining Product Positionality,”
   November 2018. Under review.

   N. Bharadwaj, R Rao and D.M.Hanssens, “Enterprise Brand Value, Cash Holdings and Economic
   Efficiency,” May 2019. Under review.

   R. Song, S. Jang, Y. Wang, D.M. Hanssens and J. Suh, “Reinforcement Learning and Risk
   Preference in Equity Linked Notes Markets,” July 2018. Under review.

   H. S. Shin, D. M. Hanssens, K.I. Kim and J. A. Choe, "Positive vs. Negative e-Sentiment and the
   Market Performance of High-Tech Products," August 2013.

      Grant recipient, Marketing Science Institute

   S. Yoo, D.M. Hanssens & H. Kim, ”Marketing and the Evolution of Customer Equity of
   Frequently Purchased Brands,” October 2012.

   H. S. Shin, M. Sakakibara & D. M. Hanssens, "Marketing and R&D Investment of Leader vs.
   Follower," July 2010.




                                                                                                     9
Articles for Executives

    D.M. Hanssens, “Creating Strong Brands for the Information Age,” The Journal of World Marketing
    Summit, forthcoming, 2019.

    M. Fischer, H. Shin and D.M. Hanssens, “Marketing Spending and Brand Performance Volatility,”
    GfK Marketing Intelligence Review, 10, 1, May 2018.

    D.M. Hanssens, “Marketing Impact in the Digital Age,” The Journal of World Marketing Summit,
    November 2017.

    D. M. Hanssens, F. Wang and X-P. Zhang, “Vigilant Marketing: Catching Fleeting Opportunities for
    Growth Spurts,” Applied Marketing Analytics, 3, 2, 2017.

    P. Chintagunta, D.M. Hanssens and J.R. Hauser, “Why does Marketing Need to Strongly Embrace
    Data Science?,” GfK Marketing Intelligence Review, 8, 2, 2016.

    P. Farris, D. M. Hanssens, J. Lenskold and D. Reibstein, “Marketing Return on Investment: Seeking
    Clarity for Concept and Measurement,” Applied Marketing Analytics, Summer 2015.

       Marketing Science Institute Top Download Award, 2015

    C. Binder and D.M. Hanssens, “Why Strong Customer Relationships Trump Powerful Brands,”
    Harvard Business Review Online, April 2015.

    D.M. Hanssens, “The Long-Term Impact of Advertising,” GfK Marketing Intelligence Review, 2015.

    D. Kehrer (interview with D.M. Hanssens), “Why ROI is Often Wrong for Measuring Marketing
    Impact,” Forbes Insights, July 2013.

    D.M. Hanssens and M.G. Dekimpe, “The Flow Story,” Marketing Management, Summer 2012.

    D. M. Hanssens, “What is Known about the Long-Term Impact of Advertising,” Marketing
    Accountability Standards Board Practitioner Paper, No. 2011-01, February 2011.

    D.M. Hanssens, “Stability, Growth, Decline: Beating Recession Fatigue Requires Right Diagnosis,”
    IESE Insight, 5, Second Quarter 2010 (in Spanish and English).

    D.M. Hanssens, D. Thorpe & C. Finkbeiner, “Marketing When Customer Equity Matters,” Harvard
    Business Review, May 2008.

    D.M. Hanssens and E. Taylor, “The Village Voice: communities of customers and prospects are
    creating new challenges and opportunities,“ Marketing Management, March-April 2007.

    D.M. Hanssens and B. Lewis, “Divvying up the Marketing Pie,” BAI Banking Strategies,
    September/October 2005.



                                                                                                    10
   S. Srinivasan, K. Pauwels, D.M. Hanssens & M. Dekimpe, “Who Benefits from Price Promotions?”,
   Harvard Business Review, September 2002.

   D. M. Hanssens, “Information Driven Marketing Strategy,” International Journal of Medical
   Marketing, Summer 2002.

   D.M. Hanssens, "Comment on Hysteresis in Marketing," Sloan Management Review, Summer 1997

   R. Birt and D.M. Hanssens, "Customer-Focused Database Marketing," Case-in-Point Report, 1996.

   D.M. Hanssens, "Customer Information: The New Strategic Asset," Chief Executive, 1996.

   D.M. Hanssens, "Managementopleiding voor de 21ste Eeuw," Economisch & Sociaal Tijdschrift,
   June 1994 (in Dutch).

   D.M. Hanssens and P. Loewe, "Taking the Mystery out of Marketing," Management Review, August
   1994.


Proceedings

   H. Gatignon and D.M. Hanssens, "Modeling Seasonality in Sales Response to the Marketing
   Variables," Proceedings, Second ORSA/TIMS Conference on Market Measurement, Austin, March
   1980.

   D.M. Hanssens, "Strategy in Marketing Model Building: Econometrics and Box-Jenkins," 1978
   Educators' Proceedings, American Marketing Association, Presented at the Annual Meeting,
   Chicago, August 1978.

   D.M. Hanssens, "Evaluating Media Effectiveness in the Marketing of Arts Organizations,"
   Proceedings, 1978 UCLA Conference of Professional Arts Managers. Presented at the Conference,
   Los Angeles, March 1978.

   D.M. Hanssens, "Building Complete Models of Competition with Multiple Time-Series Analysis,"
   Proceedings, Business and Economic Statistics Section, American Statistical Association, 1977.
   Presented at the Annual Meeting, Chicago, August 1977.


Book Reviews

   "A Comparative Review of Econometrics Books," in Journal of Marketing Research, February 1992.

   "Time Series and Forecasting with IDA," by H. Roberts, in Journal of the American Statistical
   Association, June 1985.

   "Innovation Diffusion: Models and Applications," by V. Mahajan and R. Peterson, in Journal of
   Marketing Research, November 1985.



                                                                                                    11
                                            TEACHING

Courses Taught at UCLA

       Elements of Marketing (MBA)
       Mathematical Models in Marketing (MBA/PhD)
       International Marketing (MBA)
       Quantitative Research in Marketing (PhD)
       Time Series Analysis (PhD/MBA)
       Special Research Topics in Marketing (PhD)
       Management Field Studies Advisorship (MBA)
       Directed Readings in Applied Econometrics and International Marketing (PhD/MBA)
       Workshop in Marketing (PhD)
       Data Analysis and Decisions under Uncertainty (Executive MBA)
       Research in Marketing Management (Ph.D.)
       Marketing Strategy and Policy (Executive MBA)
       Marketing Strategy and Planning (MBA)
       Action Research Project (Executive MBA)
       Customer Information Strategy (Executive MBA)
       Managerial Problem Solving (MBA)
       Marketing Management II (MBA)
       Marketing Strategy and Planning: Focus on Central & Eastern Europe (MBA)

Doctoral Committees

   As chair or co-chair:

       Bonita J. Campbell, PhD Management, 1979. Professor of Engineering, California State
            University, Northridge
       Yoshi Sugita, PhD Management, 1985. Professor of Economics, Gakushuin Univ. Tokyo
       Abhik Roy, PhD Management, 1989. Professor of Marketing, Quinnipiac University
       Keiko Powers, PhD Psychology, 1990. Senior Marketing Scientist, MarketShare.
       Maria Cison, PhD Economics, 1990. Economist, General Motors Corporation, Detroit
       Marnik Dekimpe, PhD Management, 1992. Research Professor, Tilburg University
       Koen Pauwels, PhD Management, 2001. Professor, Northeastern University
       Julian Villanueva, PhD Management, 2003. Professor, IESE, Madrid
       Shijin Yoo, PhD Management, 2004. Professor, Korea University
       Amit Joshi, PhD Management, 2005. Professor, IMD, Lausanne
       Hyun Shin, PhD Management, 2008. Associate Professor, Hanyang Univ., Korea
       Rafael Becerril, PhD Management, 2013. Assistant Professor, Univ. of South Carolina
       Ho Kim, PhD Management, 2013. Assistant Professor, Univ. of Missouri, St. Louis

   As member:

       Luiz Caleffe, PhD Education, 1980
       Hubert Gatignon, PhD Management, 1981
       Douglas Nigh, PhD Management, 1981

                                                                                              12
        Marjorie Chan, PhD Management, 1981
        Daniel Wunsch, PhD Education, 1981
        Mary Kreik, Dr. Public Health, 1982
        Ngina Lythcott, Dr. Public Health, 1982
        Harish Sujan, PhD Management, 1983
        Sharon Garrett, PhD Public Health, 1983
        Jan Ouren, PhD Public Health, 1983
        Robert Curtis, PhD Management, 1985
        Melvyn Menezes, PhD Management, 1985
        Benoit Boyer, PhD Management, 1987
        Kannan Srinivasan, PhD Management, 1986
        Harold Stanislaw, PhD Psychology, 1987
        Leon Crabbe, PhD Economics, 1988
        Joao Assuncao, PhD Management, 1990
        Parvish Nourjah, PhD Epidemiology, 1991
        Ronald Rivas, PhD Management, 1997
        Ronald Dietel, EdD Education, 1997
        Reza Sadri, PhD Computer Science, 2001
        Catarina Sismeiro, PhD Management, 2002
        Yan-Nei Law, PhD Computer Science, 2005
        Wayne Taylor, PhD Management, 2017

    As external member:

        Katrijn Gielens, Doctor in Applied Economics, Catholic University of Leuven, 1999
        Vincent Nijs, Doctor in Applied Economics, Catholic University of Leuven, 2001
        Marcel Kornelis, Doctor in Economics, University of Groningen, 2002
        Isaac Dinner, PhD, Columbia University, 2011
        Ofer Mintz, PhD, University of California, Irvine, 2011
        Chloe Moon, PhD, University of California, Riverside, in progress


Executive Seminars

        IBM Visitors Program, UCLA, 1978, 1981
        Japan Productivity Center, UCLA, 1978
        Hochschule St. Gallen, UCLA, 1979
        West Entertainment, UCLA, 1979
        UCLA Executive Program, 1979--
        UCLA Marketing Management Program, 1979-82
        UCLA Medical Marketing Program, 1980--
        Eli Lilly International, Los Angeles, 1980
        Engineering Management Program, UCLA Extension, 1980
        Sommer Allibert, UCLA Extension, 1980
        UCLA New Product Development and Marketing Program, 1981-83
        Continental Airlines, Los Angeles, 1981
        National Taiwan University Program, UCLA, 1981
        UCLA Mexican Executive Program, Monterrey, 1981
        European Institute for Advanced Studies in Management, 1984

                                                                                            13
UCLA Pricing Program, 1989-1999
UCLA Law Institute Program, 1991-92
UCLA Advanced Executive Program, 1993--
Hewlett-Packard Corporate Education, 1993--
UCLA Hughes Marketing Program, 1993--1998
UCLA Johnson & Johnson Program, 1993
UCLA-London Business School Medical Marketing Program, 1994
Beiersdorf, 1994-1999
UCLA Northrop-Grumman Marketing program, 1996--1999
Wells Fargo Bank, 1995--
President Enterprises, Taiwan, 1997
Instituto Argentino de Ejecutivos de Finanzas, 1997
Unilever, 1998
PriceWaterhouseCoopers, 2000
Columbia University Executive Program, 2001
Marketing Strategy in the Information Age, 2000-02
     Faculty Director, 2000-02
UCLA Strategic Leadership Institute, 2000-2003
Ambrosetti, Italy, 2002, 2004, 2005, 2006
Credit Suisse, 2002-03
University of California San Diego, Executive Program, 2003
Auchan, France, 2004
Gen-Probe, San Diego, 2004
Numico, Singapore, 2006
Greater Paris Investment Agency, 2007
SAS Forum, Madrid, 2007
Marketing Roundtable, Georgia State University, 2008
Amgen, 2008
Baptie CMO Community, 2008
Korea Productivity Center, 2009
Coca-Cola Latin America, 2010
Adobe, 2012
Teradata, 2013, 2015
American Bar Association, 2013
Hollywood IT Society, 2015, 2016
World Marketing Summit, Tokyo, 2016
Forbes CMO Summit, 2018
World Marketing Summit, Istanbul, 2018
World Marketing Summit, Tokyo, 2019




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                                    ADMINISTRATION


Executive Director, Marketing Science Institute, Cambridge, Massachusetts, 2005-2007

    MSI is a not-for-profit institute founded in 1961 with the mission of bringing together the leading
    academics and practitioners in marketing to create knowledge that improves business performance.
    The Executive Director serves a two-year term, overseeing the research priorities, research grants,
    conference content, publications, collaborative research and other programs of the Institute. He or
    she also serves as key liaison between the MSI member companies and academic researchers.

Executive Positions at UCLA, Anderson Graduate School of Management

    Chairman, 1988-1990

    Chief academic officer for the 150 full-time and part-time faculty of the sole department in the
    school. Key responsibilities include hiring, promotion, salary negotiations, course assignments,
    summer research funding, departmental organization and budgeting. Position involves extensive
    contacts with the dean of the school and the university administration.

    Associate Dean, Academic Affairs & Strategic Planning, 1991-1993

    Responsible for all degree programs, interdisciplinary research centers, and information technology
    services of the school. Also charged with developing a strategic plan for the school. Position
    involves extensive contacts with the external constituencies. Acts as dean of the school in his
    absence.

    Vice-President, Management Education Associates, 1991-1993

    Faculty Director, Global Executive MBA Program for the Americas, 2010-2013

    Faculty Director, Morrison Center for Marketing and Data Analytics, 2015-2016


Other Administrative Functions

    UCLA Anderson School of Management

    Marketing Area Chair, 1984-87, 1993-96, 1999-00, 2004-05, 2007-09, 2012-14.
    Elected Member of Staffing Committee, 1982-83, 1984-86, 2000-02.
    Chairman, Research Committee, 1986-88
    Research Committee, 1990-1998, 2008-2013
    Chairman, Executive Education Committee, 1993--95
    Advisory Board member, Center for Corporate Renewal, 1995-1998
    Elected Member of Faculty Executive Committee, 1997-2000, 2010-2013.
    Board of Visitors Marketing Task Force, 1997-98, 2002-03
    Teaching Improvement Committee, 1998-01
    Advisory Board member, Center for Management in the Information Economy, 2000-02
    Chairman, Faculty Advisory Board, Entertainment Research Center, 2002-2004

                                                                                                       15
Faculty Director, Entertainment & Media Management Institute, 2004-05.
Compensation Task Force, 2011
Co-chair, UCLA Anderson Task Force on Branding, 2011-2012

University of California

Review Committee, UC Irvine Graduate School of Management, 1988
Chairman, UCLA Task Force on Economic Reconstruction and Development, 1992
Task Force on UCLA Faculty Workload, 1993--94
Task Force on Part-Time Masters Programs, 1993--94
Clinical Scholars Program Committee, UCLA School of Medicine, 1997-2002
Dean Search Committee, UCLA School of Education, 1999
Chairman, Dean Review Committee, UCLA School of Letters and Sciences, 2001-02
Dean Review Committee, UCLA Extension, 2011
Faculty Welfare Committee, UCLA Academic Senate, 2011-2014
Dean Search Committee, UCLA Extension, 2013
Vice Chancellor Search Committee, UCLA, 2015
External Review Committee, Samueli School of Engineering, UC Irvine, 2016

Other

Faculty Advisory Board, Gemini Consulting, San Francisco, 1988-1997
Marketing Advisory Board, KeraVision, San Jose, 1995-1999
Board of Directors, i-Mind Education Systems, 1998-2001
Academic Trustee, Marketing Science Institute, Boston, 2002-2005
Executive Committee, Marketing Science Institute, Boston, 2005-2011.
External Review Committee, Wharton School Marketing Department, 2003
Member, UCLA Committee on Research, 2003-2005.
Founding Director, Marketing Accountability Standards Board (MASB), 2006-2017
External Review Committee, New York University Marketing Department, 2008
Selection Committee, AMA Irwin Distinguished Marketing Educator Award, 2006-2009
     Chairman, 2008-2009
Board of Directors, MarketShare, Los Angeles, 2006-2015.
International Advisory Board, HEC School of Management, Paris, 2009-2015.
External Review Committee, Erasmus Research Institute of Management, Rotterdam, 2010
Academic Advisory Board, Unilever Marketing Science Unit, London, 2012-2015
Supervisory Board, Erasmus University Research Institute of Management, 2012-
Senior Advisor, Cornerstone Research, 2014-
Advisory Board, MarketShare, Los Angeles, 2016-17.
President, INFORMS Society for Marketing Science, 2016-17.




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                                    PROFESSIONAL SERVICE

Grants

    UCLA Alcohol Research Center, $39,000, for a study of regulation effect on alcohol consumption,
    1979-80 (with S.I. Ornstein)

    Director, Robert Anderson Research Endowment in Management, $250,000, 1988-93, 1997-99

    Columbia Charitable Foundation, $230,000, Information Technology Planning Grant, 1991-1992

    Director, William Leonhard Research Endowment in Management, $200,000, 1993-97

    Various Marketing Science Institute research grants, 1996-present

Editorial Boards

    Journal of Marketing Research, 1984-88 and 2003-05
    Journal of Marketing Research, Associate Editor, 2007-10
    Journal of Marketing Research, Editor’s Advisory Board, 2010-16
    Journal of Marketing, Associate Editor, 2014-16
    Journal of Marketing, Special Issue Co-Editor, 2007-09
    Marketing Science, 1983-94
    Marketing Science, Area Editor, 1988-91
    Marketing Science, Editor’s Advisory Board, 2010-15
    Marketing Science, Special Issue Co-Editor, 2013-16
    Management Science, Associate Editor, 1978-88
    Recherche et Applications en Marketing, 1987-
    International Journal of Research in Marketing, 1993-2003
    International Journal of Research in Marketing, Associate Editor, 2009-2016
    Applied Marketing Analytics, Editorial Board, 2014-

Ad Hoc Reviewing

    Marketing Science, 1981-82
    Journal of Forecasting, 1981--
    Management Science, 1981--
    Journal of Marketing Research, 1981-83
    Journal of Consumer Research, 1982--
    Interfaces, 1992--
    Decision Sciences, 1982--
    International Journal of Research in Marketing, 1983-92
    Computers & Industrial Engineering, 1983--
    Journal of Business & Economic Statistics, 1984--
    Journal of Product Innovation Management, 1984--
    Psychometrika, 1985--
    National Science Foundation, 1984--
    Communications in Statistics, 1987--
    Journal of Time Series Analysis, 1988--

                                                                                                  17
    Journal of Marketing, 1987--
    International Journal of Forecasting, 1992--
    Journal of Econometrics, 1996-
    Marketing Letters, 1996-
    Research Council of the United Kingdom, 1997
    Research Foundation – Flanders, 2016

Invited Research Seminars

    2019 Columbia University*
         Harvard Law School*
    2018 IESE, Barcelona*
         BI Norwegian School of Management*
    2017 University of Groningen*
         University of California, Riverside
    2016 University of Tennessee
         University of Pennsylvania, Wharton School
         Indiana University, University of Notre Dame*,
         Chinese University of Hong Kong*
         University of Oxford
    2015 University of Kansas, University of South Carolina,
         London Business School, New York University*,
         Bogazici University, Istanbul*, Tilburg University*
    2014 University of Maryland, Northwestern University,
         Universität zu Köln, Tohoku University
    2013 University of Michigan
    2012 University of Texas, Austin, University of Central Florida,
         University of Florida, Fudan University Shanghai,
         University of Washington
    2011 Boston University*, University of Utah
    2010 University of California, Davis, University of North Carolina,
         Texas Christian University, Erasmus University, Rotterdam*
         BI Norwegian School of Management*
    2009 Korea University*, Georgia State University*, University of Arizona
    2008 UCLA Anderson Faculty Lecture Series, University of Minnesota,
         Tilburg University*, University of Missouri, Georgia State University
    2007 Boston University, Columbia University, Arizona State University
    2006 University of Groningen*, Harvard Business School,
         Emory University, Texas A&M University,
         University of Maryland, Massachusetts Institute of Technology,
         Dartmouth College (2006)
    2005 Washington University, St. Louis, Ohio State University,
         Singapore Management University, University of Connecticut
         Yale University, MIT Data Center
    2004 UCLA Marschak Interdisciplinary Colloquium, University of California, San Diego,
         UCLA Finance Seminar Series, Koc University, Istanbul
    2003 Tulane University, Dartmouth College, McGill University,
         Tilburg University, Duke University
    2002 University of Texas, Austin, Erasmus University, University of Groningen

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    2001 University of Texas at Dallas, Simon Fraser University,
         Tilburg University
    2000 AMA Advanced Research Forum, Monterey, University of Western Ontario
    1999 University of California, Riverside, University of Southern California,
         Georgetown University, UCLA Anderson Faculty Lecture Series
    1998 Humboldt University, Berlin, Northwestern University
    1997 University of Cambridge, University of Washington Marketing Camp
    1996 University of California, Berkeley, University of Budapest,
         Marketing Science Institute (1996-present)
    1995 University of Texas, Austin, University of California, Irvine,
         Universitat Mainz
    1994 Catholic University of Leuven, University of Iowa,
         Hong Kong University of Science & Technology
    1991 INSEAD, Catholic University of Leuven Law School
    1990 Catholic University of Leuven, Washington University, St. Louis,
         University of Florida, AMA Doctoral Consortium
    1989 Georgetown University, Columbia University Marketing Camp
    1987 Columbia University
    1986 University of Houston
    1985 Carnegie-Mellon University
    1984 Washington State University, HEC Paris, Universidad de Zaragoza,
         Universiteit Antwerpen, Universite de Mons, Universiteit Gent,
         Universitat Bielefeld
    1983 UCLA Economics Department
    1982 University of Texas at Dallas, University of Washington
    1981 Stanford University, Harvard University

    * denote plenary lectures at conferences hosted by or at the university

Consulting

    airlines: Air France
    automotive: Ford, Mercedes, Lexus
    consumer products: General Mills, Mars, Mattel Toys, Nestle, Coca-Cola
    entertainment: Sony, Electronic Arts, Xbox, Disney, NBC, Vivendi
    financial services: Home Savings, Wells Fargo, Wachovia, Schwab, CitiCorp, Fidelity
    health care: Amgen, Johnson & Johnson, Safeguard Health, GlaxoSmithKline, KeraVision
    information services: Catalina Marketing, TRW, TNS, MSN, Google
    insurance: Progressive, Zurich
    law firms: expert witness list available upon request
    marketing analytics: LiftLab, LivePerson
    public sector: US Navy Recruiting Command
    retailing: Ralphs, Wickes, Gelson’s, Build-a-Bear, Albertsons
    technology: Hewlett Packard, Hughes, Xerox, Dell, Microsoft, CDW, Motorola, Intel
    telecommunications: British Columbia Telecom, British Telecom, General Telephone




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Honors and Awards

   2016 Wroe Alderson Award, Wharton School, University of Pennsylvania
   2015 Buck Weaver Award for Lifetime Contribution to Marketing Theory & Practice, ISMS
   2013 V. Mahajan Award for Career Contributions to Marketing Strategy Research, AMA
   2010 Fellow, INFORMS Society for Marketing Science
   2010 MSI/H. Paul Root Best Paper Award, Journal of Marketing
   2007 Gilbert A. Churchill Lifetime Achievement Award, AMA
   2007 William O’Dell Best Paper Award, Journal of Marketing Research
   2006 Robert D. Buzzell Best Paper Award, Marketing Science Institute
   2003 Neidorf “Decade” Teaching Award, UCLA Anderson School of Management
   2003 Teaching Excellence Award, UCLA Executive MBA Program
   2002 Frank M. Bass Outstanding Dissertation Award, Marketing Science
   2001 John D.C. Little Best Paper Award, Marketing Science
   2001 European Marketing Academy Best Paper Award
   1999 Paul E. Green Best Paper Award, Journal of Marketing Research
   1997 Teaching Excellence Award, UCLA Executive MBA Program
   1995 John D.C. Little Best Paper Award, Marketing Science
   1996 EMAC Doctoral Consortium Faculty Member
   1990 AMA Doctoral Consortium Faculty member, 1990-present
   1988 Teaching Excellence Award, UCLA Executive MBA Program
   1983 Outstanding Reviewer Award, Marketing Science
   1981 George Robbins Distinguished Teaching Award, UCLA School of Management
   1981 Career Development Award, UCLA
   1977 Member Beta Gamma Sigma (National Business Honor Society), 1977-present
   1977 Purdue University representative, Albert Haring Annual Symposium
   1976 Fellow, C.I.M., Brussels, Belgium (doctoral dissertation fellowship)
   1975 Outstanding Teacher's Award, Purdue University


Media

   Various interviews on management topics for Wall Street Journal, New York Times, Los Angeles
   Times, Fortune, Los Angeles Business Journal, ABC World News, NPR and other media.




                                                                         Revised, September 2019




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                                                                                    Appendix B

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                                   TESTIMONY HISTORY
                                    in the Last Four Years


1. D. Krommenhock and S. Hadley v. Post Foods LLC, United States District Court, Northern
   District of California. Deposition taken on July 11, 2019.

2. J. Beaty and J. Beaty v. Ford Motor Company, United States District Court, Western District
   of Washington. Deposition taken on June 6, 2019.

3. J. Reitman and C. Shoaff v. Champion Petfoods, United States District Court, Central
   District of California, Western Division. Deposition taken on May 22, 2019.

4. Obagi Cosmeceuticals v. ZO Skin Health, Judicial Arbitration and Mediation Services.
   Deposition taken on April 25, 2019. Trial testimony given on May 17, 2019.

5. Liqwd, Inc. and Olaplex, LLP v. L’Oreal USA, Inc. et al., United States District Court,
   District of Delaware. Deposition taken on March 4, 2019.

6. Merck & Co. Inc. and Merck Sharp & Dohme Corp. v. Merck KGaA, United States District
   Court, District of New Jersey. Depositions taken on February 14 and 15, 2019.

7. Kellie Loeb v. Champion Petfoods, United States District Court, Eastern District of
   Wisconsin. Deposition taken on February 6, 2019.

8. Ryan Porter and Haarin Kwon v. NBTY Inc., United States District Court, Northern District
   of Illinois, Eastern Division. Deposition taken on November 29, 2018.

9. Chrysler-Dodge-Jeep Ecodiesel Marketing, Sales Practices, and Products Liability, United
   States District Court, Northern District of California. Deposition taken on August 17, 2018.

10. General Motors LLC Ignition Switch Litigation, United States District Court, Southern
    District of New York. Deposition taken on April 30, 2018.

11. The Coca-Cola Company v. Commissioner of Internal Revenue, United States Tax Court.
    Deposition taken on November 16, 2017. Testimony given on April 12, 2018.

12. Swiftair, LLC v. Southwest Airlines, Superior Court of the State of California. Deposition
    taken on September 6, 2017.

13. Lions Gate Entertainment v. TD Ameritrade and Havas Worldwide New York, United States
    District Court, Central District of California. Deposition taken on June 15, 2017.




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14. Kobe Falco et al. v. Nissan North America, Inc., United States District Court, Central District
    of California. Deposition taken on May 31, 2017.

15. Brandy Varner et al. v. Dometic Corporation, United States District Court, Southern District
    of Florida. Deposition taken on May 18, 2017.

16. Leah Segedie et al. v. The Hain Celestial Group, Inc., United States District Court, Southern
    District of New York. Deposition taken on May 16, 2017.

17. The People of the State of California v. General Motors LLC, Superior Court of the State of
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18. Bahamas Surgery Center v. Kimberly-Clark Corp. and Halyard Health, Inc., United States
    District Court, Central District of California. Testimony given on April 5, 2017.

19. The Simms/Mann Institute v. The Honest Company, and The Honest Company v. The
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    Testimony given on March 10, 2017.

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    Deposition taken on January 6, 2017.

21. Adidas America, Inc. v. Skechers USA, Inc., United States District Court, District of Oregon.
    Deposition taken on December 21, 2016.

22. Odyssey Wireless, Inc. v. Apple Inc., United States District Court, Southern District of
    California. Deposition taken on August 12, 2016.

23. State of Oregon v. Living Essentials, LLC, Circuit Court of the State of Oregon. Testimony
    given on July 18, 2016.

24. Svenson et al. v. Google Inc. et al., United States District Court, Northern District of
    California. Deposition taken on May 12, 2016.

25. Justice et al. v. Rheem Manufacturing Company, United States District Court, Southern
    District of Florida. Deposition taken on February 16, 2016.

26. Sanchez-Knutson v. Ford Motor Company, United States District Court, Southern District of
    Florida. Deposition taken on January 13, 2016.

27. Czuchaj et al. v. Conair Corporation, United States District Court, Southern District of
    California. Deposition taken on December 21, 2015.

28. John Romig, Jr. et al. v. Pella Corporation., U.S. District Court for the Northern District of
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         Deposition of Lisa Slawsby, January 25, 2019.
         Deposition of Dr. Jon A. Krosnick, May 8, 2019.
         Deposition of Dr. Sean P. Callan, May 9, 2019.
         Deposition of Scott Weaver, June 19, 2019.
         Deposition of Erin Grant, June 28, 2019.
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Expert Reports

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